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          EXHIBIT 12
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         SUPERIOR COURT OF THE STATE OF CALIFORNIA
             FOR THE COUNTY OF SAN FRANCISCO

DEWAYNE JOHNSON,                          Case No. CGC-16-550128
           Plaintiff,
    v.
MONSANTO COMPANY,
           Defendants.




            EXPERT REPORT OF CHARLES BENBROOK




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Notes:

1. Several documents are cited by reference to their MONGLY number; others are referenced as
a numbered exhibit. In some cases, a reference lists just the first page of a cited source, while in
other cases, all pages in the source, or a selected subset of pages, are listed. In all cases where
only the first page of a cited source is listed, I may have relied on content throughout the
document in forming my opinions.

2. I had in my files many of the documents that appear in the discovery record of this case. At the
suggestion of Counsel in such instances, I identify these documents with their MONGLY or
exhibit number.




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I. Summary of Opinions

        1.     I was asked by the Plaintiff’s lawyers in this case to review extensive material on

Roundup® and to give an opinion as to whether Monsanto® should have warned the public

about the risk of non-Hodgkin Lymphoma (NHL) associated with use of and exposure to

glyphosate and glyphosate-based formulations.

        2.     It is my opinion that Monsanto failed to adequately warn about the risk of NHL

associated with the use of Roundup® and RangerPro®1 beginning in, or before 2001 for reasons

explained below. I was also asked to opine whether Monsanto fulfilled its duty as a pesticide

manufacture with respect to the stewardship of Roundup®. It is my opinion they did not as

further detailed and for the reasons below.

        3.     Prior to being contacted by Plaintiff’s lawyers I had been independently

researching, for many years, the use, toxicological properties, and regulation of glyphosate in the

United States. My research findings have been published in peer-reviewed science journals. And

have included the need for reform in the regulation of herbicides in general, and glyphosate in

particular.

        4.     In order to inform these opinions, I carried out independent research using online

EPA resources, publicly available literature, and regulatory documents. I also have long

professional experience researching glyphosate and Roundup®. Plaintiff’s lawyers sent me

several volumes of documents containing mostly internal Monsanto communications. I requested

follow-up information in several areas, drawing on the discovery record in this case.




1
 In this report Roundup® and RangerPro® are used interchangeably. They are similar products
manufactured by Monsanto containing the active ingredient glyphosate and the surfactant POEA.
Both products were used by Dewayne Johnson.

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          5.      The opinions in this report are based on my education, experience, review of the

documentation, and independent research. These opinions are held to a reasonable degree of

certainty.

A. Focus of Case

          6.      This case is about the way Dewayne Johnson used and applied RangerPro and

Roundup ProConcentrate in the course of carrying out job-related, weed management duties for

the Benicia Unified School District.

          7.      Dewayne Johnson applied glyphosate-based herbicides in 2012-2014. In those

years, farmers and ranchers applied about 90.3% of the total pounds of glyphosate herbicide used

in the U.S., while non-agricultural uses accounted for about 9.7%. (Benbrook C. [2016]. Trends

in glyphosate herbicide use in the United States and Globally, Environmental Sciences Europe

Vol 28:3; DOI 10.1186/s12302-016-0070-0).

          8.      Of the 9.7% of total glyphosate use that is non-agricultural, I estimate that at least

two-thirds of that was applied on golf courses, along roads and rights-of-ways (railroad tracks,

power lines), and on industrial facilities. The majority of these non-ag applications were carried

out using mid- to large-scale spray equipment with cabs and air filtration systems, or by airplanes

or helicopters.

          9.      Hence, glyphosate applications made using a hand held or backpack sprayer likely

accounted for under 3% of the total U.S. use of glyphosate-based herbicides in the 2012-2014

period.

          10.     Government statistics, and the records in this case, show that over the years, a

highly disproportionate share of the glyphosate-related, worker-safety poisoning and illness

episodes arise from hand-held, backpack, or other application methods that result in markedly



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higher exposures and risks than typical, larger-scale applications of Roundup.

        11.     By “highly disproportionate,” I mean, for example, one-half or more of the

reported, glyphosate-based herbicide illness episodes arise from hand held/backpack applications

of the herbicide that account for well less than 3% of the total volume of glyphosate applied.

        12.     The reason is clear. Most glyphosate applied on farms is sprayed using large

equipment with enclosed cabs that have air filtration systems, where the operator/driver/pilot is

far-removed from the spray, and also protected from exposure by a glass/metal cab and an air

filtration system.

        13.     The sizable differential in routine, expected exposures between ag and many non-

ag uses of glyphosate arises because of the proximity of people using a hand held or backpack

sprayer to the spray solution, their need to walk within and through an area that was sprayed just

minutes before, the absence of a barrier or shield to protect them from spray drift, and the

absence of an air filtration system (since a respirator is not required on any Roundup labels).

        14.     Since the 1980s, Monsanto has known that individuals applying a glyphosate-

based herbicide through a hand-held or backpack sprayer face markedly higher exposures and

risks, especially on windy days.

        15.     The company has also known that risks are higher for individuals that apply the

herbicide for many days a year and/or many hours during a given day, yet there are no statements

on Roundup labels or label provisions that require stricter worker protection measures as a

function of how many hours in a work week, or over a year, that a person sprays glyphosate

herbicides as part of their job.

        16.     Accordingly, a key question at the heart of this case is whether Monsanto acted

responsibly in the face of information pointing to greatly elevated exposures and risks of cancer,




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specifically non-Hodgkin Lymphoma (“NHL”) for some individuals like Dewayne Johnson,

who applied Roundup herbicides in known, high-exposure scenarios.

       B. Monsanto’s Responsibilities

       17.     Monsanto was responsible for four things that are central to this case. First, the

company was responsible for assuring that the specific herbicide products sold to the school

district for which Mr. Johnson worked were as safe as they could be, given existing knowledge

and technology.

       18.     Second, Monsanto was responsible for the content, scope, and effectiveness of the

label directions for use, use restrictions, warnings about high-risk scenarios, and worker-safety

requirements on the RangerPro and Roundup ProConcentrate labels.

       19.     While Monsanto had to comply with several generic, EPA requirements regarding

what and how such worker safety information appears on an herbicide label, the company bore

the primary responsibility to assure that the label directions on its products, as well as any

restrictions, warnings, and precautions, were adequate to avoid any “unreasonable adverse effect

on man or the environment.”

       20.     Third, Monsanto bore an obligation to draw upon its extensive field testing and

scientific resources to progressively improve the utility and safety of its products in two basic

ways: (1) through progressively safer formulations, and (2) through label directions and worker-

safety provisions that both adequately warn those handling, mixing, and applying Monsanto-

brand herbicides about potential high-exposure scenarios, and require adoption and adherence to

worker-safety provisions sufficient to prevent significantly elevated exposure episodes.

       21.     Fourth, Monsanto was and remains obligated to work cooperatively and openly

with the EPA to assure that both the company’s internal assessments of risk, including worker



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risks, and those done by the EPA, are as accurate as possible. This obligation flows from the

company’s product stewardship pledges, as well as provisions in federal law.

        22.     Accuracy in worker risk assessments is an essential foundation upon which the

company and EPA can then develop effective, commonsense methods to reduce applicator

exposures and risk.

        23.     The record of this case shows that Monsanto repeatedly failed in carrying out

each of these four, essential tasks and responsibilities. Monsanto failed to warn about the risk of

NHL, other forms of cancer, or damage to the liver or kidneys, stemming from the use of Ranger

Pro and Roundup Pro.

        24.     Instead, the company overstated the benign nature of its glyphosate-brand

herbicides, calling them biodegradable and safe to use, without any qualification. Monsanto also

did little to counter the often-heard claim that “Roundup is safe enough to drink.”

        25.     In dozens of instances, the company generated, or came into possession of,

scientific information pointing to higher risks than previously recognized. Instead of sharing the

information with the EPA, as often required by law, and acting on the new information to update

risk assessments and determine whether new, exposure and risk-reduction measures were

warranted, Monsanto took active steps to not disclose the information and keep it from becoming

public knowledge.

        26.     In many instances, the company sought ways to undermine the relevance or

legitimacy of results in studies that it had commissioned and paid for. Monsanto’s determination

to change the results of a Bio/dynamics mouse oncogenicity study is a case in point discussed at

length in this report.

        27.     Furthermore, it is important to emphasize that it is Monsanto’s responsibility to




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take steps to increase margins of safety for users of its products like Dewayne Johnson, through

alteration of formulations and addition of new worker-safety language on labels.

       28.     Such changes should be made whenever the company recognizes an opportunity

to make their products safer. Across the pesticide industry, the majority of proactive steps taken

to increase margins of safety in the use of specific pesticides are initiated by companies, not the

EPA.

       29.     The number of label amendments proposed by pesticide registrants, and approved

generally without change by the EPA, greatly outnumbers label changes required by the EPA.

       1. Product Stewardship Standards for Communicating Warnings

       30.     A company selling a pesticide to the public is responsible for the testing of its

product to ensure it can be used safely. It is not the EPA’s responsibility to test the product, nor

does the agency have the financial resources required to do so.

       31.     In addition, a company selling a pesticide product to the public bears

responsibility for adequately warning users about any potential risks associated with the use of

its product. Companies are also obligated to require on product labels practical and effective

steps that users must take, or should take to mitigate (reduce) such risks (referred to throughout

this report as worker-safety requirements or provisions).

       32.     While EPA requires and oversees adherence to generic, worker safety labeling

requirements, it is crystal clear in the industry that companies bear the primary responsibility to

assure that label directions and restrictions are clear, effective, and comprehensive in addressing

possible risks from the use of a given product.

       33.     The purposes for which Dewayne Johnson applied Ranger Pro and other Roundup

herbicides, and the methods he used to apply them, were common and routine, as were the




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factors giving rise to potentially unsafe exposures from Johnson’s lawful applications.

       34.        This responsibility to warn and mitigate extends to the full range of foreseeable

circumstances and situations in which a pesticide can be applied in accord with the directions on

its label (e.g., a leaky hose fitting on a backpack sprayer, or an application on a windy day).

       35.        Under the Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA), “a

manufacturer seeking to register a pesticide must submit a proposed label to EPA as well as

certain supporting data.” (7 U.S.C. §§ 136a(c)(1)(C), (F))

       36.        Manufacturers have a duty to update pesticide product labels when new safety

information and insights are discovered, for example from tracking documented poisoning

episodes. The routine method for them to do so is by requesting EPA to approve a label

amendment that builds into a product’s existing label, new language imposing additional safety

precautions and worker safety provisions.

       37.        EPA almost always approves such requests for label amendments, and in most

cases, quickly.

       38.        A pesticide product is considered misbranded under FIFRA if:

        “(F) the labeling accompanying it does not contain directions for use which are
       necessary for effecting the purpose for which the product is intended and if complied
       with, together with any requirements imposed under section 136a(d) of this title, are
       adequate to protect health and the environment; [or] (G) the label does not contain a
       warning or caution statement which may be necessary and if complied with, together with
       any requirements imposed under section 136a(d) of this title, is adequate to protect health
       and the environment...” § 136(q)

       39.        A pesticide product can be misbranded even if the EPA has registered the

pesticide and approved its label, because manufacturers bear the responsibility to assure that

labels incorporate new and/or adequate safety information and worker safety restrictions to

prevent applications leading to excessive exposures and risks.




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        40.    FIFRA explicitly states that “registration does not provide a defense to the

violation of the statute.” 7 U.S.C. § 136a(f)(2)

        41.    Additionally, manufacturers are not limited to warning the public through just the

text appearing on a product label. Indeed, many product labels are long, complex, and technical

documents, which are often not carefully read by users.

        42.    For this reason, manufacturers also need to utilize other methods to communicate

safety information to users. Common methods include advertising, media interviews, websites,

blogs, trade and scientific publications, training materials, phone calls, email, information shared

by their sales force, and point-of-sale warnings and use directions.

        43.    Manufacturers can also warn about the risks of pesticides through safety data

sheets governed by OSHA. Safety Data Sheets are often provided to employers of chemical

applicators, as Dewayne Johnson was by his supervisor working for the Benicia Unified School

District.

        44.    An important provision in OSHA regulations provides that:

        “Chemical manufacturers, importers, distributors, or employers who become newly
        aware of any significant information regarding the hazards of a chemical shall revise the
        labels for the chemical within six months of becoming aware of the new information, and
        shall ensure that labels on containers of hazardous chemicals shipped after that time
        contain the new information.” (29 CFR 910.1200(f)(11))

        45.    Manufacturers must include information about the carcinogenicity of their

product on safety data sheets.

        46.    They may conduct their own assessment of the oncogenic potential of their

products, or rely on testing and cancer risk assessments made by another organization or

company. However, an assessment by IARC, if available, must be included on OSHA safety

data sheets, because IARC determinations are regarded by governments around the world as




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credible, data-driven, and authoritative. (29 C.F.R. § 1910.1200, Appendix A)

       2. Failure to Adequately Warn and Prevent Risks is Misbranding

       47.     Since 1985 when EPA toxicologists concurred that glyphosate was a potential

human carcinogen, the labels for Roundup and other glyphosate based formulations have been

misbranded because they did not contain adequate instructions to protect the health of people

applying the products.

       48.     Beginning in 1985, Monsanto could and should have added a warning to the

labels on glyphosate-based herbicides, and utilized other methods to inform the public that

glyphosate had been shown to be oncogenic in animal studies. A reasonable and prudent

manufacturer would have accepted the EPA’s position that glyphosate was possibly oncogenic,

and as a result, included that information on the label, in chemical safety data sheets, and in its

marketing material.

       49.     A reasonable and prudent pesticide manufacturer would have added such a

warning to adequately safeguard the health of the people using its products, and coupled the

warning statement with the addition of a set of practical worker safety provisions that would

markedly reduce potential exposure (e.g., wearing gloves, a requirement not on the labels of the

Monsanto herbicides Johnson applied).

       50.     Monsanto was well aware that such added worker safety requirements were

especially needed in the case of high-exposure application methods and scenarios, like those

encountered by Dewayne Johnson in the course of his job.

       51.     A year later, in 1986, the EPA issued a new Registration Standard document on

glyphosate. It set forth just such a set of prudent and practical worker safety requirements

designed to markedly reduce the frequency and severity of high-exposure episodes.




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       52.     These new provisions were supposed to be on all labels sanctioning use of

glyphosate-based herbicides by June 30, 1988, except for very dilute products marketed to

homeowners in ready-to-spray bottles.

       53.     But Monsanto resisted the new worker safety provisions called for in the 1986

Registration Standard, and the most important of them are still are not included on most of

Monsanto’s glyphosate product labels in the U.S.

       54.     Cancer is not the only adverse health effect possibly associated with use of

glyphosate herbicides that Monsanto should have warned users about via product label

amendments.

       55.     Beginning in 1999 Monsanto could and should have added a warning to their

labels, and otherwise informed the public, that exposure to formulated glyphosate products can

cause oxidative stress and lead to genotoxic damage. In lay terms, such a warning might state

“exposure to this product can damage cells and trigger disease.”

       56.     The company was aware of new genotoxicity studies reporting such impacts. To

determine the proper course of action moving forward, Monsanto commissioned an

internationally respected expert, Dr. James Parry, to review recent genotoxicity studies and

render his opinion whether the findings reported were credible.

       57.     Dr. Parry concluded that some were, and recommended Monsanto take a number

of steps to better understand the nature, magnitude and likely causes of newly discovered

genotoxic risks stemming from, especially, exposure to formulated glyphosate herbicides.

       58.     After receiving Dr. Parry’s expert report, a reasonable and prudent pesticide

manufacturer would have added a genotoxicity warning to Roundup labels, and conducted the

additional, more sophisticated and sensitive testing that Dr. Parry had recommended to resolve




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“outstanding issues.”

        59.     Instead, Monsanto ended its association with Dr. Parry and refused to do the

testing he recommended.

        60.     Beginning around 2002, Monsanto could and should have added a warning to

their label, and otherwise informed the public and biomedical community, that exposures to

Roundup formulations increase the risk of a specific cancer, NHL, after learning about the results

of two epidemiological studies showing a statistically significant increase in the risk of NHL

among users of glyphosate-based herbicides. (Hardell and Eriksson (1999). A case-control study

of non-Hodgkin lymphoma and exposure to pesticides, Cancer 85: 1353-1360; McDuffie et al.

(2001) Non-Hodgkin’s Lymphoma and Specific Pesticide Exposures in Men: Cross-Canada

Study of Pesticides and Health, Cancer Epidemiology, Biomarkers & Prevention Vol 10: 1155-

1163)

        61.     Had Monsanto amended the label to include a risk of NHL in 2002, the EPA

would have approved that amendment.

        62.     These initial NHL results were reinforced in 2003 and 2008 in studies by DeRoos

et al. and Eriksson et al.

        63.     These human epidemiological findings in peer-reviewed science journals take on

added importance in light of the confidential, Monsanto commissioned report by Dr. Parry.

        64.     A reasonable and prudent pesticide manufacturer, aware of recently published

evidence of genotoxicity, Dr. Parry’s evaluation of these studies, and now a series of positive

epidemiological studies, would have added a NHL warning to its glyphosate-based herbicide

labels, and added long-overdue worker safety requirements, in order to more adequately

safeguard the health of applicators and others exposed to elevated levels of glyphosate herbicide.




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       65.     Beginning in at least by June 30, 1988 in response to the 1986 glyphosate

Registration Standard, Monsanto could and should have added the EPA-required worker safety

provisions to all their glyphosate labels. These would have included instructions to applicators

regarding the additional steps needed to reduce their exposure to Roundup formulations,

particularly in the case of high exposure-risk scenarios (e.g., when an applicator is using a

backpack or hand held sprayer).

       66.     Such steps for backpack or hand-held application methods would include wearing

a face shield or googles to avoid exposure to drift; wearing chemical-resistant gloves and shoes

or boots; walking perpendicular to the direction of the wind; and, more cautious handling of

clothing and other gear used during spraying operations, including disposal of heavily

contaminated clothing and equipment.

       67.     A reasonable and prudent pesticide manufacturer would have added the EPA-

required provisions in 1987-1988, at a minimum, as well as new warning language to more

assuredly safeguard the health of applicators on, for example, windy days.

       68.     In addition to new label language, beginning on the above referenced dates,

Monsanto should have conveyed the above warnings and instructions through media outreach,

applicator training sessions, scientific publications, its website, third-party bloggers it influences,

training materials, advertisements, OSHA safety data sheets, and direct communications by sales

and technical support staff.

       69.     Without doubt, Monsanto should have conducted long-term carcinogenicity tests

of at least its top two or three Roundup formulations in the 1990s (ranked by sales), in the wake

of the near-decade long fight with EPA over the 1983 Bio/dynamics mouse oncogenicity study.

       70.     Having learned from multiple, credible published studies, its hired scientific




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advisers, and its own internal research that formulated glyphosate-based products are far more

toxic than 100% pure glyphosate, a reasonable and prudent pesticide manufacturer would have

tested at least the most widely sold, formulated Roundup products to determine if they were

genotoxic and/or carcinogenic.

       71.     A reasonable and prudent manufacturer that repeatedly pledges allegiance to

sound science would not engage in a campaign to “orchestrate outcry,” “invalidate the

relevance,” and cut the funding of IARC, one of the most respected and authoritative scientific

bodies in the world charged with a serious, difficult task -- determining the causes of cancer in

the hope of reducing the burden of disease worldwide.

       72.     Monsanto’s failure on the label of Ranger Pro herbicide to adequately warn users

about the risk of NHL, and reduce exposures in high-risk application scenarios via prudent

worker safety requirements, increased Mr. Johnson’s exposure to glyphosate and therefore

increased his risk of NHL.

       73.     Instead of warning the public about the risk of NHL, Monsanto has devoted

enormous resources to try to sow doubt and discredit scientifically valid claims that Roundup

and RangerPro formulations increase the risk of NHL, as extensively detailed in this report.

       3. Responses to Mr. Johnson’s Inquiry

       74.     Importantly, Dewayne Johnson reports that he called a number listed on the

RangerPro packaging and was connected to the Missouri Poison Control Center on March 27th

2015. Mr. Johnson asked whether RangerPro was a cause of his NHL, and whether it was safe

for him to keep using RangerPro. The operator at the poison control center stated that his

symptoms were not consistent with the symptoms following glyphosate exposure, and as a result

Mr. Johnson continued to spray RangerPro. (MONGLY00500667). Mr. Johnson reports that the




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operator further advised that an employee from Monsanto would contact him with additional

information.

       75.     A report of Mr. Johnson’s call to the Missouri Poison Control Center was sent to

Monsanto in April of 2015. Monsanto did not follow-up to inform Mr. Johnson that IARC had,

just a week before, determined that glyphosate was a probable human carcinogen associated with

NHL. Mr. Johnson was unaware of the IARC classification at the time he called.

       76.     A Monsanto employee utilized email to contact California School District

employees to deny that Roundup was associated with NHL. For example, in a 2010 email

responding to a grounds supervisor relaying a parent’s concern about RoundupPro and NHL, an

employee stated. “I want to assure you that Roundup Is almost non-toxic to all species except

plants. It has a caution label and has been shown not to cause cancer. The first place to go to look

for information about Roundup is our website www.monsanto.com/ito.”

       77.     Horizon, the distributor that sold Monsanto herbicides to Mr. Johnson’s school

district, utilized a Powerpoint created by Monsanto for training people such as Mr. Johnson.

This Powerpoint states that “Based on laboratory studies conducted with animals, Roundup®

Brand IT&O Herbicides: Do not cause cancer.” However, Monsanto has never conducted a

carcinogenicity study of Roundup on animals.

       78.     This unequivocal and reassuring statement also contradicts Donna Farmer’s

warning to Monsanto scientific and outreach personnel to not say that “Roundup does not cause

cancer,” because the company has never tested formulated Roundup for carcinogenicity.

       C. Monsanto’s Ethics and Behavior

       79.     Monsanto’s stated, primary goals driving its herbicide business is opening up new

markets for Monsanto products (i.e., gaining new registrations), and minimizing any possible



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adverse impacts on the sale of Monsanto products already on the market.

       80.     The later sort of impact – protecting the company’s existing pesticide products

and sales -- is often referred to inside Monsanto as preserving glyphosate’s “Freedom to

Operate” (FTO).

       81.     Monsanto’s rejection of new and better science as a way to reduce pesticide risks

is evident in essentially all of the key actions and initiatives taken by the company over the last

40 years to first expand the uses of glyphosate, and in later years, protect the glyphosate FTO.

       1. Failure to Repeat Key 1983 Mouse Oncogenicity Study

       82.     A contract laboratory called Bio/dynamics conducted a Monsanto-commissioned

mouse oncogenicity study in the early 1980s. The study results were submitted to EPA in 1983.

The agency’s preliminary review of the study concluded that glyphosate had caused a dose-

related increase in renal tubule adenomas, a rare tumor, and as a result was a possible human

carcinogen.

       83.     This EPA determination contradicted the Bio/dynamics interpretation of the

results, as well as Monsanto’s. The conflicting conclusions based on the results of this pivotal

study set the stage for an intense, high-stakes conflict between Monsanto and the EPA.

       84.     To gain approval of new tolerances covering glyphosate residues in food, and new

agricultural registrations for Roundup, Monsanto simply had to reverse the EPA Office of

Pesticide Programs (OPP) cancer classification of glyphosate.

       85.     When such disagreements arise over the interpretation of a specific study, the

routine response by OPP/EPA is to require the company to conduct a new, and hopefully more

carefully designed study. And so, OPP required Monsanto to conduct a new, much more

powerful (statistically) mouse oncogenicity study.




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       86.     Monsanto responded to EPA’s request by arguing no such study was needed.

OPP/EPA responded by stating why it felt such a study was indeed essential.

       87.     After eight years of back and forth covered in detail in this report, Monsanto had

displayed to the OPP that it would always be willing and able to take whatever next step was

necessary to raise new scientific issues in need of exploration, prior to a final OPP decision on

whether the 1983 Bio/dynamics study was positive or negative for cancer, or needed to be

repeated.

       88.     Monsanto also had demonstrated multiple times both its ability and willingness to

direct political pressure on the agency. The company’s clout in Congress, and at senior levels in

Executive Branch agencies, made it possible for Monsanto to continuously raise the stakes facing

OPP/EPA, until OPP brought its evaluation of the Bio/dynamics study into alignment with

Monsanto’s, and as a result, changed the cancer classification of glyphosate in a way acceptable

to the company.

       89.     In short, Monsanto convinced the OPP that it was not an effective use of the

agency’s limited resources to continue the fight.

       90.     In 1991, EPA changed its interpretation of the 1983 mouse oncogenicity study, on

account of one seemingly “magic” tumor found by a Monsanto-commissioned pathologist, who

had been asked to reread the kidney slides in the study. This one magic tumor in the male mouse

control group turned the seemingly positive Bio/dynamics mouse study into a negative one.

       91.     All of the pathologists that worked for the EPA and viewed the mouse kidney

slides from the Bio/dynamics study could not see, and did not agree that the magic tumor existed

in the kidney of one male, control mouse.

       92.     All of the pathologists paid by Monsanto to assess the kidney slides for the male




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mouse control group agreed that there was one tumor in the control mouse #1028, except for the

pathologist working for Bio/dynamics who did the initial assessment of the tumors in all animals.

          93.   This pathologist reported at that time no renal tubule adenomas in control male

mouse #1028, nor any other control male mouse. Years later, after re-reading the kidney slides,

this pathologist agreed with the other pathologists hired by Monsanto to evaluate the presence of

renal tubule adenomas in the control group of male mice.

          94.   Monsanto still has not repeated the mouse oncogenicity study.

          95.   The primary reason is clear – legitimate concern in the company that the results of

such a study would affirm the key finding in the original Bio/dynamics mouse oncogenicity

study, and result in EPA classifying glyphosate as at least a “possible human carcinogen.”

          2. Monsanto’s Third Party Network of Experts

          96.   Monsanto made heavy use of supposedly independent scientists in carrying out its

“Scientific Outreach” (SO) and PR campaigns in support of the safety of glyphosate and

Roundup-brand herbicides. Such individuals were appointed to an ad hoc, or standing advisory

committee or panel. In other cases, they simply worked on a fee-for-service basis on a defined

task.

          97.   Many of these glyphosate-friendly, consulting experts had once worked for

Monsanto. Many have authored or co-authored one to multiple papers commissioned and paid

for by the company. In addition, most of these papers contained passages ghost-written by

Monsanto scientists, and some were largely ghost-written by Monsanto.

          98.   “Ghost-writing” refers to contributions to a written document by a person not

listed as the author, or among the co-authors of a document. (See VI, C.2 for details).

          99.   In addition, Monsanto frequently asked and/or sponsored glyphosate-friendly




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experts to present oral and/or written comments to regulatory agencies or their advisory groups,

make presentations to allied groups, and assist in gaining positive media coverage of glyphosate

health issues.

       100.      While the roles and contributions of dozens of glyphosate-friendly scientists are

described in the body of my report, there are far too many instances, and individuals, to provide a

comprehensive accounting of this tactic. A list of some members in Monsanto’s glyphosate

safety third party network appears in IV, section C.

       101.      After my review of records in this case, I am shocked by the scope, systematic

focus, and brazenness of Monsanto’s efforts to utilize supposedly independent scientists to: (1)

restate and amplify company positions and scientific conclusions, (2) influence and contribute to

the literature in peer-reviewed, science journals on glyphosate safety issues, (3) shape and

control the information accessible to regulators, and (4) reinforce via repetition key Scientific

Outreach and PR messages reaching the farm community, allied organizations, the general

public, and political leaders regarding the safety of glyphosate-based herbicides.

       102.      These actions are inconsistent with applicable industry standards and do not

comport with how a reasonable company would act with respect to tapping outside scientific

expertise in the hope of elucidating and preventing human health risks.

       D. Critical Science Judgements Impacting the Use of Glyphosate

       1. Why Glyphosate’s Cancer Classification was So Important

       103.      Various terms are used to refer to the potential of a chemical to cause cancer. The

term “carcinogenic risk” used in the Monograph series issued by the International Agency for

Research on Cancer (IARC) means that “an agent is capable of causing cancer.”

       104.      In this report, I follow standard practice in EPA and the toxicology community.



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The word “oncogen” refers to a chemical thought to cause benign or malignant tumorous

growths in animals or humans; the term “carcinogen” refers to a chemical thought to cause

malignant tumors in animals or humans.

       105.    The Toxicology Branch within the EPA’s Office of Pesticide Programs (OPP)

decided that glyphosate should be classified as a possible human oncogen in 1984. This decision

posed a significant economic threat to Monsanto, as stated by Frank Serdy, Monsanto’s Manager

of Federal and State Regulatory Affairs in his March 13, 1985 letter to the OPP Registration

Division Director, Doug Campt.

       106.    In the 1980s, once glyphosate was classified as a potential oncogen, any

significant, future expansion in agricultural use of Roundup herbicides would require the

establishment of dozens of Section 409 food-additive tolerances to cover the residues that would

be present in certain fractions of grains and oilseed crops.

       107.    But glyphosate-related Section 409 petitions in the EPA pipeline, and any future

Section 409 tolerance petitions, would be blocked by the anti-cancer Delaney Clause under then-

current law and policy.

       108.    The Delaney Clause is a provision in Section 409 of the Food, Drug, and

Cosmetic Act that prohibits the use of cancer-causing food additives; when pesticide residues

concentrate in certain foods or food ingredients (like wheat bran), they are considered a food

additive to which the Delaney Clause applied.

       2. Negative Genotoxicity Studies Give Rise to a False Sense of Safety

       109.    The first round of mutagenicity and genotoxicity studies on glyphosate were

commissioned by Monsanto in the 1970s, conducted by IBT, and were found to be invalid and/or

fraudulent. The second round was done in the early 1980s, and fulfilled the then-existing OPP




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mutagenicity and genotoxicity data requirements.

       110.    The laboratories conducting these cell-assay studies on nearly 100% pure

glyphosate for Monsanto reported no evidence of mutagenic or genotoxic effects, and EPA

scientists accepted this determination. So, throughout the 1970s and for the next ~40 years, all

EPA documents report that glyphosate, and glyphosate-based herbicides, are not genotoxic.

       111.    EPA’s genotoxicity determination played a central role in the successful effort by

Monsanto to change OPP’s mind on the results of the highly-disputed, 1983 Bio/dynamics

mouse oncogenicity study.

       112.    Despite what EPA regarded as clear evidence of a dose-response increase in renal

tubule adenomas in male mice in that mouse study, Monsanto argued, and EPA eventually

accepted, that the absence of any evidence of genotoxicity provided strong support for the

conclusion that the increase in renal tubule adenomas in male mice was not treatment related.

       113.    Over and over for decades, the absence of evidence of genotoxicity is cited by

Monsanto and the EPA as a reason, if not the major reason, to ignore other evidence of

mammalian toxicity following exposure to glyphosate-based herbicides.

       114.    Unfortunately, glyphosate-based herbicides had always been genotoxic to

multiple organisms, and via several mechanisms, but the testing methods available in the 1970s

and 1980s had not yet detected such effects.

       115.    Critically, essentially all of the genotoxicity testing required by the EPA and

commissioned by Monsanto was carried out on nearly pure glyphosate, rather than on the

formulated glyphosate herbicides people use and are exposed to.

       116.    The first evidence of genotoxicity of glyphosate-based herbicides appeared in the

open, scientific literature in the 1990s (see the genotoxicity study subsection in VI., C.1).




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       117.    By 2003, there was considerable evidence in peer-reviewed scientific journals

suggesting that at least certain glyphosate-based herbicides were genotoxic.

       118.    When the International Agency for Research on Cancer (IARC) reviewed

glyphosate in 2015, it found “strong evidence” of both genotoxicity and the capacity to induce

oxidative stress in cells, two mechanisms that can lead to cancer.

       119.    In the 1980s, Monsanto was aware of the potential, if not probable genotoxicity of

formulated, glyphosate-based herbicides, as opposed to pure glyphosate active ingredient.

       120.    In response and to this day, the company has worked diligently, and with great

success, to avoid having to conduct any further, or more sensitive internal or external

genotoxicity studies on formulated Roundup and/or other glyphosate-based herbicides.

       121.    In my opinion, Monsanto did not want to test their formulated glyphosate-based

herbicides because they expected such studies to produce positive evidence of genotoxicity.

       122.    Any positive genotoxicity assay results would have to be, by law, provided to the

EPA. Such data would, in turn, almost certainly lead to new, EPA-mandated restrictions on

where and how Roundup herbicides could be used, especially on Roundup labels sanctioning

non-agricultural applications with backpack or hand-held sprayers, such as those used by the

plaintiff in this case, Dewayne Johnson.

       123.    Almost inevitably, such new studies would curtail glyphosate FTO, at least to

some degree.

       124.    In 1997 Monsanto reached out to Dr. James Parry, a prestigious, independent

academic genotoxicity expert that Monsanto was cultivating as a possible “glyphosate-friendly”

spokesperson. To test Parry’s scientific beliefs and judgements on glyphosate genotoxicity,

Monsanto asked Parry to conduct a preliminary assessment of what he learned from a review of




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several published genotoxicity studies on glyphosate and/or glyphosate-based herbicides.

       125.    Following his review, Parry prepared and submitted a detailed report to Monsanto

acknowledging some evidence of genotoxicity. Dr. Parry also recommended that Monsanto

undertake a set of more sensitive genotoxicity studies on glyphosate and formulated Roundup

herbicides, to determine if the findings reported in earlier studies were replicable, and hence real.

       126.    Parry and some Monsanto scientists were in agreement that improved, new and

more sophisticated genotoxicity studies should be carried out to resolve lingering questions.

       127.    In response, Monsanto planned to first do similar tests in-house, in order to know

what to expect if Dr. Parry, or another scientist, was funded to do the studies.

       128.    The implication is clear – the results of their internal studies would dictate how,

and whether they proceeded to commission the new studies, rather than the recognized need for

better studies and more reliable genotoxicity data.

       129.    Over many years and consistently, Monsanto has provided funding to friendly

scientists that invariably challenge and criticize the design, implementation, and/or findings of

studies producing results not aligned with Monsanto’s internal studies on the genotoxicity of

glyphosate and/or Roundup, most of which are negative.

       130.    Monsanto has commissioned, and ghostwritten portions of at least four

purportedly “independent” scientific reviews on the genotoxicity of glyphosate and/or

glyphosate-based herbicides. Each one concludes there is no credible evidence to suggest

glyphosate or Roundup herbicide poses a genotoxic risk.

       131.    This fundamental scientific mistake was perpetuated by the reticence of Monsanto

to test the genotoxicity of Roundup herbicides formulated with POEA surfactants, and

Monsanto’s dogged determination to dissuade independent scientists and regulators from




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conducting such tests.

       132.    The failure by Monsanto to properly test for genotoxicity is, in my opinion, one of

the primary reasons that the EPA, and other regulatory authorities, have failed for nearly a half-

century to recognize the potential for glyphosate-based herbicides to increase the risk of NHL

and other cancers in humans.

       3. Failure to Test Formulated Glyphosate-Based Herbicides

       133.    Over the entire history of glyphosate use and regulation, Monsanto has worked

diligently, and with considerable success, to not test its formulated Roundup herbicides.

       134.    When independent scientists have conducted and published studies on formulated,

glyphosate-based herbicides, Monsanto always aggressively challenged the studies, but only if

they produced positive results.

       135.    This pattern of behavior no doubt has discouraged scientists from conducting

experiments using formulated glyphosate herbicides.

       136.    The 40+ year absence of well-designed and carefully conducted short-term

genotoxicity and long-term chronic feeding studies using formulated glyphosate-based

herbicides is the most significant source of uncertainty in the current appraisal of the link

between use of, and exposure to glyphosate-based herbicides and human health risks.

       137.    Monsanto perpetuated this uncertainty through its systematic actions, and

inadvertently set the stage for the explosive impact of the review of the carcinogenicity of

glyphosate and Roundup herbicides issued by the IARC in March 2015.

       138.    The record shows clearly that Monsanto knew that the risks posed by formulated

Roundup herbicides were considerably greater than the risks posed by pure glyphosate, because

some of the inert ingredients in Roundup are more toxic than glyphosate itself, and the inert




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ingredients in Roundup increase the amount of glyphosate reaching and penetrating cell walls,

hence increasing the risk of adverse impacts in exposed humans.

       139.    Instead of using sound science to better understand, and then reduce, the

heightened risks stemming from use of the formulated herbicides applied by Dewayne Johnson,

Monsanto used its resources and considerable influence to perpetuate the focus of glyphosate

testing on an herbicide no one ever used, nor was ever exposed to -- 100% pure glyphosate.

       E. Influencing Regulators and the Scientific Community

       140.    The goal of Monsanto’s engagement with independent scientists was succinctly

stated in an internal, May 26, 1999 email. The goal is to encourage “… people to get up and

shout Glyphosate is Non-toxic.” (MONGLY00904009)

       141.    “Non-toxic” is not an accurate description of glyphosate or Roundup herbicides.

Yet through advertising and promotional material, and the messaging advanced by sales staff,

Monsanto systematically worked to convince the general public that Roundup is, in fact, safe

because it is “non-toxic.”

       142.    Dewayne Johnson was told by his supervisors that Roundup was safe enough to

drink, a dangerous and disingenuous claim that is frequently voiced but has rarely been

challenged by Monsanto. After his diagnosis, Johnson contacted the Missouri Poison Control

Center and asked if it was safe for him to continue applying Ranger Pro herbicides, and was told

his symptoms were not an expected response from exposure to the product.

       143.    The more formal statement of the “Overall purpose” of Monsanto’s “Glyphosate

Scientific Outreach Plan,” or SO Plan, appears at the beginning of a June 1999 document

describing the SO plan:

       “Ensure that Monsanto’s glyphosate-containing herbicides are widely viewed throughout
       the scientific community as posing no threat to human health or the environment. This


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       support will be used to favorably influence current and future possible challenges in the
       regulatory and public arena.” (GLYMON00904774)

       1. Cherry Picking Science

       144.    The record in this case shows that Monsanto does not, in general, use science in

the organized pursuit of knowledge and deeper understanding of the potential human and

environmental risks associated with use Roundup herbicides, but rather to gain new product

registrations, and defend the company’s Freedom to Operate, especially when placed in jeopardy

by new information regarding potential risks.

       145.    Monsanto has conducted internal testing to determine what a similar, new study

done by another scientist or laboratory is likely to show, prior to committing to pay for the new

study by an independent laboratory, the results of which might have to be submitted to the EPA.

       146.    The reason is clear – Monsanto’s priority is to invest testing dollars in gaining

new registrations and preserving glyphosate FTO, not to contribute to the science-base needed

for refined, more accurate risk assessments and more effective worker-safety label precautions

and requirements.

       147.    Again, in many instances discussed in this report, Monsanto has selectively drawn

upon the results of studies, in effect cherry-picking the findings most favorable to its position and

desired outcome, while ignoring, or criticizing findings that caste a less favorable light on the

safety of glyphosate and Roundup herbicides.

       148.    In the case of some studies, remarkably, Monsanto does both, highlighting a

finding that is aligned with its position, and in general endorsing the quality of the study, only to

then elsewhere criticize the study and some negative finding it reports.

       149.    Monsanto’s abuse of science is so systematic and consistent that it seems to track

some, perhaps unstated, internal company policy.



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          150.   In every aspect of its “Scientific Outreach” program, in communications with

regulators, in public presentations and commentary, and in the ghost-written materials the

company or its contractors generate and insert in peer-reviewed papers authored by purportedly

independent scientists, Monsanto spins science to support its FTO and attain the company’s

regulatory objectives.

          151.   The company almost never uses science as a structured path to deeper insights on

the properties and toxicity of its products, so that better ways can be identified to use them

safely.

          2. Failure to Impose Needed, Commonsense Worker-Safety Provisions

          152.   Monsanto repeated failures to assist regulators in developing more accurate

assessments of worker-safety risks is a clear and consequential breach of the company’s pledge

to adhere to the best science available, and serve as a responsible steward of Roundup herbicide

products.

          153.   Grave consequences have occurred for some applicators of Monsanto herbicides

like Dewayne Johnson, as a result of Monsanto’s failure to propose and/or agree to more

restrictive worker-safety provisions, especially in known, high-exposure application scenarios.

          154.   Monsanto’s egregious lack of concern for product stewardship, and the safety of

applicators spraying the company’s herbicides, substantially increased Mr. Johnson’s exposures,

and hence his risk of NHL.




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II. Expert Background and Qualifications

       155.    I received a B.A. in Economics from Harvard University in 1971, and a Ph.D. in

Agricultural Economics from the University of Wisconsin in 1980. I have worked on the impact

of agricultural technology on pesticide use, efficacy, and risks, as well as on public health and

farmer costs for nearly 40 years.

       156.    My work has also encompassed the impacts of regulatory policies, requirements,

actions, and laws on pesticide use, dietary exposure, worker risks, pest management systems, and

food quality and safety.

       157.    I was the Staff Director of the Subcommittee on Department Operations,

Research, and Foreign Agriculture (DORFA) of the House Committee on Agriculture for three

years (1981 to 1983). This Subcommittee had jurisdiction over the Federal Insecticide,

Fungicide, and Rodenticide Act (“FIFRA”), the primary federal statute governing pesticide

regulation.

       158.    During this period, I organized several DORFA hearings on pesticide issues, and

worked with Members of Congress in drafting potential changes in federal laws impacting the

Environmental Protection Agency’s (EPA) Office of Pesticide Programs (OPP). During my

tenure as the DORFA Staff Director, around one-half of the time and focus of the Subcommittee

was devoted to pesticide regulatory issues.

       159.    I made dozens of visits to OPP headquarters during this time-period, collecting

information and speaking with OPP management, staff, and scientists on issues that had been

brought to the attention of the Subcommittee, as well as issues of concern to OPP. These visits

resulted in the flow of substantial information from OPP to the Subcommittee. Information

provided by OPP/EPA helped the Subcommittee prioritize the issues addressed in forthcoming



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Subcommittee hearings, and/or in need of legislative intervention.

          160.   On behalf of the Subcommittee, I organized several hearings on pesticide

regulatory activities, issues, and controversies. This entailed drafting a hearing charter (purpose,

focus, goals), identifying and securing the participation of witnesses, managing the flow of

information submitted as part of delivered testimony and follow-up question from Subcommittee

members, and preparing the hearing report issued by the House Committee on Agriculture, on

behalf of the Subcommittee.

          161.   The Subcommittee carried out a two-year investigation of pesticide regulatory

policy and issues, with a principle focus on OPP/EPA activities. Several controversial areas of

EPA action, or inaction, arose during the investigation. These included the OPP/EPA and

industry response to the IBT scandal, the role of state versus federal government agencies in

pesticide regulation, the way known or possible carcinogenic pesticides were regulated, the

timeliness of OPP decision-making, the burden of proof governing OPP/EPA suspension and

cancellation actions, the cost of program activities and possible need for user fees, among other

issues.

          162.   During the DORFA investigation of OPP/EPA activities, I visited OPP in Crystal

City multiple times. I met many times with managers in the various divisions of OPP, as well as

with many staff scientists in the residue chemistry, toxicology, and registration divisions. I

interacted with several of the OPP administrators and staff who were responsible at the time, and

in subsequent years, for various aspects of OPP’s assessment and regulation of glyphosate

herbicides.

          163.   The DORFA Subcommittee investigation culminated in the publication of a

Subcommittee report (Volume I), and three supporting volumes of information (Volumes II-IV).




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       164.    The IBT toxicological data scandal was among the issues explored in the

Subcommittee’s investigative report and supporting volumes. At the request of the

Subcommittee, OPP provided a detailed accounting of the pesticide-company studies submitted

to OPP from IBT. The list included several studies commissioned by Monsanto on glyphosate. In

fact, most of the initial data supporting the first regulatory decisions on glyphosate in the 1973-

1980 period was from IBT, and was subsequently deemed invalid and/or fraudulent. All such

studies had to be replicated, and were replicated during the 1980s and 1990s.

       165.    While serving as the DORFA Subcommittee Staff Director, I met multiple times

with Mr. Chester Dickerson. Mr. Dickerson worked for Monsanto and was based in the

corporation’s Washington, D.C. office. Mr. Dickerson attended virtually every pesticide-related

hearing conducted by the Subcommittee in the time period I worked as Staff Director. I had

lunch dozens of times with Mr. Dickerson, who was generous with his time and shared his

extensive knowledge of the pesticide regulatory process and pesticide issues in general.

       166.    Mr. Dickerson advanced his, and Monsanto’s views regarding the way the OPP

was implementing federal law, the OPP response to the IBT scandal, and the subsequent steps

Monsanto took to replace fraudulent data. Other common topics of discussion included the need

for legislative reforms, a variety of pesticide risk assessment issues, including how known or

possible carcinogenic pesticides are regulated.

       167.    From 1984-1990 I served as the Executive Director of the Board on Agriculture, a

major unit of the National Academy of Sciences/National Research Council (NAS/NRC).

       168.    In February 1985, the EPA “asked the Board on Agriculture (BA) of the National

Research Council to study the EPA’s methods for setting tolerances for pesticide residues in




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food. Specifically, the EPA asked the board to examine the current and likely future impacts of

the Delaney Clause on the tolerance-setting process” (quote from preface, Regulating Pesticides

in Food: The Delaney Paradox, NAS, 1987).

       169.    My job was to support the BA’s work in recruiting the study committee,

collecting necessary information and records from the OPP/EPA, commissioning and overseeing

analytical work in support of the Committee’s deliberations, and drafting the Committee’s report,

which was entitled Regulating Pesticides in Food: The Delaney Paradox.

       170.    The report was released in 1987, and estimated the level and distribution of

potential cancer risk across foods in the diet, stemming from the about 2,500 tolerances covering

the residues in food of 53 oncogenic pesticides. It also called for the reform of the Delaney

Clause’s paradoxical impact on pesticide tolerance setting, and the EPA’s and industry’s efforts

to reduce pesticide-related cancer risk in food.

       171.    In 1988, the Congress directed the EPA to request the Board on Agriculture of the

NAS/NRC to conduct a study on the unique vulnerability of pregnant women, infants, and

children following pesticide exposures. This new study was commissioned as a follow-up to the

Delaney Paradox report.

       172.    As ED of the Board on Agriculture, I developed the scope of work, helped the

Board identify and recruit the study committee, and supported the initial 2.5 years of the

Committee’s work. I left my position as the ED of the Board on Agriculture in late 1990.

       173.    The report written by the new NAS/NRC Committee was entitled Pesticides in

the Diets of Infants and Children. It was released in June, 1993. Hearings on the report were held

in both the House and Senate on the day of release. The recommendations were widely embraced

both by the pesticide industry and environmental/consumer advocates, and provided the basic




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framework for an historic piece of legislation that was passed and signed into law in the summer

of 1996, the “Food Quality Protection Act” (FQPA).

       174.      I started Benbrook Consulting Services (BCS) in late 1990. Since that time BCS

has carried out several dozen projects involving pesticide use, risks, and regulation for federal

and State government agencies, companies, private institutions, and non-governmental

organizations.

       175.      In the 1990s, several BCS projects involved analytical work on risks stemming

from residues of cancer-causing pesticides in food. The impact of the Delaney Clause was a

focus of all such projects, as was the long-standing effort by the Congress to pass legislation

implementing the recommendations in the 1987 and 1993 NAS/NRC reports.

       176.      BCS’s major client in the 1993-2002 period was Consumers Union (CU),

publisher of Consumer Reports. I was hired initially to work with senior CU staff in writing a

book on pest management and pesticide use/regulatory issues in the U.S. Pest Management at

the Crossroads (PMAC) came out in October 1996 and was widely disseminated and often-

discussed in pesticide policy circles.

       177.      Chapter 3 in PMAC addressed human-health risks stemming from pesticide use

and exposure, and notes that “More than 70 active ingredients cause cancer in animal tests, and

cancer has been the most common reason cited by the EPA in pesticide cancellation and

suspension actions.”

       178.      Chapter 4 in PMAC focuses on pesticide regulation and includes a detailed

explanation of the purpose, provisions, and impact of the recently-passed Food Quality

Protection Act, with multiple references to both the 1987 and 1993 NAS/NRC reports.

       179.      The FQPA changed the basic standard and risk-assessment process governing the




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setting of tolerances in the case of possibly cancer-causing pesticides that concentrate in

processed foods.

       180.    The FQPA’s core provisions were effective upon enactment, but required the EPA

to revisit the 8,066 tolerances covering residues of pesticides then on the market. These included

130 tolerances covering all forms of glyphosate and its metabolites, as well as 14 additional

tolerances covering residues of the isopropylamine salt form of glyphosate (the primary form of

glyphosate sold by Monsanto).

       181.    From late-1996 through about 2002 I continued work with Consumers Union on

the implementation of the FQPA. I carried out multiple analytical projects for CU, the results of

which were typically included in rule-making comments to the EPA on various aspects of FQPA

implementation. BCS also worked on FQPA implementation issues for other clients.

       182.    In 1996, the first genetically-engineered (GE), herbicide-resistant (HR) soybean

and cotton seeds were commercially sold. These crops had been engineered to tolerate post-

emergent applications of glyphosate (i.e., an application over-the-top of a growing crop), and

were labeled “Roundup Ready” crops. Applied in this way, at this stage of crop growth,

glyphosate killed actively growing weeds in farm fields, but left the crop unharmed.

       183.    The commercialization of GE-HR crops triggered rapid growth in the overall

sales and pounds applied of glyphosate in the U.S., and globally.

       184.    I began Ag Biotech InfoNet in 1998, a website covering the use, risks, and

regulation of genetically engineered crops. The website grew incrementally through the early

2000s, but was taken off the Internet around 2005. Herbicide-resistant crops, and especially

Roundup Ready crops, were a major focus of the website, as was the use and regulation of

glyphosate-based herbicides.




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         185.   Beginning in 1996, Monsanto and pesticide and biotechnology industry trade

associations and spokespeople claimed repeatedly that GE crops were reducing overall pesticide

use.

         186.   As part of my ongoing analytical work since the early 1990s, I download the

pesticide use data collected and released annually by the U.S. Department of Agriculture

(USDA). Each year I track changes in herbicide use, as well as overall pesticide use in the three

major GE crops – soybeans, corn, and cotton.

         187.   It was clear to me by the early 2000s that both herbicide and overall pesticide use

was rising on acres planted to GE-HR soybeans, corn, and cotton, and that Monsanto claims that

its new, GE crops were reducing pesticide use were not supported by official USDA pesticide

use data.

         188.   In 2003 I released the first of several reports on the impacts of GE crops on

pesticide use. Ag BioTech InfoNet Technical Paper #6 was issued in 2003, and documented the

increase in overall pesticide use on GE soybeans, corn, and cotton from 1996 through 2002. In

2004, Ag BioTech InfoNet released Technical Paper # 7, quantifying the impact of GE crops on

pesticide use over the first nine years of use.

         189.   During my tenure as Chief Scientist of The Organic Center (TOC), I wrote and

issued a November 2009 “Critical Issue Report” covering the impact of GE crops on pesticide

use over the first 13 years of use. And in October 2012, I published a paper entitled “Impacts of

genetically engineered crops on pesticide use in the U.S. – the first 16 years” in the peer-

reviewed journal Environmental Sciences Europe.

         190.   Each of the reports I wrote on the impact of GE crops on overall pesticide use

highlighted the role of rapidly rising use of glyphosate-based herbicides in pushing upward the




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overall pounds of pesticides applied by U.S. soybean, corn, and cotton farmers.

       191.    The reason why was obvious and not in dispute – farmers who planted Roundup

Ready crops switched from herbicides applied at a rate ranging from 0.01 pound per acre to over

1.0 pounds, and averaging about 0.3 pounds per acre, by glyphosate-based herbicides applied at

an average rate per crop year of between 1.2 and 2.5 pounds of glyphosate per acre.

       192.    In 2016, I published the first complete accounting of the use of glyphosate-based

herbicides in the U.S. and globally, based on publically available pesticide use data. The paper

was entitled “Trends in glyphosate herbicide use in the United States and Globally” and was

published in Environmental Sciences Europe (Vol 28:3; DOI 10.1186/s12302-016-0070-0).

       193.    Also in 2016, I was the principle and senior author of a paper entitled “Concerns

over use of glyphosate-based herbicides and risks associated with exposures: a consensus

statement” that was published in the peer-reviewed journal Environmental Health (Volume

15:19; DOI 10.1186/s12940-016-0117-0).

       194.    From late 1990 through 2006, I ran BCS and all my work was via contracts with

BCS.

       195.    From 2006 through mid-2012, I worked as the Chief Scientist of The Organic

Center, a small non-profit responsible for tracking new science on the environmental and

consumer health impacts of organic food and farming. The impact of organic farming on

pesticide use and risks was an ongoing focus during my tenure as TOC Chief Scientist.

       196.    I took a non-tenure track Research Professor appointment at Washington State

University in June 2012, a position I held for three years. During this time, I ran the “Measure to

Manage” program. Our focus was development and application of analytical tools useful in

quantifying the impact of agricultural technology and farm production systems on agriculture’s




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environmental footprint and public health outcomes.

       197.    As a result of multiple research collaborations with Newcastle University

scientists, I was appointed as a Visiting Professor in the School of Agriculture, Food and Rural

Development, Newcastle University in the United Kingdom.

       198.    In March 2017, I became a Visiting Scholar in the Department of Environmental

Health and Engineering in the Bloomberg School of Public Health, Johns Hopkins University.

       199.    Both of these academic appointments are ongoing.

       200.    My resume appears in Appendix A.




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III. The EPA Pesticide Regulatory Decision Process
       201.    The data requirements, risk assessment protocols, and decision criteria supporting

pesticide regulatory decisions made by the OPP/EPA change incrementally over time. The

changes have, to varying degrees, tracked scientific advances in the underlying residue

chemistry, toxicology, and environmental sciences.

       202.    Sorting out the impact of changes over time in data requirements, study protocols,

risk assessment methods, decision criteria governing OPP/EPA regulatory actions, and politics is

a complex endeavor, especially in the case of a pesticide like glyphosate that has been registered

by EPA since the mid-1970s and gone through so many profound changes in use patterns, test

results, and risk assessments.

       203.    Changes in when, where, how, and how widely a pesticide is used often occur

over time, and such changes typically alter exposure and risk levels in ways that are hard to

predict, or even detect. This is surely the case with glyphosate, an herbicide that has come to be

used in several major ways beyond those covered by the original Roundup labels granted by

EPA in the late 1970s.

       A. Three Major OPP/EPA Actions and Decisions

       204.    There are three major types of pesticide regulatory actions and/or decisions made

by the OPP/EPA: (1) a “yes”/”no” response, or a conditional or amended “yes,” to a petition

from a pesticide manufacturer asking the EPA to establish new tolerance(s) covering residues of

a pesticide in food(s) derived from a crop or crops for which the pesticide will be labeled for use;

(2) a “yes”/”no” response, or an amended or conditional “yes,” to an application from a pesticide

manufacturer for a registration (i.e. label) authorizing a new pesticide product for use on

specified crops under defined conditions; and (3) a cancellation, suspension, or refusal to re-



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register an existing registration for a pesticide already on the market; or, re-registration of an

existing product under different, and usually restricted terms and conditions.

       205.    Each of these three major types of decisions/actions arises from well-defined

OPP/EPA application, review, risk assessment, and approval/denial processes. These processes

typically require companies to conduct new studies and submit new data to the agency.

       206.    Once all, or most of the requested and/or required information is submitted to

OPP, a scientific review is undertaken of submitted studies in the residue chemistry, toxicology,

or environmental effects branches.

       207.    OPP staff determine whether: (1) all required studies have been undertaken and

submitted, (2) the studies were conducted in accord with Good Laboratory Practices (GLP) and

other requirements set forth in EPA guidance and policy documents, and (3) study results

support the “gateway” OPP action(s) or decision(s) requested by the applicant/registrant.

       208.    By “gateway actions,” I mean actions or decisions that OPP/EPA must make prior

to approving a new registration application. The three most important are:

 (1) The setting of a tolerance level at “x” parts per million in food “y.” Tolerances are set at a
level to cover residues of the pesticide likely to be in crop “y” at harvest after an application
made in accord with all label directions, or in foods made from crop “y”.
(2) Establishing a mammalian (i.e. human) chronic Reference Dose at “z” milligrams of
pesticide per kilogram of bodyweight. A cRfD is the key human-exposure benchmark that
approved registrations of a pesticide cannot exceed.
(3) Whether the pesticide has potential to cause cancer. Pesticides are classified by OPP/EPA as
a possible, probable, or proven oncogene, or not carcinogenic, or unknown.

       1. Applications to Register a New Pesticide

       209.    In the case of an application for a food crop use, or uses, of a new pesticide active

ingredient, the OPP must decide which data requirements must be satisfied prior to making a

final “yes”/”no” decision. Required and submitted studies must be evaluated by OPP for

adherence to study protocols and GLPs set forth in OPP’s detailed data requirements spelled out



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Section 408 of the Code of Federal Regulations.

       210.    Any required tolerances covering residues of the pesticide in foods derived from

treated crops must be approved and in place prior to OPP action in response to a registration

application.

       211.    Companies generate studies and collect other data to submit to the OPP in support

of requested actions. Registrant-generated materials submitted to OPP include: (1) suggestions

and/or requests to establish tolerances in specific foods at a defined level expressed in parts per

million of the pesticide (measured by weight of the pesticide and food); and (2) a suggestion to

establish the pesticide’s chronic Reference Dose at a given level, expressed as milligrams of

pesticide per kilogram of bodyweight per day. (A pesticide’s chronic Reference Dose (cRfD)

establishes the maximum amount of the pesticide that a person of known weight can be exposed

to in a day, without exceeding the EPA’s “level of concern”).

       212.    In the event estimated exposures exceed the EPA’s “level of concern,” the agency

will either request additional data to refine its estimates of exposure and risk, or impose

restrictions on labeled uses that bring expected exposures below the agency’s “level of concern”.

       213.    Once all requested data is submitted and deemed acceptable (i.e., it satisfies OPP-

imposed data requirements), OPP science-branch managers must then determine whether

submitted studies support the actions requested by applicants (set a tolerance, register a new use

of a pesticide). The key decision criterion is whether the exposure levels likely to occur

following use of a pesticide in accord with its label directions might exceed EPA’s “level of

concern.”

       214.    Such “levels of concern” vary depending on: (1) the exposed organism; (2) the

age and vulnerability of population groups; (3) the type of risk under review (e.g., acute, chronic,




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reproductive); and (4) the magnitude, persistence, and reversibility of any possible adverse

effects.

           215.   The level of certainty/uncertainty in OPP/EPA exposure or risk assessments also

plays a role in determining whether the agency’s “level of concern” has been exceeded.

           216.   The EPA will approve the registration of a new pesticide if all applicable data

requirements are satisfied, and no estimated exposure levels for non-target organisms (e.g.,

people, birds, bees, fish), exceed EPA’s “level of concern.”

           217.   In some cases, the OPP/EPA will grant a “conditional registration” for a new

pesticide, or a new use of a previously registered pesticide. Such registrations are accompanied

by a requirement that the registrant must conduct and submit additional studies or data to OPP by

a given date.

           2. Actions Impacting the Future Use of an Already-Registered Pesticide

           218.   In the case of re-registration, cancellation, and suspension actions impacting

already-registered pesticide uses, the EPA is bound by the FIFRA statute to balance the risks and

benefits associated with ongoing, or altered use of the already-registered pesticide.

           219.   As stated in the 1996 Consumers Union book Pest Management at the

Crossroads, “New pesticides are guilty until proven innocent, with applicants bearing the burden

of proof. Old pesticides are innocent until proven guilty, with EPA bearing the burden of proof”

(page 93).

           220.   Before restricting the use of a previously registered pesticide, OPP must first

show that: (1) exposure levels to one or more non-target organisms (and especially people),

exceed the EPA’s level of concern, and (2) the risks stemming from the ongoing use of the

pesticide exceed the benefits flowing from such uses.




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       221.    To make judgements regarding risks versus benefits, the OPP must carry out

detailed assessments of how a given pesticide is used on a given crop, pesticide efficacy (number

and severity of pests controlled, how well are they controlled, and for how long), how use varies

across the country, the cost of the pesticide plus its application, and what combination of factors

can lead to exposures above EPA’s level of concern.

       222.    This use-specific information is essential for EPA to identify relatively high-risk

uses, as well as options to reduce exposure levels. At the end of its assessment of pesticide uses,

benefits, and risks, the OPP must decide whether restricting or cancelling the use of a pesticide

will cause unacceptable crop losses or damage, and/or force farmers to increase reliance on

another pesticide that might pose even more serious risks.

       B. Impacts of OPP Cancer Determinations in Tolerance Setting

       223.    The terminology used in describing the potential of pesticides to cause or increase

the risk of cancer is important, and can be confusing. This report adheres to the common

definitions of terms in the OPP/EPA, as well as in the scientific community.

       224.    An oncogen is a chemical thought to possibly increase the risk of triggering

growth of benign and/or malignant tumors. A carcinogen is a substance thought to trigger the

growth of malignant tumors. Oncogenicity is the capacity to cause or amplify growth of benign

or malignant tumors, while carcinogenicity is the capacity to trigger or amplify growth of

cancerous, malignant tumors.

       225.    The EPA was formed in 1972. According to a 1994 EPA document, cancer risk

had been, at that point in the agency’s history, the most commonly cited reason for OPP pesticide

cancellation and suspension actions (Status of Pesticides in Reregistration and Special Review,

738-R-94-008).



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       226.    As of the mid-1980s, the NAS/NRC report Regulating Pesticides in Food – The

Delaney Paradox identified about 2,500 tolerances covering residues of 53 food-use pesticides

thought by EPA to pose some level of cancer risk (NAS/NRC, 1987).

       227.    As of June 1986, there were 8,477 food tolerances in the Code of Federal

regulations, so about 30% of all tolerances covered uses of possibly oncogenic pesticides (data

on number of tolerances from Table 2-1, p. 35, NAS/NRC, 1987)

       228.    Congressional hearings conducted by the DORFA Subcommittee in 1981-1983

included extensive testimony from OPP officials, the pesticide industry, and consumer health

advocates on OPP/EPA methods and policies governing the regulation of possibly cancer-

causing pesticides.

       229.    Special focus was directed to the conundrum faced by OPP/EPA in working

through sometimes conflicting statutory standards applicable to the tolerance setting process in

the case of certain possibly oncogenic pesticides. The “Delaney Paradox” arises from the

conflicting mandates in the two statutes governing the tolerance setting process.

       230.    The Federal Insecticide, Fungicide, and Rodenticide Act (FIFRA) is the dominant

statute governing pesticide regulation. It directs the OPP/EPA to apply a risk/benefit balancing

standard in deciding whether to approve a pesticide registration, reregister an already-approved

pesticide use, or cancel or suspend an existing registration.

       231.    According to the OPP –

       “Before EPA may register a pesticide under FIFRA, the applicant must show, among
       other things, that using the pesticide according to specifications ‘will not generally cause
       unreasonable adverse effects on the environment.’ FIFRA defines the term ‘unreasonable
       adverse effects on the environment’ to mean: ‘(1) any unreasonable risk to man or the
       environment, taking into account the economic, social, and environmental costs and
       benefits of the use of any pesticide, or (2) a human dietary risk from residues that result
       from a use of a pesticide in or on any food inconsistent with the standard under section
       408 of the Federal Food, Drug, and Cosmetic Act.’'' (quote from Summary of the Federal



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       Insecticide, Fungicide, and Rodenticide Act, https://www.epa.gov/laws-
       regulations/summary-federal-insecticide-fungicide-and-rodenticide-act)

       1. Setting Tolerances under Sections 408 and 409 of the FDCA

       232.    A second federal statute establishes the authority for OPP/EPA to set tolerances --

the Food, Drug, and Cosmetic Act (FDCA). Section 408 was added to the FDCA in 1954 in

order to provide a mechanism for the Food and Drug Administration (FDA) to control pesticide

residue levels in food.

       233.    Section 408 authorizes the establishment of tolerances in raw agricultural

products at the point such products would typically leave the farm gate. Section 408 requires that

such tolerances be set at levels deemed necessary to protect public health. Residues in excess of

the applicable tolerance render food adulterated, and hence unlawful for sale.

       234.    Responsibility for establishing tolerances under Section 408 was granted to the

EPA upon formation of the agency in 1972.

       235.    Section 409 of the FDCA provides the FDA general authority to regulate food

additives – “any substance the intended use of which results or may reasonably be expected to

result…in its becoming a component of the food.” (21 USC § 321(s) [1984]).

       236.    Section 409 goes on to exempt pesticide residues in food up to the level

authorized by a Section 408 tolerance applicable to the given food, in recognition of the fact that

such levels are subject to control via the tolerance setting process.

       237.    However, in some cases, pesticide residues in raw agricultural commodities

concentrate in processed agricultural products, or food ingredients derived from the raw

agricultural commodities. Common examples include residues in raisins, in contrast to the grapes

the raisins come from (and indeed any dried food); milling wheat to produce wheat germ and

flour; making tomato paste or ketchup from raw tomatoes; or, extracting oils from crops like



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canola, soybeans, or olives.

       238.    As in the case with Section 408, EPA has been granted the responsibility of

setting tolerances under the authority granted in Section 409 of the FDCA.

       239.    In the 1958, Congress amended Section 409 of the FDCA to include the so-called

Delaney Clause (named after its author, New York Congressman James Delaney). The clause

states that "the Secretary of the Food and Drug Administration shall not approve for use in food

any chemical additive found to induce cancer in man, or, after tests, found to induce cancer in

animals."

       240.    The Delaney Clause applies to all food additives regulated under Section 409 of

the FDCA, including pesticide residues in processed foods that concentrate above the level in the

corresponding raw agricultural commodity.

       241.    Based on the EPA’s interpretation of the requirements in Section 409, the key

factor in determining whether a Section 409 tolerance must be granted is whether a pesticide

residue concentrates in a processed food above the level typically found in the raw agricultural

commodity, not whether the level in the processed food is expected to exceed the Section 408

tolerance level.

       242.    In the 1980s and 1990s, EPA denied the registration of several new pesticides

and/or new uses of an already-registered pesticide that OPP had classified as a possible oncogen,

because a Section 409 food-additive tolerance was required.

       243.    Glyphosate was among the pesticide active ingredients that was directly impacted

by the Delaney Clause from 1983 into the 1990s, by virtue of OPP’s classification of glyphosate

as a possible human carcinogen in 1983.




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IV. Early EPA Actions on Glyphosate Herbicide and Monsanto
Efforts to Influence the OPP’s Evaluation of Glyphosate Toxicity

       244.    The Office of Pesticide Programs in EPA processed the initial tolerance petitions

and registration applications for Monsanto’s new herbicide, glyphosate, in the 1974-1977 period,

just after the formation of the EPA in 1972.

       245.    Glyphosate is a broad-spectrum herbicide that kills any growing plant, whether

regarded as a weed or a crop. It also kills most vines, shrubs, and trees. The herbicide is most

effective when sprayed on young and immature plants; higher doses are required to kill well

established, mature plants, vines, and trees.

       246.    By virtue of the indiscriminate nature of glyphosate, the herbicide cannot be

sprayed on any crops, trees, vines, or other desirable vegetation after the plants had germinated

and were growing above the ground. Glyphosate could be sprayed after crop harvest to kill any

surviving weeds and plants.

       247.    At the time Monsanto requested the first registrations for its Roundup herbicide

containing the active ingredient glyphosate, the company envisioned that glyphosate would be

used for general weed control: (1) in industrial settings like lumber yards, electrical transmission

facilities, along roads and railroad tracks, and within a variety of other rights of way, (2) to kill

early-germinating weeds prior to the planting of a crop, or the crop’s emergence, (3) on fields

that farmers want to remain fallow, but largely weed free, and (4) after a crop is harvested.

       A. Initial Approved Uses and Tolerance Actions

       248.    The first EPA actions on glyphosate occurred in 1974, and approved of temporary

tolerances for the combined residues of glyphosate and its metabolite aminomethylphosphonic

acid (AMPA) in the crops harvested from 9,715 acres of experimental uses of glyphosate. The



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temporary tolerances requested were: corn fodder and foliage at 0.5 ppm; cottonseed and cotton

forage and hay at 0.5 ppm; and corn, soybean, and wheat grain at 0.1 ppm.

        249.   The above temporary tolerances, along with similar tolerances on several other

crops, were approved and eventually became permanent tolerances, in response to tolerance

petitions 4G1444, 5G1523, 5G1561, and 5F1560.

        250.   The first agronomic crops on which glyphosate herbicides were registered for use

were cotton and soybeans. On March 5, 1976 Monsanto requested EPA to establish temporary

tolerances on cottonseed and cotton forage, and soybean grain, hay, and forage, in order to allow

harvest and use of crops grown under an Experimental Use Permit. (MONGLY03579293)

        251.   EPA approved Monsanto’s request for temporary cotton and soybean tolerances

in a letter dated September 7, 1976. The tolerances would be in effect for one year.

        252.   The letter goes on to alert Monsanto that: “A food additive tolerance is being

established for residues of glyphosate and its metabolite in soybean hulls at 20 ppm.” So, from

September 1976, Monsanto was aware that it would have to request, and EPA approve, food

additive tolerances for at least some, and indeed likely most, proposed glyphosate food crop

uses.

        253.   Such tolerances were then subject to the Delaney Clause and would not be

approved by EPA in the event glyphosate was determined to be a possible animal or human

oncogen.

        254.   Over the next 10+ years, several other applications for Experimental Use Permits

were submitted and most were granted by EPA, sometimes in a modified form. In addition, most

of the requests for the temporary tolerances required to allow crop harvest and use were

approved. Several approval letters from EPA to Monsanto contained a similar paragraph




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explaining that the agency had also established Section 409 food additive tolerances, on a

temporary basis.

       255.    Both the number and scope of pending temporary and permanent tolerance

petitions expanded steadily during the late 1970s, as did the number of tolerances that were

granted.

       256.    The status of OPP actions on 21 pending glyphosate tolerance petitions is

discussed in a March 15, 1977 Toxicology Branch memo by Raymond Landolt. It identifies the

data supporting existing tolerances, the need for some additional studies, and corrects an error in

an earlier memo regarding the no effect level in a three-generation rat reproduction study.

       257.    It also includes the following passage: “TB [Toxicology Branch] memo of June 4,

1974 concluded that ‘the residue on human food crop are negligible and the fraction that is non-

extractable would be sufficiently low to be toxicologically insignificant.’”

       258.    In 1975, permanent tolerances covering the combined residues of glyphosate and

AMPA were established at 0.1 ppm for corn and soybean forages and grain, as well as for wheat,

sorghum, oats, and barley grain and forages. With the exception of soybeans and the wheat straw

tolerances, the above tolerances remained in place at the 0.1 ppm until 1996.

       259.    The tolerances were increased 10- to 40-fold in 1996, to cover the much higher

residues stemming from new and emerging uses of Roundup herbicide.

       260.    On February 21, 1986, Monsanto submitted an application to OPP/EPA seeking

registration of preharvest use of glyphosate on soybeans. Such uses were intended to kill the

growing plants to accelerate harvest and/or prepare the fields for the planting of another crop.

(MONGLY03692349) The application included a list of proposed changes in soybean tolerances

required to cover residues in soybean grain (up to 20 ppm, from 6 ppm), and soybean hay (up to




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200 ppm, from 15 ppm). In addition, Monsanto acknowledged that a Section 409 food additive

tolerance in soybean hulls would be required, and proposed that it be set at 100 ppm.

       261.       As long as EPA considered glyphosate a possible oncogene, approval of the

Section 409 tolerance would likely not occur. For example, in an April 18, 1985 memo to the

Registration Division and Toxicology Branch from the Residue Chemistry Branch, R.W. Cook

reviews a pending tolerance petition that requests increases in glyphosate plus AMPA tolerances

in wheat grain and wheat straw. The memo states: “4b. TOX has concluded (W. Dykstra,

3/19/85) that food additive tolerances for glyphosate are not appropriate due to the Delaney

rule.” (page 4)

       262.       The soybean grain tolerance was increased from 0.1 ppm to 6.0 ppm in 1985, and

to 15.0 ppm in 1990, to cover residues in soybeans harvested from fields sprayed with preharvest

glyphosate as a desiccant (i.e., to kill the mother plants). The soybean hay tolerance was raised to

200 ppm, and the soybean straw tolerance was set at 100ppm. The wheat straw tolerance was

raised to 40 ppm.

       B. Studies on Glyphosate Conducted by IBT Create Massive Hole in
       Toxicology Dataset

       263.       Early interactions between OPP and Monsanto were complicated by the IBT

pesticide data scandal.

       264.       IBT was a major contract laboratory doing toxicological studies destined for

submission to OPP/EPA for many pesticide manufacturers in the 1970s and 1980s.

       265.       In 1976, a routine FDA audit of an IBT test facility uncovered problems with the

conduct of some studies and lead to a thorough EPA assessment of all studies done by IBT that

supported regulatory actions by OPP.

       266.       Most of the initial toxicological database supporting the early tolerance petitions


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and registrations of glyphosate were done by IBT. The “IBT Tracking System Report” released

in 1983 notes 30 studies done by IBT on glyphosate, of which 17 were invalid and 2 were

pending final judgements (Exhibit B, “Summary of the IBT Review Program,” OPP, July 1983).

       267.    On July 1, 1977, OPP generated a one-page summary of the eight toxicology

studies used to support establishment of all existing glyphosate tolerances. All eight studies were

submitted between 1972 and 1974, and all eight were done by IBT.

       268.    An August 21, 1978 memo from William Dykstra of the Toxicology Branch to

Robert Taylor in the Registration Branch discusses the EPA’s assessment of the validity of a key,

2-year chronic oral toxicity study done in Albino rats by IBT. For a variety of reasons, the EPA

judged the study to be invalid, yet it served as the basis of the then-current chronic Reference

Dose of 0.1 mg/kg/day (called an ADI, or Acceptable Daily Intake in 1978).

       269.    A July 27, 1982 memo from the Toxicology Division to the Registration Division

reported EPA’s judgement that the 2-year dog study (No. 651-00565) done by IBT for Monsanto

and completed in 1973 was invalid because of missing data, failure to record diet preparation

records, and other deficiencies.

       270.    Accordingly, it took about a decade for EPA to determine that most of the

toxicological database submitted to the agency by Monsanto in the mid-1970s, and used by EPA

to support all early EUP, tolerance, and registration actions, was invalid.

       271.    Problems also arose with some of the replacement studies that Monsanto

commissioned to replace invalid IBT studies. In July 1979, Monsanto decided to terminate a 2-

year mouse study on NNG because of excessive mortality in treated groups of animals

(MONGLY04272266).

       272.    Via an agreement with OPP, Monsanto repeated all of the invalid IBT studies at




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different laboratories. In the interim, EPA allowed existing registrations and tolerances to remain

in place.

       273.    The first of the replacement studies were submitted to OPP beginning in the early

1980s. For about a decade, the early registrations and tolerances covering all uses of glyphosate

were not supported by a complete set of valid toxicology studies.

       C. Contaminants, Adjuvants, and Surfactants
       274.    The EPA grants two basic types of registrations and labels for pesticides:

technical use registrations and labels, and formulated, “end use” product registrations and labels.

       275.    A first step in the regulatory process typically entails a chemical company

applying for and gaining a technical use product label covering a product composed of 100%, or

nearly 100% pure active ingredient. Such registrations are granted to basic manufacturers that are

involved in pesticide discovery research and development, and own and/or operate chemical

plants synthesizing pure, 100% pesticide active ingredients.

       276.    The EPA labels issued for technical use products generally do not include detailed

lists of approved crop or industrial uses, rates of application, or other specific use instructions.

They do address proper handling, storage, and transport methods and precautions.

       277.    Technical use pesticides may be used internally by the basic manufacturer to

make its own brand-name formulated product, like Roundup herbicide containing glyphosate as

the active ingredient and various adjuvants and surfactants.

       278.    Technical use products are also sometimes sold to pesticide companies that

formulate “end use” products labeled for specific uses. Such “end use” products are ready to be

used and applied by farmers, applicators, home owners, land managers, or other people involved

in pest management.




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       279.    The distinctions between technical use and end-use products are important for

many reasons. Different data requirements apply. End use products often have a substantially

different set of environmental fate properties, compared to the pure active ingredient(s) in them.

These differences can dramatically alter the nature and outcome of both environmental and

human-health risk assessments and outcomes.

       280.    End-use products are often more toxic than pure active ingredients. Companies

seeking and obtaining end-use product labels are responsible for a much more extensive set of

decisions regarding uses, rates, and methods of application, than companies just seeking and

gaining technical use registrations.

       281.    In addition, end-use pesticide products contain much more complete label

directions and safety precautions that collectively will, hopefully, assure that the pesticides do

not cause any “unreasonable adverse effect on man or the environment.”

       282.    The “label is the law” is the basic statutory provision in federal law that applies to

all pesticide labels. The presumption, and hope, is that when a pesticide is applied in accord with

all label directions, there will be no “unreasonable” adverse impacts on people or the

environment.

       1. Sources of Pesticide Product Risk

       283.    Human health and environmental risks from pesticide use can arise from three

general categories of ingredients, or components, in a commercial pesticide product: (1) the

active ingredient itself, (2) any impurities in the active ingredient that are formed during the

manufacturing process, or as a result of a chemical reaction that occurs between the time the

pesticide is made and/or mixed at a plant and applied by a user, and (3) the so-called “inert

ingredients” added to essentially all end-use pesticide products (e.g., surfactants and adjuvants).




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       284.    “Inert ingredients” are added to liquid, end-use pesticide products like Roundup

herbicide to assure that the active ingredient (glyphosate) remains thoroughly mixed and stable,

is compatible with other pesticides or liquid fertilizers that might be combined in a tank-mix and

applied via a single pass through a field, and sticks or adheres to whatever weeds or unwanted

vegetation the herbicide is sprayed on.

       285.    Herbicide adjuvants and surfactants are labeled “inert ingredients” because they

do not contribute directly to the capacity of the herbicide to kill or control weeds. But several

inert ingredients, by themselves, pose toxicological and/or environmental risks, and hence are

not “inert” in the sense of contributing to the risk profile of an end-use herbicide product.

       286.    Some of the most important, unresolved scientific and regulatory issues and

uncertainties arise because of impurities in glyphosate-based herbicides and the inert ingredients

incorporated in formulated, end-use glyphosate-based herbicides.

       287.    Indeed, in my opinion, the near-complete, 40+ year absence of well-designed and

rigorously conducted long-term chronic feeding studies on formulated glyphosate-based

herbicides is the largest single source of uncertainty in the existing appraisal of the link between

use of and exposure to glyphosate-based herbicides, and human health risks.

       2. Impurities in Glyphosate Active Ingredient

       288.    Since the 1970s, Monsanto scientists were aware of two impurities associated

with Roundup herbicides: NNG and formaldehyde. NNG is formed when glyphosate interacts

chemically with nitrosating agents, to form the oncogenic nitrosamine contaminant NNG. The

later contaminant is an unavoidable, low-level contaminant in glyphosate that occurs as a result

of the manufacturing process used by Monsanto.

       289.    In addition, Monsanto was aware that the “glycine process” for manufacturing




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glyphosate (used by Syngenta) “may rightly avoid formaldehyde.” (Wratten email of April 19,

2008 in MONGLY02530945; more detailed discussions of both NNG and formaldehyde in

glyphosate appear in MONGLY03909609)

       3. Adjuvants and Surfactants in Roundup End Use Products

       290.    There are substantial differences between pure, 100% glyphosate and the

formulated, glyphosate-based herbicides that people purchase and apply. The differences arise

from the so-called “inert ingredients” added to the active ingredient, i.e. glyphosate in the case of

formulated Roundup herbicides.

       291.    The two major categories of inert ingredients are surfactants and adjuvants.

Surfactants are added to formulated herbicides to “interfere with proper membrane function”

(MONGLY01700591), such as keeping foreign chemicals, viruses, and bacteria out of cells.

       292.    Such differences can be important to regulators, applicators, and public health

outcomes in cases where the inert ingredients in a pesticide alter the toxicity profile of the

formulated pesticide product, in contrast to the pure active ingredient. This can happen in several

different ways.

       293.    For example, the primary surfactant used for years Roundup formulations is

polyoxyethkene alkylamine (POEA). According to Monsanto, it was generally present at in a 3:1

ratio of glyphosate to POEA in the early years of commercial use, with the concentration of

POEA falling to ratios around 7:1 in Roundup brands since ~2000. (MONGLY01700591)

       294.    Some inert ingredients change the properties of formulated pesticides, for

example by increasing the persistence of a pesticide or its ability to penetrate cell walls, or both.

       295.    This distinction between the risks associated with 100% pure active ingredients

(i.e. glyphosate), in contrast to formulated products containing inert and active ingredients (i.e.,




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Roundup), is a central issue in this case, because almost all the testing and government risk

assessments – and claims of safety for Roundup – are based on tests conducted using pure

glyphosate, rather than tests using Roundup.

       296.    But people applying Roundup are never exposed just to glyphosate, they are

always exposed to glyphosate and a mix of inert ingredients.

       297.    In the case of pure glyphosate versus formulated Roundup, the risks posed by the

latter are considerably greater than the former, both because the inert ingredients in Roundup are

more toxic in some ways than glyphosate itself, and the inert ingredients increase the amount of

glyphosate reaching and penetrating cell walls, and hence posing risks of adverse impacts in

exposed humans.

       298.    A short paper in the prestigious medical journal The Lancet appeared in 1988

(Sawada et al., Probable toxicity of surface-active agent in commercial herbicide containing

glyphosate, The Lancet, 1(8580): 299). It attributed acute, glyphosate-herbicide poisoning

symptoms among several Japanese patients to the “inert ingredient” surfactant POEA in

formulated Roundup, and not the active ingredient (glyphosate).

       299.    The Japanese team reported that the acute lethal dose (i.e., LD-50) of POEA is

one-third that of glyphosate, which explains why the LD-50 of glyphosate active ingredient is

much higher than the LD-50 of Roundup herbicides formulated with the surfactant POEA.

       300.    While both Monsanto and EPA were aware of the differential toxicity of

glyphosate and POEA when the first glyphosate tolerances and registrations were moving

through the agency in the late 1970s, this article in The Lancet triggered, to my knowledge, the

first attention by independent scientists on the possible human health impacts of the inert

ingredients in Roundup herbicides.




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       301.    Among the adverse mammalian impacts of POEA noted by the Japanese scientists

was damage to red blood cells.

       302.    Inert ingredients in formulated pesticide products can also, themselves, contain

toxic impurities and contaminants. While pure glyphosate contains the nitrosamine-impurity

NNG, the POEA surfactant in formulated Roundup products contains 1,4-dioxane.

       303.    A U.S. National Cancer Institute bioassay of 1,4-dioxane found that the chemical

causes hepatocellular adenomas and carcinomas in the kidneys of rats.

https://ntp.niehs.nih.gov/ntp/htdocs/lt rpts/tr080.pdf In 1982, the International Agency for

Research on Cancer classified 1,4-dioxane as a possible human carcinogen (IARC, IARC

monographs on the evaluation of the carcinogenic risk of chemicals in humans. Supplement 4,

WHO, 1982). An EPA report from 1986 listed 1,4-dioxane as a probable human carcinogen.

       304.    In July, 1999 the Italian Pesticide Committee, a European regulatory body, held a

meeting on the regulation of Roundup herbicide. It decided that new genotoxicity studies on both

glyphosate and formulated Roundup would be required to assess DNA reparation, following

OECD Guideline 486 (1998). Such studies were needed to address lingering and complex risk

issues arising from impurities in both pure glyphosate, and the inert ingredients used to make

formulated glyphosate-based herbicides, including Roundup.

       305.    Monsanto employee                       forwarded the news regarding this new

genotoxicity study requirement to senior Monsanto officials including                  William

Heydens, Donna Farmer, Larry Kier, and                     in a July 29, 1999 email.

(MONGLY00877684)

       306.    In response,         said that the OECD 486 test “is not an unreasonable request

but suggest some liver toxicity along with it to explain bumpy responses at the high dose. This




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test has also been requested by the French for MON 4660 and there the risk is greater because of

extreme liver toxicity.” (MONGKY0877684)

         307.   A few hours later, William Heydens adds to the email chain this comment: “I

don’t think an in vivo UDS [the OECD 486 test] is reasonable for glyphosate…Now,

formulations are obviously another issue…liver toxicity with formulations could be a

confounding factor, and we would have to design and conduct the study very carefully (using our

alachlor & acetochlor experience) if we are ultimately forced to do it.”

         308.   This is one of dozens of examples in the record where the response of Monsanto

to a new issue or concern, or a request from a regulatory for a new study, amounts to “how can

avoid doing any new, possibly damaging lab studies,” rather than how can Monsanto conduct, or

commission the best possible science to deepen understanding of the impacts of exposure to

glyphosate-based herbicides, in order to more assuredly recognize and reduce human health

risks.

         309.   Two days later, Donna Farmer adds to this email chain, and writes: “Sorry I am

weighing in on this late…It is too premature to discuss conducting any studies. I will not support

any studies on glyphosate formulations or other surfactants at this time…”.

(MONGLY00877684)

         310.   Despite a steady stream of new studies over three decades pointing to the

heightened toxicity of Roundup formulations including POEA surfactants, Monsanto continued

to defend their safety and use worldwide.

         311.   In January 30, 2010 email, William Heydens shared two reasons to continue

defending POEA tallowamine surfactants: first the prospect of a “’domino effect’ on

etheramines; defend other world areas to the best of our ability.” The second reason for concern




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was that “they [Brazilian Monsanto employees] are worried about this coming across the

Atlantic to their part of the American hemisphere.” (MONGLY02062439)

       312.    Heydens was responding to a January 25, 2010 email from his colleague

        on the question of whether to phase out POEA surfactants. After discussing some new

studies underway on an alternative surfactant,         wrote: “Anyway, there are non-hazardous

formulations so why sell a hazardous one?” (MONGLY02062440)

       313.    In a June 8, 2010 email on the vulnerability of Roundup formulations containing

POEA surfactants in Argentina, William Heydens wrote to colleagues in Argentina and at

Monsanto headquarters in St. Louis:

        “So I would think that a backup plan of reducing POEA content is not sufficient, but
       rather a POEA-free formulation (or formulations) would be necessary to totally protect
       your business in Argentina.” (MONGLY02013061)

       314.    In the slide deck prepared for “Regulatory Leadership Meetings” in November

2010, a slide addresses the business impact of the loss of POEA surfactants. “Germany is major

concern” noting that “restrictions on POEA uses pre-harvest had significant negative impact on

sales in 2010.” (MONGLY02721133)

       315.    The “Strategy in Germany” included three core elements: (1) defend POEAs; (2)

register non-POEA formulations; and (3) “Managed exit from POEA” to “Avoid a ban”; “Focus:

voluntary non-renewal of registrations (e.g. MON 14420 end 2012)”; and, (3) “No sales of any

POEA products after 2012.” (MONGLY02721133)

       316.    Over the last decade or so, European regulators forced Monsanto to phase out

POEA surfactants in all glyphosate-based herbicides, including Roundup, but POEA surfactants

are still present in several Roundup products in the U.S.




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       4. Assessing Glyphosate’s Capacity to Disrupt the Endocrine System

       317.    The European Commission had put in place a new set of testing guidelines to

assess the degree to which pesticides have the potential to disrupt the functioning of the

endocrine system. Such chemicals are generally referred to as “endocrine disruptors.”

       318.    In April 2002 Monsanto employees in Europe report to headquarters that

European regulators are working on development of a list of possible endocrine disrupting

pesticides, and that some new assays might be required on glyphosate and/or formulated

Roundup herbicides.

       319.    In response to this news, William Heydens sends an email at 7:20 a.m. on April

25th to Donna Farmer. In it, he suggests a call to “…to see if there is anything more we should be

doing besides the usual ‘pay no attention to the man behind the curtain’.” He ends this email by

saying “…this damn endocrine crap just doesn’t go away, does it.”

       320.    Farmer replies to Heydens at 8:19 a.m. (just under an hour later), and writes that

the “interest[ing] point” is that published tests of possible glyphosate-endocrine disruption show

that pure glyphosate has no effect, but formulated product (i.e. Roundup) does.

(MONGLY00885551).

       321.    In response to Farmer, Heydens responds at 10:47 a.m. the same day, and reports

that after discussions with other Monsanto experts, they: “…concluded, not surprisingly, that we

are in pretty good shape with glyphosate but vulnerable with surfactants.”

       D. Patterns Emerge in OPP-Monsanto Interactions over Glyphosate’s
       Toxicology Database
       322.    Applicants seeking registration of pesticide products and/or petitioning for the

establishment of tolerances routinely submit studies that satisfy OPP/EPA data requirements.

Submissions of such studies typically include the applicant’s interpretation of the study results,


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as well as the regulatory actions or decisions that the applicants believe the study results support.

This is a standard feature of pesticide manufacturer-OPP interactions.

       323.    When OPP science branch reviews find studies to be acceptable (i.e., conducted

in accord with Good Laboratory Practices, proper reporting of results, acceptable statistical

analyses), agency scientists then determine whether they agree with the applicant’s interpretation

of the study results. When there is at least general agreement, scientific reviews usually include a

finding that the request to establish a tolerance or grant a new registration is “supported” in terms

of the purview of the relevant science branch.

       324.    In many cases, a recommendation is made to ask the applicant to satisfy some

minor deficit in the supporting data, or information about how a given study was conducted. In

other cases, an issue possibly impacting the interpretation of a study, or altering estimates of

exposure or environmental risks, might be flagged as a way to trigger an assessment by another

part of OPP.

       325.    General patterns emerge from a review of Monsanto-OPP interactions from 1974

to the present relative to glyphosate’s toxicological data base, OPP reviews of submitted studies,

and OPP risk estimates and regulatory actions.

       326.    Monsanto agrees and supports OPP/EPA assessments when they generally are

consistent with the assessments advanced by Monsanto and support requested or proposed

agency actions.

       327.    When OPP’s assessment of a study deviates from Monsanto’s and results in, or

points toward a decision or action by OPP/EPA that Monsanto regards as unfavorable, the

company typically first presents arguments bolstering its initial interpretation of study results,

and the EPA actions supported by the study.




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       328.    In cases where OPP and Monsanto continue to disagree about a given study,

Monsanto will sometimes come around to agreeing with OPP that certain study deficiencies

should be corrected, or that a study protocol could somehow be improved.

       329.    On this basis, Monsanto would often then offer to generate a replacement study

on the understanding that the status quo, or some acceptable, interim change in a pesticide

product’s label provisions, will suffice until the replacement study is completed, submitted to

OPP, and reviewed.

       330.    In other cases, OPP has requested a replacement study on some aspect of

glyphosate toxicity and Monsanto has resisted, arguing that the existing study is valid and should

satisfy agency data requirement.




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V. Bio/dynamics Mouse Oncogenicity Study Triggers a Change in
Glyphosate’s Cancer Classification
       331.     Based on the flawed, long-term glyphosate cancer study in rats conducted by IBT

in the 1970s, OPP classified glyphosate as “not oncogenic in the rat” in or around 1977, and

hence not likely to pose human oncogenic risk. This classification remained in place until EPA’s

March 4, 1985 “Consensus Review of Glyphosate” classified glyphosate as a category C,

possible oncogene.

       332.     Throughout the 1977-1983 period, there was rapid growth in the number of

approved tolerances and registered agricultural uses of Monsanto’s glyphosate-based herbicides,

despite the lack of a valid set of long-term feeding studies in mice and rats.

       333.     A new mouse oncogenicity study on glyphosate was among the IBT replacement

studies submitted by Monsanto to OPP (EPA Accession #: 251007-014; Bio/dynamics Project

No. 77-2061). It was conducted by the contract laboratory Bio/dynamics to fill a pending data

gap, and was submitted to EPA on July 29, 1983.

       A. Results of Bio/dynamics’ Mouse Oncogenicity Study
       334.     The study followed routine design protocols for a chronic feeding study. There

were four groups of Charles River CD-1 mice: control, 1,000 ppm glyphosate technical in the

animals’ diet, 5,000 ppm, and 30,000 ppm. There were 50 male mice and 50 female mice in each

group. Animals were observed twice daily, and mortality during the study was reported as

“normal for this age and strain of mice.” (MONGLY04275682)

       335.     In the section “Results” in its summary report to Monsanto, Bio/dynamics states:

“No treatment-related effects were demonstrated.” In other words, the study was “negative” for

oncogenicity.

       336.     But the Bio/dynamics summary report does address a number of statistically


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significant increases in tumors observed in the study. Table 1 in the report lists four “microscopic

changes” that were elevated in the treatment groups in a statistically significant way: central

lobular hepatocyte hypertrophy (elevated in male mice), central lobular hepatocyte necrosis

(elevated in males), chronic interstitial nephritis (elevated in males), and proximal tubule

epithelial basophilia and hypertrophy (elevated in females).

       337.    Bio/dynamics dismisses all four types of lesions noted in their Table 1 by saying

“All these findings, however, were of the type and severity common to long-term mouse

studies.”

       338.    The central issue of debate over the results of the Bio/dynamics mouse study --

the incidence of renal tubule adenomas -- was addressed in the summary:

       “The incidence of renal tubule adenomas was 0/49, 0/49, 1/50, and 3/50, in control
       through high-dose males, respectively. This lesion, however, was not observed in any of
       the female treatment groups, and, as mentioned previously, this data was not statistically
       different from control. While not observed in control animals in this study, renal tubule
       adenomas have previously been observed in control male CD-1 mice of comparable age.
       The slightly increased incidence of adenomas in the high-dose males was considered
       spurious and unrelated to glyphosate administration.” (Emphasis added;
       MONGLY04275683)

       339.    The debate over these renal tumors in the Bio/dynamics mouse study continues to

this day. In March 2015, it arose anew in the development and wake of the classification of

glyphosate, and glyphosate-based herbicides as “probably carcinogenic to humans” by the

International Agency for Research on Cancer (IARC) (see section VI., D. The IARC

Bombshell).

       340.    In the male mice, the incidence of renal tubule adenomas reported by

Bio/dynamics was 0/49 male mice in the control group, and 0/49, 1/50, 3/50 in the three

treatment groups (1,000 ppm, 5,000 ppm, 30,000 ppm).

       341.    Three aspects of this Bio/dynamics summary statement no doubt attracted the



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attention of OPP scientists when they evaluated this study: (1) the rarity and seriousness of renal

tubule adenomas, (2) the hail-Mary like statement that renal tubule adenomas had been observed

in control, male CD-1 mice in other studies (and so the absence of tumors in the control male

mice in this study means that this study’s control group data should be discounted), and (3) the

Bio/dynamics assertion that the increase in renal tubule adenomas in the treated, male mice is

spurious and not statistically significant, when there is a clear, treatment-related, dose-response

trend in the occurrence of renal tubule adenomas in the male mice (i.e., 0, 0, 1, 3).

       1. The High Stakes Review of the Bio/dynamics Mouse Oncogenicity Study

       342.    The importance of OPP’s evaluation of the Bio/dynamics mouse oncogenicity

study on glyphosate was widely recognized inside EPA and Monsanto, and among many others

following pesticide regulatory decisions.

       343.    Interested parties included members of Congress and their staffs (then including

C. Benbrook), senior Administration political appointees, pesticide trade associations, farm

groups, environmental and consumer advocates, the media, and other state and federal

government agencies.

       344.    The importance of OPP’s assessment of the study would be markedly heightened

if the agency determined that the study was “positive.” Such a judgement would reverse the

status quo classification of glyphosate as “not oncogenic,” and dramatically alter the outcome of

a number of pending and forthcoming tolerance petitions and registration applications, both in

the U.S. and globally.

       345.    Two memos dated January 31, 1984 were sent from Monsanto toxicologist Lyle

Gingerich to four colleagues (MONGLY04269118; MONGLY04269119-20). The first memo

reports on a recent conservation Dr. Gingerich had with Robert Taylor.




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       346.    Taylor was the senior official in OPP’s Registration Division responsible for

managing the flow through OPP/EPA of glyphosate-Roundup herbicide tolerance petitions and

registration applications, as well as managing interactions between Monsanto and OPP on the

fulfillment of data requirements, label changes, data compensation, and other issues that arise

regarding the regulatory status of Monsanto’s glyphosate-based herbicides.

       347.    In the first 1/31/1984 memo, Dr. Gingerich reports on presumably separate, face-

to-face meetings on January 31, 1984 at OPP with Robert Taylor of the Registration Division

and W.L. Burnam, Deputy Director of the Hazard Evaluation Division.

       348.    The Gingerich memo reports that Mr. Taylor told him that W.G. Dykstra of the

OPP toxicology division had reviewed the new mouse oncogenicity study done by

Bio/dynamics. The memo states: “R.J. Taylor said that he saw something in writing to indicate

that when the review is sent to him it will state that Roundup is an oncogen.”

       349.    The memo goes on to report that according to OPP’s Mr. Taylor, various pending

tolerance petitions will be denied, presumably as a result of this important change in OPP’s

characterization of glyphosate’s chronic toxicity.

       350.    Dr. Gingerich reports in this first of two January 31, 1984 memos that he intends

to speak later the same day, again, with R.J. Taylor and W.L. Burnam of the toxicology branch,

in order to request “W.G. Dykstra’s review and [discuss] what would be an appropriate forum

for Monsanto inputs.”

       351.    The first of two 1/31/1984 Gingerich memos to colleagues closes with an unusual

question: “Do you think it would be appropriate for our legal department to caution EPA on

possible premature leaks of this review’s conclusions prior to Dr. Kasza’s [senior OPP

pathologist] re-review and final disposition of the matter?”




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          352.   If such a caution had been communicated, through any channel, it would have

constituted an unambiguous “shot across the bow” from Monsanto to OPP. The fact that

Monsanto officials even considered expressing such “caution” to OPP’s legal department reflects

how serious this turn of events was in terms of OPP actions on pending and future glyphosate

tolerance petitions and registration applications.

          353.   This Monsanto position regarding OPP communication of preliminary OPP

science determinations relative to glyphosate oncogenicity stands in sharp contrast to Monsanto

efforts three decades later to encourage a premature EPA release of the Cancer Assessment

Review Committee’s (CARC) re-assessment of glyphosate’s carcinogenicity.

          2. Second 1/31/1984 Gingerich Memo to Monsanto Colleagues

          354.   Later during January 31, 1984, Dr. Gingerich either met with, or spoke on the

phone again with W.L. Burnam of the OPP toxicology branch, according to the second of two

memos to Monsanto colleagues sent by Dr. Gingerich on January 31, 1984.

          355.   In this second memo, Gingerich reports to his colleagues that Burnam told him

that:

           “A ‘complete’ review of the glyphosate mouse study has not been done. There has been
          no section or branch sign-off of W.G. Dykstra’s review. The question of kidney tumors
          was pointed out by W.G. Dykstra and is being evaluated by either C. Chaisson or Dr. L.
          Kasza. W.L. Burnam asked that we send in historical control data to document the claims
          made in our summary. He cautioned that these be from the same laboratory and time
          period. He said to be sure to report the numbers study by study, rather than as an overall
          average.”

          356.   This second 1/31/1984 memo goes on to say that “R.J. Taylor continues to be

concerned that Roundup actions will be held up for a few months until this is resolved.” By

“this,” Dr. Gingerich is referring to the classification of glyphosate as a possible oncogen, an

OPP action that would have major implications for several pending OPP decisions and




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regulatory actions.

       357.    It is remarkable and worth noting that on the same day that Monsanto learned that

the then-incomplete OPP evaluation of the new Bio/dynamics mouse oncogenicity study was

likely to lead to OPP classifying glyphosate as a possible oncogen, a representative of Monsanto

stationed in the company’s Washington D.C. office (Dr. Gingerich) had at least two face-to face

meetings with senior representatives of the OPP Registration and Toxicology Divisions, at least

two follow-up calls or meetings with these same individuals, and furthermore, had received a

clear, substantive request from Dr. Burnam for more data relevant to the primary issue

explaining why Monsanto and OPP reached different conclusions regarding the results of the

Bio/dynamics mouse oncogenicity study (the number of kidney tumors in the control group of

male mice).

       358.    On February 10, 1984, Hoyt Jamerson of the OPP Registration Division received

a memo from William Dykstra of the Toxicology Branch addressing the results of the newly

submitted Bio/dynamics mouse study. Under “Recommendations,” it states: “Review of the

mouse oncogenicity study indicates that glyphosate is oncogenic, producing renal tubule

adenomas, a rare tumor, in a dose-related manor. Therefore, Toxicology Branch considers that

the PP#3E2845 [pending tolerance petition] is not toxicologically supported.”

       359.    This memo confirms that only 10 days transpired between the OPP-Monsanto

discussions on January 31, 1984 regarding the then-incomplete Dykstra review of the new mouse

study, and presumably both section and Toxicology Branch sign-off on Dykstra’s conclusion that

glyphosate caused an increase in a rare kidney tumor in male mice in a dose-related manner.

       360.    The conclusion set forth in the February 10, 1984 memo is the first known written

confirmation that OPP now regarded glyphosate as a possible oncogen. This conclusion had




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significant implications known to both OPP and Monsanto.

       361.    As noted earlier, once glyphosate was classified as a possible oncogen, the OPP

would no longer be able to approve any required, Section 409 food additive tolerances.

Moreover, final action on any pending tolerance petitions or major, new food use registrations

would likely also be delayed or denied.

       362.    On March 20, 1984, Monsanto submitted to OPP historical control data on the

incidence of renal tubule adenomas in the control groups of CD-1 mice in past studies, as

requested by Toxicology Branch Deputy Chief Bill Burman in his second conversation on

January 31, 1984 with Monsanto’s Lyle Gingerich.

       363.    Burman had suggested Monsanto submit historical control data from the same

laboratory, and roughly from the same time period (i.e. within 3-4 years of the time the

glyphosate mouse study was conducted). Monsanto submitted such historical control data from

Bio/dynamics, as well as from two other “major” contract laboratories. (MONGLY04276057)

       364.    The final memo codifying Dykstra’s review of the mouse oncogenicity study was

sent to Taylor in the Registration Division on September 4, 1984. In its “Recommendations”

section, the Toxicology Division states that “1. Glyphosate was oncogenic in male mice causing

renal tubule adenomas, a rare tumor, in a dose-related manner. The study is acceptable as core-

minimum data. 2. A [cancer] risk assessment by Toxicology Branch is required.”

       365.    On February 5, 1985 Monsanto sent the Director of the OPP Registration Division

another letter advancing similar arguments in support of the company’s conclusion that the renal

tubule adenomas in the male mice were not treatment related nor statistically significant.

       366.    The 2/5/85 Monsanto letter sets forth six arguments in support of the company’s

assertion that the observed renal tubule adenomas were not treatment related: (1) tumors were




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only observed in male mice, (2) renal tubule adenomas were only present at the end of the study,

suggesting they were caused by the age of the male mice, rather than exposure to glyphosate in

the animal’s feed, (3) Only benign tumors were observed, (4) another Bio/dynamics, 2-year

chronic feeding study in the same strain of mice with N-nitrosoglyphosate (NNG) produced no

renal tubule adenomas in any control or treatment group, (5) glyphosate was not mutagenic in a

number of assays, and (6) a complex statistical argument suggesting that the dose-related

increase in renal tubule adenomas in the male mice was not statistical significant.

        367.     Toxicology Branch scientists assessed the data and arguments in this Monsanto letter

prior to deciding whether to re-open their consideration of the renal tubule adenoma data. The review was

conducted by Herbert Lacayo, and after a complex statistical analysis, he concluded that “a prudent

person would reject the Monsanto assumption that Glyphosate dosing has no effect on kidney tumor

production” (2/26/1985 memo, Lacayo to Reto Engler; Benbrook files).

        368.     It is worth noting that the 2/5/85 Monsanto letter contains two pieces of information that

actually undercut two of the points raised in it.

        369.     First, regarding the differential rates of renal tubule adenomas in male and female mice in

the glyphosate mouse study, Monsanto reports that “Historically, this lesion is observed only in male

mice [four references are cited]. Control animal data from several laboratories indicate an historical

control incidence in females of zero.” Accordingly, the difference in incidence in this tumor, in this strain

of mice, should not have been surprising, nor a reason to call into question the study’s outcome.

        370.     Second, in the letter’s point number 4, Monsanto reports zero incidence of renal tubule

adenomas in the male and female control group of Charles River CD-1 mice in a similar, Monsanto-

commissioned Bio/dynamics mouse study on NNG, undercutting their effort to convince OPP that the

absence of renal tubule adenomas in the male mice control group was not supported by similar control-

group data from other studies.

        371.     This and earlier letters, and multiple contacts with Monsanto officials, had made


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OPP well aware that the company was determined to reverse the OPP determination that the

mouse oncogenicity study was positive. So, to determine whether there was consensus among

senior EPA toxicologists and cancer experts, the OPP held a meeting on February 11, 1985

attended by eight senior scientists in the Toxicology Branch.

       372.    The 2/11/85 meeting’s stated purpose was to “evaluate and discuss the data base

on Glyphosate, and in particular the potential oncogenic response of Glyphosate.” The attendees

reviewed the OPP assessment of the new mouse study, as well as the arguments and data

submitted by Monsanto in its February 5, 1985 letter.

       373.    The attendees concurred unanimously that: “In accord with EPA proposed

guidelines (FR of Nov. 23, 1984) the panel has classified Glyphosate as a Category C oncogen.”

       374.    On February 21, 1985, another, Monsanto-requested meeting was held with the

OPP Toxicology Branch (TB), attended by the TB Chief Ted Farber and then-Assistant Chief

Bill Burnam. Dr. Gingerich, Frank Serdy, and Fred Johannsen represented of Monsanto.

       375.    A February 22, 1985 memo from Dr. Gingerich to Monsanto colleagues

characterized the meeting mood as “relaxed, informal, and open.” The memo states that Dr.

Farber called the February 11, 1985 decision by OPP to classify glyphosate as a possible

oncogen “an extremely close call and that EPA remains open to any new information that would

make their decision easier.” (MONGLY04269072)

       376.    The memo sets forth Monsanto’s goals for the meeting, which including: “(1) see

if we could respond to their concerns [the renal tubule adenomas] before any unnecessary

comments became a part of the Roundup permanent file. (2) determine exactly what their

concerns are. (3) gauge the level of their concern.”

       377.    Under the heading “Concerns of Toxicology Branch” in the February 22nd memo




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by Gingerich, he reports that Dr. Farber opened the meeting by describing the conclusions of the

OPP toxicology branch review of the mouse oncogenicity study. Specific points noted were:

“Oncogenic in mouse, IARC ranking ‘c’ [possible human carcinogen]; Company’s letter

[Monsanto’s February 5th letter] was too weak to be convincing; Biologically significant rare

tumors; Historical controls [data] not helpful; Will ask to re-section tissues, consider crystal

formation, etc.”

       378.    The meeting memo then states that “Dr. Farber indicated that a substantial re-look

at tissues may cause the EPA pathologist [Dr. Kasza] to change his position. If no carcinomas are

found the second time, our arguments about ‘only benign’ tumors would be stronger. I

[Gingerich] read this to mean that the EPA pathologist (Kasza) is open to persuasion.”

       379.    Next, the memo reports on several questions raised during the meeting, and their

answers. Monsanto representative FJ (Frank Johannsen) then asked OPP’s Dr. Farber “…what

the EPA would be likely to do if we [Monsanto] re-sectioned the slides and found no

carcinomas. Dr. Farber said that it would force them to get the internal peer review group

together again.”

       380.    This and other questions raised during the February 21, 1985 meeting

demonstrated that Monsanto acted to find some basis, any basis, to change OPP’s conclusion on

the mouse oncogenicity study, and the classification of glyphosate as a possible oncogen.

       3. OPP Dismisses Monsanto’s Historical Control Data Argument

       381.    On February 5, 1985, Monsanto sent to the Director of the OPP Registration

Division a four-page letter transmitting additional information related to the Bio/dynamics

chronic mouse study.

       382.    Four days later, on February 26, 1985, a memorandum was sent to OPP




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statistician Reto Engler, an individual involved in the Toxicology Branch science review of

glyphosate’s oncogenicity and responsible for carrying out the recommended quantitative risk

assessment of glyphosate’s oncogenicity. The memo was written by an OPP statistician Herbert

Lacayo, and sent through and signed off by Bertram Litt, OPP’s Statistics Team Leader.

       383.    The memo focused on whether the additional, mouse historical control data for

kidney tumors submitted by Monsanto alters the OPP assessment of the significance of the

reported tumors in the Bio/dynamics study. It begins by noting that Monsanto submitted

“historical control data from Bio/dynamics and two other laboratories,” despite Dr. Burnam’s

unambiguous request during the February 22nd meeting that Monsanto only consider, and submit

historical control data from the same laboratory where the Bio/dynamics study was conducted,

and within an appropriate window of time (3-4 years).

       384.    The summary of the Lacayo statistical review of the historical control data states

that “…we can conclude that Glyphosate dosing has a statistically significant effect (at the p =

.006 level) in the production of kidney tumors in male mice” (i.e., highly statistically significant,

since the usual cut-off for significance is the p = 0.05 level).

       385.    A March 4, 1985 memo on the subject “Consensus Review of Glyphosate”

codified the conclusion reached by the eight Toxicology Branch scientists, each of whom signed

the consensus review document (MONGLY04269067). The signatories included the Chief of the

Toxicology Branch Theodore Farber, OPP’s senior pathologist who read the Bio/dynamics

mouse study histopathology slides, Bertram Litt, OPP’s senior statistician, and William Dykstra,

author of the original OPP review of the mouse study.

       386.    This is an unusual memo, and clearly was written to codify in the glyphosate

registration file, and communicate to Monsanto, that senior scientists in the Toxicology Branch




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were united in their classification of glyphosate as a possible oncogen, despite all the back and

forth with Monsanto, and the review and assessment of historical control data.

       387.    The memo was sent to Robert Taylor in the Registration Division, and marked the

end of the beginning of a protracted debate between OPP and Monsanto over the results of the

Bio/dynamics mouse study.

       388.    The managers and scientists in OPP’s Toxicology Branch were aware of the

significance of this change in glyphosate’s cancer classification. The memo was prepared in

anticipation of a vigorous response from Monsanto to senior officials in OPP and at political

levels within EPA, and possibly as well in the White House and Congress on OPP.

       4. Monsanto Takes Its Case to the Director of the OPP Registration Division

       389.    Only two days passed before Monsanto again wrote to OPP, this time to Douglas

Campt, then Director of the OPP Registration Division. The five page, March 13, 1985 letter was

sent by Frank Serdy, the Monsanto Manager, Federal and State Registration Affairs.

       390.    The letter recounts the recent history of OPP’s evaluation of the Bio/dynamics

mouse oncogenicity study, the numerous meetings and back-and-forth involving OPP and

Monsanto scientists, and asserts that the renal tubule adenomas observed in the male mice in the

study are not treatment related, nor statistically significant. It also restates the many Monsanto

arguments advanced over the past six weeks.

       391.    In closing his letter to Mr. Campt, Mr. Serdy states that:

        “As you know, glyphosate is an extremely important herbicide to agriculture in the U.S.
       and around the world. Monsanto is concerned that even the initiation of formal regulatory
       action would have serious negative economic repercussions which we believe are not
       justified by the scientific evidence.”

       392.    In 1984, an estimated 8.9 million pounds of glyphosate active ingredient were

applied nationwide by U.S. farmers and ranchers (Benbrook, C [2016]. Trends in glyphosate use



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in the United States and Globally, Environmental Sciences Europe, Vol. 28:3; data on use in the

U.S. is from Supplemental Table S18, data on global use is from S24). In 2014, agricultural use

in the U.S. had risen to 249.9 million pounds, 28-times higher than the level of use in 1984.

       393.    Globally in 1994 (first year a global estimate is possible), an estimated 124

million pounds of glyphosate active ingredient were applied. In 2014, 1.65 billion pounds of

glyphosate were applied, 13-times more than in 1994, and likely well over 25-times more than

global use in 1984.

       394.    The “negative economic repercussions” referenced in Serdy’s letter would have

included curtailment of much of the dramatic rise in glyphosate use that began in 1996 with the

commercial launch of genetically engineered crops able to withstand post-emergence

applications of Roundup.

       395.    In an April 3, 1985 memo from William Dykstra to the Registration Division’s

Robert Taylor, the official Toxicology Branch judgement regarding glyphosate’s oncogenicity

was stated as it had been previously: “Glyphosate was oncogenic in male mice causing renal

tubule adenomas, a rare tumor, in a dose-related manner.”

       5. Monsanto’s Next Move – Hire Another Pathologist to Re-read the Kidney Slides

       396.    Also on April 3, 1985, Dr. George Levinskas, a scientist in the Monsanto

Department of Medicine and Environmental Health, circulated a brief update inside the company

stating that “Senior management at EPA is reviewing a proposal to classify glyphosate as a class

‘C’ possible human carcinogen’ because of kidney adenomas in male mice. [Private, consulting

pathologist] Dr. Marvin Kuschner will review kidney sections and present his evaluation of them

to EPA in an effort to persuade the agency that the observed tumors are not related to

glyphosate.” (MONGLY04277789)




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       397.    Dr. Kuschner had not been involved with the design, conduct, or evaluation of the

Bio/dynamics mouse oncogenicity study, and had not previously reviewed the study’s

histopathology slides.

       398.    When Dr. Levinskas wrote that Dr. Kuschner will review the slides “in an effort

to persuade the agency that the tumors are not related to glyphosate,” the implication is clear. Dr.

Kuschner was chosen for a specific assignment – turning the EPA review of the Bio/dynamics

mouse study from “positive” to “negative” for oncogenicity. Moreover, based on previous

discussions with OPP toxicology branch managers, Monsanto officials recognized that the

identification of even one tumor in the group of male control mice was one way to do so.

       399.    Also on April 3, 1985, a letter is sent by Dr. Aleksanday Knezevich, Senior V-P,

Pathology at Bio/dynamics to Dr. Marvin Kushner, a private consulting pathologist living in

New York. (MONGLY04269049) The letter informs Dr. Kushner: “The enclosed shipment is

being sent to you at the request of Dr. Tim Long of Monsanto. It contains slides of kidney

sections from all animals on the references study [mouse oncogenicity study].”

       400.    On April 14, 1985, Dr. Kushner signed for the receipt of a box from Federal

Express containing 422 slides of kidney sections representing 399 animals in the Bio/dynamics

mouse oncogenicity study.

       B. Pending Actions Heighten Monsanto’s Concern Over Public Release
       of Glyphosate’s Cancer Classification
       401.    Clearly, Monsanto was working hard to turn around OPP’s judgement on the

Bio/dynamics mouse oncogenicity study before there was any public acknowledgement of the

EPA’s change in the cancer classification of glyphosate. Monsanto had responded, or began to

fashion its strategy, at each step in the EPA process on the same day, or within days of learning

new information about the OPP review of the study.


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       402.    The company realized it would need time to generate new data sufficiently

persuasive to change what was now stated as a firm, consensus OPP judgement. In the interim, it

Monsanto attempted to prevent the new cancer classification from being acknowledged in the

normal course of OPP public statements and federal register notices, and especially notices

pertaining to the many glyphosate tolerance petitions at various stages of OPP review.

       403.    Two such circumstances that might have led to OPP stating its new position on

glyphosate oncogenicity are addressed in an April 10, 1985 update memo to company colleagues

by T.F. Armstrong, a Monsanto scientist working with the EPA. In the memo, he reports on an

April 9, 1985 phone call with Jim Ackerman of OPP, involving Frank Serdy, Lyle Gingerich,

and himself.

       404.    OPP’s Ackerman reportedly told Armstrong that the glyphosate mouse

oncogenicity peer review would be completed in a few weeks, and that the Assistant

Administrator for Pesticides and Toxic Substances, Dr. Jack Moore (a Presidential appointee and

individual responsible for actions by OPP), had assigned a Dr. Barnes in his office to assess the

outstanding issues in the evaluation of the mouse study.

       405.    Dr. Moore’s office had been drawn into assessment of the status of the glyphosate

oncogenicity study because of the need for a timely EPA response to a pending Section 18

emergency exemption label request on behalf of the National Wheat Growers for use of

glyphosate “through selective equipment on wheat.” (MONGLY04269047). In this context,

“selective equipment” is referring to a rope-wick applicator, and a pending 1983 application for a

Section 18 emergency exemption from the State of Oklahoma.

       406.    This Section 18 request from Oklahoma is historically important, because it marks

the first, known instance in which OPP indicated that it would deny a necessary Section 409




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food-additive tolerance because of the Delaney Clause in the Food Drug, and Cosmetic Act

(FDCA).

       407.    There was a second public event in which Monsanto worried that EPA would be

forced to respond, on the record, to a direct question about the status of OPP’s assessment of the

glyphosate mouse oncogenicity study.

       408.    On April 17, 1985, a public hearing was scheduled on the use of glyphosate in the

aerial herbicide-spray program targeting marijuana cultivation in South America. The meeting

was organized by the Drug Enforcement Agency and a representative of the OPP would be in

attendance.

       409.    Monsanto expected that “at this public hearing, we suspect the Drug Enforcement

people will ask the EPA if glyphosate is safe to use, and if the EPA answers anything but Yes,

the mouse study situation could be released to the public at this hearing.” (MONGLY04269047)

       410.    The DEA’s concern over glyphosate human health effects included acute effects

on people living in and around treated areas, as well as acute and chronic effects among U.S.

citizens smoking marijuana contaminated with residues of glyphosate and AMPA, glyphosate’s

major metabolite.

       411.    Armstrong’s April 10th memo to his Monsanto colleagues ends with this

statement: “Based on the foregoing points, a possible Monsanto action on the glyphosate mouse

study would be to submit a letter to the EPA to prevent an inappropriate release of the ‘tentative’

mouse study conclusions. This letter needs to be received by the EPA prior to next week’s

Marijuana Public Hearing, and preferably it should be written by a toxicologist that is highly

respected by Dr. Barnes and/or Dr. Moore.”

       412.    The above “should we warn OPP” instance is one of several since the January 31,




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1984 Gingerich memo in which Monsanto officials considered having its legal department

“caution” EPA over pre-mature public discussion of information on OPP’s evaluation of the

mouse oncogenicity study.

       413.    This extraordinary series of events drives home the magnitude of the negative

repercussions that Monsanto expected, if the OPP officially and publicly announced its

conclusion that glyphosate possibly causes cancer.

       414.    Sometime in or around mid-May 1985, Kushner submitted his report to

Bio/dynamics and Monsanto. The company reviewed the report, and submitted it to OPP.

       415.    In a June 14, 1985 memo from OPP’s senior statistician Reto Engler to Robert

Taylor of the Registration Division, Dr. Engler reports that after a TB peer-review process:

       “We have determined that the incidence of renal adenomas in male mice (a rare tumor) is
       inconsistent with the historical control incidence of this tumor. The registrant, in several
       letters, has refuted our statistical analysis of the data. Basically the registrant contends
       that the highest incidence ever observed in historical controls should be used to judge the
       incidence in the Glyphosate study. The use of any historical control data in this manner is
       biologically as well as statistically inappropriate and misleading.” (Underlining in
       original).

       416.    Then, Dr. Engler goes on to report that the registrant has now submitted a report

(presumably from Dr. Kushner) “which shows that a re-reading of the kidney slides has revealed

one (1) kidney tumor in the control group but no additional tumors in the treatment groups.” In

light of this new information, Engler writes that:

       “Given the overall uncertainty concerning the significance of the observed tumor
       incidence we believe a systematic reevaluation of this kidney lesion has become
       necessary in order to fully evaluate Glyphosate.”

       417.    This memo marks at least a temporary victory for Monsanto, since their efforts ro

commission, and their submission of the Kushner report delayed OPP’s final determination as to

glyphosate oncogenicity in the Bio/dynamics study.




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       418.    OPP’s decision to re-section the slides also created the possibility that new

information would emerge supporting Dr. Kushner’s assessment of the slides, and/or changing

the number of tumors in the male mice control and three treatment groups in a way that

eliminates the dose-related response in the frequency of renal tubule adenomas.

(MONGLY00235097 at 5412)

       C. Re-sectioning of the Mouse Kidney Slides – Monsanto’s Next Effort
       to Change OPP’s Mind

       419.    “If the results of the kidney re-sectioning do not resolve the glyphosate issue

within OPP, we will be faced with an adverse OPP decision,” wrote Lyle Gingerich to Monsanto

colleagues in an August 20, 1985 memo. (MONGLY04268982)

       420.    Gingerich also discusses the prospect that OPP might decide to place unresolved

science issues before the agency’s Scientific Advisory Panel (SAP), especially if a deadlock

emerges between the conclusions of Monsanto’s and OPP’s pathologists.

       421.    Gingerich goes on to ask “Can we change the focus of the question to the S.A.P.

to: ‘Is 30,000 ppm too high [a dose] to be used in a meaningful risk assessment?’…If we

assembled 10 respected toxicologists, would all ten agree that the feeding level is too high to be

meaningful?” He then suggests that the 10 toxicologists agreeing with Monsanto’s position

should be brought to the SAP meeting and asked to speak in support of the company’s

assessment of the mouse study, given “…the importance of this issue to Monsanto.”

       422.    Gingerich then explains why he has suggested that all 10 toxicologists should be

brought to the SAP meeting: “There is a tendency to ‘count the votes’ at S.A.P. meetings. We

can make a difference by lining up a large number of experts on our side.”

       423.    Eight days later, on August 28th, Frank Serdy, the Director of Federal and State

Regulatory Affairs for Monsanto, wrote a memo to his colleague Tim Long, another official


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working on the effort to change EPA’s mind on the mouse oncogenicity study. Serdy wrote on

the topic of “Additional Steps” in the effort to change EPA’s mind on the Bio/dynamics mouse

study, and the renal tubule adenomas in particular (MONGLY04268980).

        424.    He voices confidence that glyphosate will ultimately be shown to be not

oncogenic, but lays out some “additional steps” if the results of the re-sectioning of the kidneys

does not change EPA’s mind.

        425.    First, Serdy writes: “We continue to feel it is important to identify and contact

those outside ‘experts’ who we feel would testify on our behalf both to EPA and SAP that, based

on the results, glyphosate is not oncogenic.”

        426.    Serdy’s second “additional step” is prefaced by acknowledging that “We do not

have a lot of faith, presented with the same evidence, Ted Farber [senior OPP scientist in the

Toxicology Branch] will want to back off and change his mind.” Serdy then writes: “Hence we

feel that it is equally as important to identify and contact ‘experts’ in the area of statistics who

would be willing to testify both to the EPA and SAP that 1-0-1-3 cannot be considered

statistically significant.”

        427.    Note that in Serdy’s second point he is assuming that EPA has, or will accept Dr.

Kushner’s conclusion that one mouse in the male control group had a renal tubule adenoma that

was not detected, or reported in the original Bio/dynamics report on the results of the study. In

the absence of that one, additional adenoma in the male mice control group, the tumor incidence

would have remained as originally reported, 0-0-1-3, and reflect a trend which is unambiguously

dose-related and highly statistically significant, as Lacayo’s 2/26/85 memo had concluded.

        428.    Driving home the importance of these “additional steps,” Serdy writes that:

        “It seems imperative that we continue to do all that is possible in order to have the
        Agency reverse its decision. Hopefully, the testimony of several respected ‘experts’ will



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       be enough to cause EPA to change their minds.”

       429.    The re-sectioning of the male mice kidneys, and the re-evaluation of the slides,

was done by Bio/dynamics, at the request of Monsanto. The OPP pathologist Dr. Kasza had been

consulted in the process of developing the procedures. R.F. McConnell, a pathologist consulting

with Bio/dynamics, read both the original slides, and the slides from the re-sectioned kidneys.

       430.    The Bio/dynamics report covering the re-sectioned kidney tumors was dated

September 26, 1985, and presumably was submitted to the EPA a few days later.

       431.    The significant result in the Kushner-Bio/dynamics report is finding one renal

tubule adenoma in the control group of male mice (mouse # 1028). The report states:

“Confirmation of the diagnosis of the original renal tubular adenomas was made, including

concurrence with Dr. Marvin Kushner on the presence of a lesion in the control group which

represented a developing tumor. No new tumors were found in any of the [other] control or

treated groups.”

       432.    The reported conclusion was precisely what Monsanto had hoped for: “The renal

tumors observed were considered to be incidental and not toxicologically significant.”

       433.    The technical response from the Toxicology Branch to the September 26, 1985

Bio/dynamics report was done by Dr. Kasza, OPP’s senior pathologist, and the scientist who had

been consulted by Bio/dynamics on the procedures to be followed in the re-sectioning of the

kidneys. The December 4, 1985 memo was sent to William Dykstra, the lead reviewer of the

mouse study in OPP’s Toxicology Branch.

       434.    The single, critical question was whether Dr. Kasza agreed with Dr. Kushner and

the Bio/dynamics pathologist Dr. McConnell that male mouse #1028 in the control group had a

renal tubule adenoma. Kasza requested and carefully re-read the original slides for male mice in




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the study with reported kidney tumors, and studied the newly re-sectioned kidney slides. He

found no differences in the number of renal tubule adenomas in the treatment groups.

       435.    In reference to the one, additional control group tumor in mouse # 1028 reported

by Kushner-McConnell, Dr. Kasza wrote:

       “It is my opinion that the presence of a tumor cannot be definitely be established. My
       interpretation is similar to the conclusion of Bio/dynamics’ pathology staff and Dr.
       McConnell, that the lesion ‘may be’ a proliferative change having the potential to lead to
       the development of a frank tumor. But as the tissue can be seen under the microscope as a
       small well-demarcated focal cell aggregate morphologically different from the healthy
       looking surrounding kidney tissue, this morphological alteration does not represent a
       pathophysiologically significant change.”

       436.    Based on Dr. Kasza’s reading of the newly sectioned kidney of animal #1028,

there was a group of cells that looked different and that might become a lesion of some sort, but

the cell mass had not reached the stage justifying identification as a renal tubule adenoma.

       D. The 1986 SAP Review of the Mouse Oncogenicity Study

       437.    Kasza’s interpretation was accepted within EPA. As a result, the EPA and

Monsanto were dead-locked, and the stage was set for asking the SAP to help the agency work

through the unresolved issues.

       438.    A January 17, 1986 Federal Register notice announced the two-day SAP meeting

on February 11-12, 1986 during which the Bio/dynamics mouse study would be evaluated.

Agenda item 1 read: “Review of a set of scientific issues related to apparent oncogenicity being

considered by the Agency in connection with the preparation of a Registration Standard for

glyphosate.”

       439.    The phrase “apparent oncogenicity” shows that EPA viewed the renal tubule

adenomas in the male mice a treatment related, and triggered a swift, firm response from

Monsanto.



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       440.    Monsanto’s January 23, 1986 letter came a week after the Federal Register notice

was published. It was sent to Steven Johnson, a senior EPA official, and signed by Thomas

Armstrong, Monsanto’s Registration Manager.

       441.    After noting that EPA said the SAP would assess glyphosate’s “apparent

oncogenicity,” Armstrong wrote: “Monsanto firmly believes that glyphosate is not an oncogen,

and we therefore do not agree with this position taken by the Agency. The Agency is in error in

reaching this conclusion…”

       442.    The letter argues that the OPP determination does not follow EPA’s Proposed

Guidelines for Carcinogen Risk Assessment. Armstrong then writes:

       “In addition to Monsanto’s own evaluation, this matter has been reviewed by five
       independent experts. The unanimous conclusion reached by these scientists is that there is
       no treatment-related oncogenic effect of glyphosate in the chronic mouse study…”

       443.    Recall the August 20, 1985 Gingerich memo discussed above. It suggested that

Monsanto recruit 10 experts to testify before the SAP, and that “There is a tendency to ‘count the

votes’ at S.A.P. meetings.” (MONGLY04268982)

       1. SAP Meeting Discussion and Outcome

       444.    The focus of the glyphosate oncogenicity discussion during the February 11, 1986

SAP meeting was on the histopathology of the kidney slides, and in particular:

              The number of tumors in the male mouse control group;
              The appropriate statistical analysis to use, and whether the renal tubule adenoma
               incidence reached statistical significance; and
              The proper use of historical control data.

       445.    The primary presentation by EPA was done by Dr. Farber, and Monsanto’s

presentation was made largely by Robert Harness, Director of Environmental and Government

Affairs, Dr. Timothy Long, in the company’s Medical Department, and Mr. Wayne Withers.

       446.    In addition, Monsanto brought to the SAP meeting, three experts who had been


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involved with the study and/or the reading of the controversial kidney slides: Dr. Marvin

Kushner, the pathologist who re-read the original mouse study kidney slides; Dr. R.F.

McConnell, the consultant to Bio/dynamics that read the original slides, as well as the re-

sectioned slides; and Dr. Ira Daly, the Bio/dynamics laboratory director.

       447.    Each of these individuals brought by Monsanto were given opportunities to make

short presentations and participate in the Q & A with SAP members.

       448.    In addition, Monsanto announced to the SAP that they had submitted the data in

question to a panel of four consulting experts (Squires, Olsen, Stemmer, Goodman), all of whom

agreed with Monsanto’s interpretation of the mouse oncogenicity study results. These experts

also participated in the Q&A.

       449.    One of the invited experts – Dr. Don Goodman – was asked by Monsanto to

attend and represent the conclusions of a second review panel convened at the request of

Monsanto by Pathco Inc, a pathology consulting group. The Pathco panel reviewing the same

mouse oncogenicity data included five scientists (Sourer, Anver, Stranberg, Ward, Goodman).

       450.    Accordingly, the Monsanto team offering conclusions and presenting data before

the SAP included 14 people: three from Monsanto, three individuals involved with the study,

four consulting experts, and four additional experts who joined Dr. Goodman (in attendance) on

the Pathco Inc panel.

       451.    The report providing the SAP panel’s answers to the two questions EPA asked the

panel to address on February 11, 1986 was transmitted to the Director of OPP on February 24,

1986, and was released publicly soon thereafter. The section “Panel response” begins by saying:

“In the instance of Glyphosate, the Panel concurs that the data on renal tumors in male mice are

equivocal.”




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       452.    The SAP report goes on to state: “The vast majority of the pathologists, who

examined the proliferative lesion in the male control animal, agreed that the lesion represented a

renal adenoma. Therefore, statistical analysis of the data should utilize this datum.”

       453.    This conclusion that the “vast majority” of pathologists agreed with the Monsanto

interpretation contradicts a statement made by the EPA in its assessment of the differing views

on whether control animal #1028 had a renal tubule adenoma.

       454.    In Dr. Faber’s presentation to the SAP, he states: “we [EPA] do see an increased

incidence statistically…” On the critical issue of whether there was a renal tubule adenoma in

one male mouse in the control group, Dr. Farber’s offered his accounting of the differing views:

“…perhaps three pathologists saying no [tumor], perhaps four or more pathologists saying yes.”

       455.    However, given the number of additional experts brought to the meeting by

Monsanto, “counting the votes” expressed just during the meeting produced a very different

outcome -- 14 to 3 “vote” in favor of Monsanto’s position.

       456.    The three individuals at the SAP meeting supporting the conclusion that there was

“no tumor” in control animal #1028 were EPA scientists (Faber, Kasza, Lacayo), while all 14

“yes” votes were expressed by individuals working for, or hired by Monsanto.

       457.    Taking into account the uncertainty over the number of renal tubule adenomas,

the use of historical controls, and the statistical methods used to judge whether the observed

tumors were treatment related, the SAP’s final judgement was equivocal:

       “…the Panel does not believe that it is possible to categorize Glyphosate clearly into
       Group C (possible human carcinogen) or Group E (no evidence of carcinogenicity in
       humans). The Panel proposes that Glyphosate be categorized as Group D (not classified)
       and that there be a data call-in for further studies in rats and/or mice to clarify unresolved
       questions.”

       458.    Despite requests from OPP to redo the mouse study, Monsanto has refused to do




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so, arguing that its interpretation of the Bio/dynamics study has been widely embraced and there

is no need to conduct any more long-term, mouse oncogenicity studies on glyphosate.

       459.    In short, Monsanto considered then, and still does believe and assert publicly that

the science issues addressed by the SAP in its 1986 report are “settled.”

       460.    Developments over the last three decades prove this is clearly not the case (see

VI., section A.1).




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VI. Monsanto Efforts to Influence Scientific Community and
Regulatory Assessments of Glyphosate Risks

       461.    It is entirely appropriate and expected that Monsanto would devote time and

resources to the task of persuading regulatory agencies, the scientific community, political

leaders, farmers and farm organizations, competitors, the media, and the general public that the

health and safety data developed by the company is valid and supports the conclusion that all

Monsanto products are “safe.” When pushed, the company falls back to statements like

“…Roundup herbicides pose ‘acceptable risks’ when applied in accord with label directions.”

       462.    To one degree or another, and in a wide diversity of ways, all pesticide registrants

invest resources in defending the safety of their pesticide products.

       463.    The tactics, strategies, and messages deployed by Monsanto over the last 40+

years in defense of Monsanto-brand Roundup herbicides is a central issue in this case. A core

question is – Did Monsanto grow sales by overstating the safety of Roundup, and by under-

protecting people who bought and applied the company’s products in a lawful manner in accord

with label directions?

       A. Ignore, Delay, or Refuse to Fulfill EPA Requests for Information,
       New Studies, or Label Precautions

       464.    On August 11, 1986, OPP issued the glyphosate Registration Standard (RS)

document setting forth guidance to companies seeking to register new or retain existing pesticide

product labels for herbicides containing glyphosate (the date on the RS document is June 1986;

the 8/11/86 date of the RS release is from multiple sources, e.g. 10/27/88 letter from Tinsworth

to Long in MONGLY00223577).

       465.    In 1986, Monsanto was the sole manufacturer of glyphosate-based herbicides, so

guidance in the 1986 RS document regarding steps that manufacturers of glyphosate herbicides


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must take was clearly guidance to Monsanto, and all responses to the RS by industry, and actions

taken and not taken, were Monsanto actions/inactions.

         466.    The RS document is a key historical milestone in the EPA’s assessment of

glyphosate uses, risks, and benefits, as well as actions that the EPA regards as essential to assure

that, on an ongoing basis, benefits stemming from glyphosate uses will routinely exceed any

risks.

         467.    Key functions of the 1986 RS document were to specify required labelling

statements and precautions that must appear on product labels, identify data gaps that must be

filled, and alert companies to the studies that they must agree to commission and submit to the

agency in a timely way, in order to retain existing registrations/product labels, or win approval of

new uses/labels in the future.

         468.    The 1986 glyphosate RS document states on page 2: ”Failure to comply with

these requirements [e.g. filling data gaps, adding new worker safety rules] may result in the

issuance of a Notice of Intent to Cancel or a Notice of Intent to Suspend (in the case of failure to

submit data).”

         1. OPP Requirement for Repeat Mouse and Rat Oncogenicity Studies

         469.    Under the heading “Chronic Feeding/Oncogenicity Data,” the glyphosate

Registration Standard notes that available studies included 2-year mouse and rat chronic feeding

studies and a 1-year dog study. But because of limitations in study design and/or questions over

the interpretation of equivocal results, none of these studies satisfied core, OPP chronic feeding

study data requirements.

         470.    Hence, the “Summary Science Statement” in the Registration Standard states that

“Repeat oncogenic studies are required in mice and rats.” (Page 5).




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        471.   EPA required the company to repeat the invalid IBT rat oncogenicity study that,

among other things, failed to reach the Maximum Tolerated Dose (MTD) in the high-dose

treatment group (maximum doses in long-term feeding studies are supposed to come close to the

MTD).

        472.   About three weeks after the public release of the glyphosate RS, Frank Serdy, the

head of product registrations at Monsanto sent an internal memo to Monsanto colleagues

involved in the ongoing debate over glyphosate oncogenicity. In this August 28, 1986 memo,

Serdy outlines “suggestions” for Monsanto’s response to the Registration Standard’s data call-in

for repeat mouse and rat oncogenicity studies. (MONGLY04278162)

        473.   After describing possible Monsanto arguments to EPA challenging the need for

repeat studies, Serdy writes:

        “If successful [EPA drops the requirement], this approach has the following downside:
        EPA’s response may be: ‘Fine, don’t repeat either study. We will just put you into class C
        [a possible oncogene under EPA’s classification system]’”.

        474.   The “downside” described by Serdy had, in fact, been the status quo position of

the OPP Toxicology Branch since the February 11, 1985 consensus meeting of eight senior

scientists in the Toxicology Branch.

        2. Monsanto Refuses to Conduct a New Mouse Oncogenicity Study

        475.   Monsanto’s pushback on OPP’s determination that the Bio/dynamics mouse

oncogenicity study was positive for renal tubule adenomas had been immediate, intense, and

non-stop from the day (1/31/84) Monsanto learned that Dykstra’s (the Tox Branch reviewer)

initial judgement was that the mouse study was positive for a “rare” tumor in mice, renal tubule

adenomas.

        476.   Monsanto’s aggressive campaign to change the Toxicology Branch’s




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determination eventually led to OPP’s decision to seek the opinion of the Scientific Advisory

Panel (SAP) on two glyphosate-oncogenicity questions during the panel’s February, 1986

meeting. Monsanto had, in fact, foreseen such an outcome.

       477.      The SAP’s conclusion was that the results of the mouse study were equivocal, and

its core recommendation to EPA was that the agency should require Monsanto to repeat the

mouse oncogenicity study.

       478.      In the 1986 glyphosate Registration Standard, this is precisely what OPP did. In

doing so, EPA set the stage for the next, years-long round of arguments and interventions from

Monsanto, and supporting political moves, intended to avoid repeating the mouse chronic

feeding study.

       479.      Soon after the release of the glyphosate RS document in August 1986, Monsanto

communicated via several channels its vehement disagreement with several aspects of the actions

required by EPA in the document.

       480.      Monsanto’s written response to EPA challenging the requirement that the

company repeat the mouse oncogenicity study flows directly from the strategic options Serdy

presented to his colleagues in the August 28, 1986 memo.

       481.      Serdy asserts in his RS-response letter to OPP that:

       “The results of the mouse bioassay do not provide positive, or even suggestive, evidence
       of carcinogenicity. The most that can be said is that the results were equivocal as, in fact,
       the Scientific Advisory Panel stated.”

       482.      Serdy does not explain the distinction between “suggestive” evidence and

“equivocal” evidence, but acknowledges there is some of the later, but not the former.

       483.      The RS-response letter to EPA from Monsanto/Serdy adds some new and echoes

some old arguments: (1) the majority of experts testifying at the SAP meeting concluded the




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study was equivocal and did not support a treatment-related effect (reminiscent of the “count the

votes” strategy suggested by Gingerich in his August 20, 1985 memo to colleagues

(MONGLY04268982); (2) Monsanto had already agreed to redo the rat oncogenicity study, so

OPP would have a new, purportedly higher-quality study to use in revisiting its judgement

regarding glyphosate oncogenicity; and (3) the mouse study should not be repeated as designed

because it is “clear” that the maximum does tested in the study (30,000 ppm), was over the

MTD.

       484.    In the RS-response letter to OPP, Monsanto notes that the company had asked

several consulting experts to testify at the SAP meeting, with their time and expenses paid for by

Monsanto. The Serdy letter states that the experts “were asked to evaluate the need for a repeat

study. All experts agreed that additional testing is not justified…” (page 2).

       485.    This recounting of the role of the seven consulting experts brought to the SAP

meeting by Monsanto, and their testimony at the meeting, is not accurate.

       486.    The lead person representing Monsanto at the SAP meeting was Robert Harness,

Director of Environmental and Government Affairs. In his opening comments to the SAP,

Harness said: “Because glyphosate is the largest selling herbicide in the world, with many

registered uses, we consulted a group of scientists to advise us on the questions raised by the

EPA and presented to you by Dr. Farber [lead OPP/EPA presenter at the SAP meeting].”

(Emphasis added)

       487.    The two questions presented to the SAP by the EPA were:

       “(1) Based on the Agency’s weight of the evidence assessment with emphasis on the
       mouse kidney tumors, the Agency has classified Glyphosate as a class C (possible
       human) carcinogen. The Agency specifically requests any comment the Panel may wish
       to present with regard to its assessment of the weight of the evidence and subsequent
       determination of carcinogenicity according to the Agency’s Cancer Guidelines.”




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       “(2) The Agency requests also that the Panel consider what weight should be given to this
       marginal increase in kidney tumors, the importance of this type of tumor in the
       assessment of the carcinogenicity of Glyphosate, and the weight placed on historical and
       concurrent controls for this type of evaluation.”

       488.    Accordingly, based on Monsanto’s own direct statement to the SAP, the

consulting experts were not asked to offer an opinion on whether the mouse study should be

repeated, as Monsanto claimed in its November 7, 1986 response to the RS document.

       489.    The transcript of the February 11, 1986 SAP meeting provides further, clear

evidence that supports this conclusion.

       490.    In his opening statement to the SAP, Harness summarizes the key conclusions

reached by each of the Monsanto-invited experts, as well as the expert panel convened at

Monsanto’s request by Pathco Inc.

       1. Dr. Marvin Kushner, found an additional tumor in the male mouse control group, no
       additional tumors in the treatment group, switching the study from purportedly positive to
       negative for renal tubule adenomas. His concluding statement, quoted by Harness, is that
       “I see no reason to assign carcinogenic potential to glyphosate.”

       2. Robert Squires, “In summary, I feel the weight of the evidence strongly suggests the
       renal adenomas in male mice were naturally occurring and not treatment related.”

       3. Robert Olsen, “In summary, it is my view that these findings do not support the view
       that [text cut off].”

       4. Dr. Robert McConnell, “It is and has been the opinion of this pathologist that the
       tumors were incidental and were not toxicologically significant.”

       5. Dr. Klaus Stemmer, “The incidence of renal tubule adenomas is in all probability
       biologically by chance.”

       6. Pathco Inc panel (Drs. Sourer, Anver, Stranberg, Ward, and Goodman, who
       represented the panel at the SAP meeting), “The incidence of renal tubule cell neoplasms
       in this study are not compound related.”

       6. Monsanto’s Dr. Timothy Long provided an overview of the back and forth over the
       mouse study pathology results, and then summarized Monsanto’s position by stating,
       “The overall incidence [of renal tubular adenomas], therefore, remained at 1-0-1-3 [one
       tumor in controls and mid-range treatment group, 3 in the high-dose treatment group].



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       These [kidney section] slides and/or supporting data have now been reviewed by a total
       of 10 pathologists and toxicologists and the unanimous conclusion of all the experts is
       that there is no evidence of any treatment related oncogenicity.”

       491.    Two things are clear from the above-cited summary statements presented or

quoted by Monsanto representatives at the SAP meeting. First, the consulting experts did, in fact,

adhere to their assignment from Monsanto by predominantly addressing the two questions

advanced by OPP to the SAP prior to the meeting.

       492.    Second, the opening remarks provided during the meeting by the Monsanto

consulting experts were laser-focused on the incidence of renal tubule adenomas in male mice in

the Bio/dynamics mouse study. None of them spoke to the issue of whether the mouse study

should be repeated.

       493.    After Monsanto’s prepared presentation, the ensuing dialogue between members

of the SAP, EPA scientists, and Monsanto’s representatives and invited experts is captured in full

in the last, approximate 20 pages of the SAP meeting transcript.

       494.    In these 20-pages of SAP transcript, there is not a single statement by any of the

Monsanto-invited experts addressing whether the mouse study should be replicated.

       3. OPP Review of Arguments on the Need to Repeat the Mouse Study

       495.    Per routine OPP procedures, Monsanto’s observations, scientific arguments, and

requests for waivers of RS data requirements, including a repeat mouse study, were reviewed by

the relevant branches of OPP.

       496.    Monsanto had formally requested waivers for two RS-document study

requirements: (1) an LC-50 inhalation study, and (2) a repeat mouse chronic

feeding/oncogenicity study. William Dykstra in the Toxicology Branch reviewed the request,

and the supporting data and arguments submitted by Monsanto. He prepared the Tox Branch




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memo regarding “Glyphosate – Monsanto Comments to Glyphosate Guidance Document.”

(MONGLY00223052)

       497.    Dykstra concurred/approved waiver request (1). On request (2), he wrote: “TB

[Toxicology Branch] does not concur with Monsanto regarding the waiver of the repeat mouse

oncogenicity study (see discussion in review section [pages 3-6 of the memo]).”

       498.    In his review of Monsanto’s arguments in support of a waiver for the mouse

study, Dykstra wrote: “Regarding the need to repeat the mouse oncogenicity study with

glyphosate, TB fully concurs with the conclusion and recommendation of the Scientific Advisory

Panel (SAP).” The SAP had concluded that glyphosate be classified as Group D (not classifiable

as to oncogenicity) and recommended that replacement studies in mice and/or rats be carried out.

       499.    He then writes: “TB believes the oncogenic potential of glyphosate in mice still

remains unresolved and that a repeat mouse study is necessary to fully and adequately assess this

potential.” (MONGLY00223052)

       500.    Dykstra’s memo goes on to say that the new mouse oncogenicity study should be

“specially designed” (emphasis in original) to clarify “certain unresolved questions relating to

the potential oncogenicity of glyphosate.”

       501.    Dykstra’s specific requirements for the new study were unusual, and clearly had

to be unwelcomed by Monsanto.

       502.    First, he recommended retaining the 30,000 ppm high-dose treatment rate, since

survival in that group of male mice exceeded survival in the control group (and hence, according

to EPA, had not exceeded the MTD). Second, two additional treatment groups should be added

to more definitely delineate whether there is a dose-response – 7,500 ppm, and 15,000 ppm.

Third, there should be 200 male mice per group, to enhance statistical power.




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        503.   Dykstra also stated that the study should focus just on unresolved questions from

the first study. This concession to Monsanto was presumably predicated on the fact that some of

his recommendations would have markedly increased the cost of the study (200 male mice in

each group, instead of 50; adding two additional treatment groups).

        504.   First, the study can include only male mice (cutting the size of the study in half).

Second, a “tier approach” was acceptable in the pathology examination phase of the study,

focusing first on kidney and liver sections in all groups of male mice. If the “first tier”

examination produces no evidence of an oncogenic response, “then additional histopathological

examination will not be necessary.”

        505.   Last, the memo states: “The registrant should be requested to submit a proposed

protocol for the repeat mouse study to the Agency for comment before the experimental work is

initiated.”

        506.   Monsanto continued to resist EPA’s call for a new mouse oncogenicity study, and

indeed has still not redone the study as requested by EPA.

        507.   The primary reason is clear – legitimate concern in the company that the results of

such a study would affirm the key finding in the original Bio/dynamics study mouse

oncogenicity study, and result in EPA classifying glyphosate as a “possible human carcinogen.”

        B. Monsanto Efforts to Delay and/or Defuse Worker Safety Language
        on Roundup Labels
        508.   The 1986 glyphosate Registration Standard (RS) specified new worker safety

language that must appear on Roundup product labels in channels of commerce as of June 30,

1988.

        509.   In a February 9, 1987 letter to the Director of the OPP Registration Division,

Monsanto argues that the worker-protection language in the 1986 RS is unjustified, for reasons


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first set forth in Monsanto’s November 7, 1986 letter/response to the RS.

       510.    The 2/9/87 letter restated and expanded upon the arguments set forth in the

11/7/86 letter. The February 1987 letter also transmitted to OPP a new contact-dermatitis study

done by a University of California scientist.

       511.    OPP’s review of the February 1987 letter, the actions it requested, and the newly-

submitted dermatitis study was done by Curt Kunchick, a scientist in OPP’s Exposure

Assessment Branch. His June 18, 1987 review notes that the focus of Monsanto’s arguments is

contact dermatitis and the newly submitted dermatitis study, while OPP/EPA’s principal

concerns were eye and skin irritation. (MONGLY00241308)

       512.    There are three important attachments included with Kunchick’s 6/18/87 review:

(1) a report on glyphosate poisoning episodes in California, (2) “Worker Safety Rules for

Glyphosate Products Containing the Signal Word ‘Warning’ for Skin or Eye Irritation”; and, (3)

“Worker Safety Rules for All Glyphosate Products Intended for Agricultural Uses and

Containing the Signal Word ‘Caution’”.

       1. Registration Standard Worker Safety Provisions

       513.    The required worker-safety protection statements in Attachment 2 were taken

essentially verbatim from the 1986 Registration Standard section setting forth “Required

Labelling” (page 28-29).

       514.    Attachment 1 was the primary basis for OPP concern over eye and skin irritation.

It included data submitted to EPA by the California Department of Food and Agriculture in a

June 6, 1988 report entitled “Glyphosate Poisoning Statistics Summary.” The author was Jerome

Blondell.

       515.    Data were recorded and reported by Blondell for three categories of applicators:




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ground application using a tractor or spray rig (42 out of 143 total cases); hand application with a

backpack sprayer or hand-pump device (100 out of 142 cases); and, other types of application (1

of 142 cases).

        516.     Blondell’s data covered 64 applicator and 24 mixer/loader cases of eye irritation

between 1981 and 1985, and 52 applicator and 7 mixer/loader skin injury cases. In addition,

there were a total of 24 “Systemic” illnesses reported, 6 cases among spray rig applicators and 18

among hand applicators. Hand applicators like Dewayne Johnson had suffered the majority of

total-applicator injury cases: for the eye, 44 out of 64, and for skin, 35 of 52 irritation cases.

        517.     A section of Blondell’s report addresses the relationship between the number of

physician-treated occupational illnesses in California and the total pounds of glyphosate applied.

The Blondell report contains the following, surprising finding that almost certainly caught EPA’s

attention:

        “The number of California physician-treated occupational illnesses (average per year,
        1981-1985) per million pounds of glyphosate reported sold in California in 1984 was
        17.0. On average, for all pesticides, we find 1.3 poisonings per million pounds sold, per
        year in California.”

        518.     The scope and specificity of the worker-safety provisions required in the 1986

glyphosate Registration Standard (RS), and referenced in Attachments 2 and 3 of the 6/18/87

Exposure Assessment Branch memo are central to this case.

        519.     Section D, Part 4 of the glyphosate RS states that “Worker Safety Rules must

appear on end-use products containing glyphosate except for those labeled for homeowner use

only.” (page 28). (Products marketed to homeowners contain 2% or less glyphosate; such dilute

products require less stringent safety precautions for those applying the products).

        520.     EPA required worker-safety provisions on glyphosate products like those applied

at work by Dewayne Johnson include:



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       “HANDLE THE CONCENTRATE ONLY WHEN WEARING THE FOLLOWING
       PROTECTIVE CLOTHING AND EQUIPMENT.”

       “Wear goggles or a face shield, chemical resistant gloves, chemical resistant apron,
       chemical resistant shoes, shoe coverings, or boots.”

       “WEAR THE FOLLOWING PROTECTIVE CLOTHING DURING APPLICATION
       EQUIPMENT REPAIR, CLEANING, DISPOSAL OF THE SPRAY SOLUTION, AND
       DURING REENTRY TO TREATED AREAS BEFORE THE SPRAY HAS DRIED.”

       “Wear goggles or a face shield, chemical-resistant gloves and chemical-resistant shoes, or
       boots. A helmet with visor may be worn during open cockpit aerial application.”

       “IMPORTANT! Before removing gloves, wash them with soap and water. Always wash
       hands, face and arms with soap and water before smoking, eating, drinking, or toileting.”

       “AFTER WORK, wash protective clothing and equipment with soap and water after each
       use. Personal clothing worn during use should be laundered separately from household
       articles. Clothing or protective equipment heavily contaminated or drenched with
       glyphosate must be disposed of in accordance with State and local regulations.”

       “HEAVILY CONTAMINATED OR DRENCHED CLOTHING CANNOT BE
       ADEQUATELY DECONTAMINATED.” (Page 29, glyphosate RS)

       521.    In late 1986 and 1987, OPP was working on a generic policy document setting

forth new worker-safety requirements for product labeling that would apply to all registered

pesticides. OPP planned on issuing the new worker-safety labeling requirements via what is

called a PR Notice (Pesticide Regulatory).

       522.    In a 11/2/87 letter to Robert Taylor, OPP’s registration manager for glyphosate,

Monsanto requested a postponement of certain additional protective clothing requirements on

Roundup labels. Such added, worker-safety protections for applicators were called for in the

1986 RS, and were supposed to appear on all Roundup-product labels in commerce as of June

30, 1988.

       523.    EPA assigned the task of reviewing and responding to this Monsanto request for

deferral to Alan Nielsen in OPP’s Exposure Assessment Branch. He received the assignment on



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11/18/87 and a memo setting forth his recommended action is dated 1/28/88.

       524.    Nielsen agreed to Monsanto’s request to postpone additional requirements for

personal protective equipment (PPE) on Roundup labels subject to two conditions. The first was

that the new worker-protection PR notice would be issued “…in a reasonable time frame…”, and

hence lead to changes in Roundup worker safety language

       525.    His second condition for approval of Monsanto’s deferral request stands as one of

the first clear statements of OPP/EPA concern over adverse health effects suffered by some

Roundup herbicide applicators. Nielsen’s second condition was that: “…the submitter

[Monsanto] begin investigating the high number of eye and/or skin injuries associated with

glyphosate use in California.”

       526.    Reinforcing his concern, Nielsen added in his memo to the Registration Division

that: “Myself and other members of the Exposure Assessment Branch would like to meet with

appropriate representatives of the Monsanto Company to discuss their response to this concern

[the adverse impacts data from California] within six months. Please arrange with the submitter.”

       2. Impact of Monsanto’s Refusal to Accept EPA-Required Worker Safety Rules

       527.    The August 11, 1986 glyphosate RS set forth the detailed worker-safety label

language quoted above. This language had to be included on Roundup product labels in

commercial channels of trade as of June 20, 1988.

       528.    Monsanto repeatedly challenged EPA’s requirements for stricter worker-safety

provisions through multiple communications over several years. Some arguments were

procedural (e.g., defer changes in labeling until the new, generic worker-safety labeling PR

notice was issued), while others were based on Monsanto-commissioned exposure studies and

risk calculations.




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       529.      The impact of Monsanto efforts to delay or defuse the addition of new worker-

safety requirements on Roundup labels can be determined by comparing worker-safety language

on Monsanto’s glyphosate-based herbicides in 1986, the year the RS was issued, to the worker-

safety requirements that appear on labels in subsequent years.

       530.      The plaintiff in this case, Dewayne Johnson, applied two glyphosate-based

herbicides from June 2012 through September 2015: RangerPro and Roundup ProConcentrate.

He worked as an integrated pest management specialist for a school district, and applied these

glyphosate products 20-40 times per year.

       531.      The RangerPro label in 2012-2014 carried the signal word “Caution” in the

section “3.1 Hazards to Humans and Domestic Animals.” This concentrated, formulated

herbicide was marketed to professional weed managers for “industrial, turf and ornamental weed

control.” It contained 41% glyphosate and 59% “OTHER INGREDIENTS (including

surfactants).”

       532.      The Roundup ProConcentrate label and the RangerPro labels are nearly identical.

There is a modest difference in the concentration of active ingredient and surfactant. Roundup

ProConcentrate contains 50.2% glyphosate and 49.8% “OTHER INGREDIENTS (including

13% surfactant),” while RangerPro contains 41% and 59% glyphosate and “OTHER

INGREDIENTS.”

       533.      Both herbicides are applied at essentially the same rate of glyphosate and

surfactant per area of land, and would pose comparable risks during the mixing and loading

process and application.

       534.      The RangerPro and Roundup ProConcentrate labels include an identical section

on human hazards that sets forth mandatory “Personal Protective Equipment (PPE)” and




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recommended safety precautions.

          535.   Both labels include this language:

          “Personal Protective Equipment (PPE)
          Applicators and other handlers must wear: long-sleeved shirt and long pants, shoes
          plus socks…[no other PPE is required]”

          536.   The phrase “other handlers” encompasses those mixing and loading, shipping,

storing, or handling these herbicides.

          537.   Both labels require that PPE be kept and washed separately from other laundry,

and then provide this instruction to applicators and other handlers:

          “Discard clothing and other absorbent materials that have been drenched or heavily
          contaminated with this product’s concentrate. Do not reuse them.” (Emphasis added).

          538.   Under the heading “User Safety Recommendations,” both labels state that “Users

should:

          “Wash hands before eating, drinking, chewing gum, using tobacco or using the toilet.
          Remove clothing immediately if pesticide gets inside. Then wash thoroughly and put on
          clean clothing.”

          539.   There is also a “Non-Agricultural Use Requirement” on each label: “Keep people

and pets off treated areas until spray solution has dried.”

          540.   During his many applications of RangerPro and Roundup ProConcentrate

between 2012 and 2014, Mr. Johnson went well beyond the PPE required on the product labels.

He wore a Tyvek suit, googles, and a face mask, none of which were required on either label.

          541.   He reported that the Tyvek suit only went up to his throat, leaving most of his

neck, and the back of his head exposed.

          542.   Mr. Johnson also reported that when he was applying Ranger or Roundup

herbicide with a backpack sprayer, he was often exposed around the neck and on his head from

spray drift, especially when the wind was blowing. In his deposition in a worker’s compensation



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action against the school district he worked for, Johnson stated” “And the mist [spray drift], you

know, it happened a lot, where you just – you can’t control it. One minute you’re spraying and

you get a drift of wind and it’s on you, you know.” (Dewayne Johnson deposition, Dewayne

Johnson vs. Benicia Unified School District, 10/28/2015, page 131).

       543.    He also experienced two significant exposure events to the mixed glyphosate

herbicide-water solution. In one, there was a leak in the hose of his backpack sprayer, resulting

in the flow of some of the spray solution down his back; the second occurred when a hose on a

sprayer in the back of his truck broke and he had to fix it. As a result of the second episode, he

reported being drenched with the spray mixture in the tank, and had glyphosate and surfactant on

his body for hours.

       544.    Because of Monsanto’s refusal to add to Roundup product labels the new, worker-

safety language set forth in the 1986 RS, substantial differences persisted in the worker-safety

provisions on the RangerPro and Roundup ProConcentrate labels in 2012-2014, compared to the

PPE and other exposure-reduction provisions called for in the RS.

       545.    For those mixing and loading either herbicide applied by Johnson, the provisions

in the RS would have stated, as quoted above:

       “HANDLE THE CONCENTRATE ONLY WHEN WEARING THE FOLLOWING
       PROTECTIVE CLOTHING AND EQUIPMENT.”
       “Wear goggles or a face shield, chemical resistant gloves, chemical resistant apron,
       chemical resistant shoes, shoe coverings, or boots.”

       546.    The mixer/loader and applicator worker-safety requirements on both the

RangerPro and Roundup ProConcentrate products that Dewayne Johnson applied: (1) did not

require any gloves, let alone chemical resistant gloves; (2) did not require a chemical resistant

apron; and, (3) did not require chemical resistant shoes.

       547.    The worker-safety language requirements for glyphosate herbicides set forth in



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the 1986 RS include:

        “IMPORTANT! Before removing gloves, wash them with soap and water. Always wash
        hands, face and arms with soap and water before smoking, eating, drinking, or toileting.”

        548.   In addition to not requiring any gloves, the labels on both of the products that Mr.

Johnson applied lacked the above “IMPORTANT” instructions regarding washing hands, face,

and arms with soap and water. Instead, the RangerPro and Roundup ProConcentrate labels only

offer a recommendation that users should “wash hands before eating, drinking, chewing gum,

using tobacco or using the toilet.”

        549.   There is another important difference between the worker-safety language

required by the 1986 glyphosate RS and the language on the labels of the glyphosate products

Mr. Johnson applied. The RS language states:

        “HEAVILY CONTAMINATED OR DRENCHED CLOTHING CANNOT BE
        ADEQUATELY DECONTAMINATED” and hence should be discarded.

        550.    Both RangerPro and Roundup ProConcentrate labels require that the herbicide be

mixed with water prior to application. The labels provide detailed instructions regarding how

much water an applicator should mix with a given volume of the formulated herbicide.

        551.   Both labels call for discarding clothing or other absorbent materials that “have

been drenched or heavily contaminated with this product’s concentrate” (emphasis added).

        552.   Clothing, or other absorbent material, could become drenched with RangerPro or

Roundup ProConcentrate only during the mixing/loading process, or in the event a container of

the concentrate herbicide was ruptured during transport or in storage.

        553.   Neither label requires discarding of clothing drenched during the application of

the products, after the herbicide is mixed with water and poured into a backpack sprayer or spray

tank.




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       3. Monsanto Recognized that the Drift of Roundup Herbicides onto Applicators
       Using Backpack Sprayers Could Pose Excessive Risk

       554.    Throughout the 1990s and 2000s, Monsanto aggressively resisted efforts by U.S.

and European regulators to place more restrictive worker-safety requirements on Roundup

products labeled for use in non-agricultural settings.

       555.    Regulators in the EU and U.S. were concerned about growing evidence of worker

poisoning episodes, as well as the impact of POEA surfactants on the worker risks posed by

formulated Roundup herbicides.

       556.    Monsanto was well aware of the concerns, because there had been a steady flow

of new information from their ongoing research and testing around the world that pointed to the

need to address high-exposure scenarios and eliminate high-risk surfactants, at a minimum.

       557.    Regulators in the UK required Monsanto to add a requirement for respiratory

protection on certain Roundup labels, as a result of high-exposures around the face when

Roundup is applied to trees via a backpack sprayer. (MONGLY06454420)

       558.    EU forced Monsanto to phase out POEA surfactants in a wide range of Roundup

products, a task completed by or around 2010.

       559.    But in the U.S., Monsanto blocked or curtailed more restrictive worker-safety

language on most formulated product labels in the U.S., and retained POEA surfactants in

products from which they had been removed in the E.U.

       560.    In many internal emails and technical presentations (e.g., Powerpoints for

scientific staff), Monsanto acknowledges that:

              POEA surfactants increase the risk of worker-safety problems;
              Safer and equally effective alternative surfactants exist, albeit sometimes at higher
               cost; and
              Regulators will eventually force elimination of POEA surfactants and the addition
               of new worker-safety requirements.


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       561.    In several instances during which Monsanto employees debated when and

whether to make changes in Roundup product formulations and/or add new requirements to

reduce worker risks, one or a group of employees voiced the opinion (paraphrasing) “why not

just make the changes now?”

       4. Monsanto Efforts to Address Concerns over Worker-Risk Assessments

       562.                     , a European-based Monsanto scientist, sent a November 10, 2008

email to his Monsanto colleagues Saltmiras,          , Farmer, and Kronenberg. In it,

shares his strongly held view that Monsanto needed to conduct additional studies to obtain better

data to address lingering worker-exposure concerns across Europe.

       563.    The new data and analyses that            was advocating would be included in an

Annex to the dossier Monsanto was developing for submission to the German regulatory

authority, as part of the re-registration of glyphosate in the EU.

       564.    In his email,         writes: “Dermal exposure is the greatest risk of exposure to

operators. Therefor we need to be secure on the ADME of such exposure.” ADME stands for

Absorption, Distribution, Metabolism, and Excretion. (MONGLY02155827)

       565.    A few days earlier (November 7, 2008),                had sent an email to Monsanto

colleagues, including                  a Monsanto employee based in Germany who was

interacting with BfR on glyphosate re-registration issues.

       566.             ’s 11/7/2008 email outlines the topics of discussion on a call addressing

adverse worker-exposure episodes the BfR was aware of. Four areas of “preparation” for future

interactions with BfR were outlined, including: “3. Toxicology: counter the allegation on

synergistic effects of tallow amine [POEA surfactants] with glyphosate.” (MONGLY010122033)

       567.    Achieving this goal would require a successful effort by Monsanto to downplay



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the relevance, or reliability of the many published studies showing that formulated Roundup

products containing POEA surfactants were more toxic than 100% pure glyphosate alone.

       568.    In several instances, new data called for by a specific regulatory agency in

Europe, South America, or some other foreign country, led Monsanto to conduct new studies that

were submitted to the specific regulator that had asked for new or better data.

       569.    In many cases, such new studies called into question the accuracy of critical

parameters and assumptions embedded not just in Monsanto’s worker-safety risk assessments,

but also the risk assessments carried out by most regulators worldwide.

       570.    Regulators in Italy and Germany were, in particular, concerned over data

published in several peer-reviewed journals showing that Roundup products formulated with

POEA surfactants pose greater risks than glyphosate alone, because POEA is more toxic than

glyphosate, and the POEA in Roundup products increases the portion of glyphosate that

penetrates the skin and cell walls.

       571.    Regulators base their glyphosate worker-risk assessments on data provided

predominantly by Monsanto. If the data from Monsanto is not current or is inaccurate, regulatory

risk assessments will also be inaccurate, and hence may poorly reflect actual risks in the field.

       572.    The failure of Monsanto to submit to the EPA and other regulators updated, more

accurate data, as it becomes available to the company, delays the actions that the EPA and other

regulators would need to take to produce more accurate, realistic worker-risk assessments.

       573.    Keeping regulators in the dark, by failing to share new information it gained from

its internal research, was a common tactic Monsanto relied on to delay or block stricter worker-

safety label requirements. In the U.S., some such failures likely violate the so-called “adverse

effects reporting requirement” set forth in Section 6(a)(2) of FIFRA.




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       574.    In the record of this case, there are many instances where Monsanto became

aware from its internal research, or studies required by a given country, that some component or

parameter in its worker-risk calculations probably, or surely understated actual worker risks.

       575.    Consistently in such cases, Monsanto’s responded in two ways. First, the

company would assess whether there was a way to generate new data that contradicts, obscures,

or renders irrelevant the new information that suggested current worker risks were understated.

       576.    Second, and typically on a parallel track, Monsanto would deploy a variety of

strategies to avoid having to share such new information with regulators, even when they were

seemingly obligated to do so under law.

       577.    In the interim, Monsanto would often change formulations, or voluntarily alter

label provisions in a way that preempted the need to update risk assessments or label

requirements. This tactic has often been successfully deployed by Monsanto to hide past sins of

omission (i.e., not informing regulators that the risks associated with a given use of Roundup are

likely higher than currently estimated).

       5. BiF Pushes Monsanto on Worker Risks

       578.    There is a particularly germane example of these Monsanto behaviors in the

company’s internal deliberations on how to deal with growing concerns in Europe over worker-

exposures and risk.

       579.    The German regulatory authority, the BfR, was the rapporteur for the EU re-

registration review of glyphosate. They had raised with Monsanto concerns over the heightened

risk of formulated Roundup herbicides containing POEA surfactants, compared to risks based on

data derived from studies focused on 100% pure glyphosate.

       580.    A published, peer-reviewed genotoxicity paper came out in 2007 that no doubt




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was among the papers triggering new concerns in Europe over formulated Roundup products. It

was entitled “Cytotoxicty of the herbicide glyphosate in human peripheral blood mononuclear

cells (Martinez A, Reyes I, Reyes N, Biomedica 27(4):594-604). The results and conclusions

sections from the abstract of the paper follow:

       RESULTS:
       Both technical grade glyphosate and Roundup formulation were toxic to human
       peripheral blood mononuclear cells. Cytotoxicity of Roundup was higher than
       cytotoxicity of glyphosate, since the LC50 (50% lethal concentration) determined by the
       trypan blue exclusion method at 24 h was the equivalent of 56.4 microg/ml of glyphosate
       in the form of Roundup and 1,640 microg/ml (1.64 mg/ml) for technical grade
       glyphosate.
       CONCLUSIONS:
       This in vitro study confirmed the toxic effects on human cells by glyphosate and its
       commercial preparations. Commercial formulations were more cytotoxic than the active
       component alone, supporting the concept that additives in commercial formulations play
       a role in the toxicity attributed to glyphosate-based herbicides.


       581.      It is worth highlighting that under the conditions of the 2007 Reyes et al study, the

glyphosate-plus-surfactants in formulated Roundup products were 29-times more cytotoxic than

pure glyphosate. A 29-fold increase in any pesticide-related risk is substantial and would

typically trigger a re-assessment of current risk estimates, and often as a result, changes in

relevant label provisions require by the EPA and other regulatory authorities.

       582.      Plans and initiatives to deal with such concerns were a primary focus of a

“Glyphosate Toxicology Peer Review” meeting held in London on June 22, 2007. Three senior,

corporate Monsanto scientists were present (Donna Farmer,                        Bill Graham), and

a fourth participated via the phone (                    ). The experts in attendance were Professor

              , Dr.         , and Dr.          .                    is listed as “Consultant.”

(MONGLY0118777)

       583.      One section of the meeting overview document is entitled “NOTES TAKEN



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DURING THE PRESENTATIONS.” It includes sections addressing the most controversial and

consequential issues facing Monsanto in preserving its glyphosate-related FTO (Freedom to

Operate) in Europe: carcinogenicity, endocrine disruption, co-formulants, and operator exposure.

       584.    Under “4. Operator exposure,” there is a section setting forth “Proposals for

Action.” The first bulleted item reads: “Label recommendations for hand held spraying should

include recommendation for using shields and not walking through the spray or sprayed area.

ACTION:        ” (MONGLY0118777)

       585.    Recall that the EPA-required worker-safety rules in the 1986 glyphosate

Registration Standard document included a requirement for googles or a face shield. This

requirement is still not on the RangerPro label in the U.S., the herbicide that accounted for most

of the glyphosate-based herbicide that Dewayne Johnson applied.

       586.    In the phrase “ACTION:         ,”    stands for                 , who was head of

Regulatory Affairs for Monsanto in Europe and would be responsible for submitting new or

revised glyphosate-based herbicide label directions, including worker-safety requirements, to

regulatory authorities.

       587.     A few years earlier, Monsanto commissioned new studies on the rate of dermal

penetration of Roundup herbicides, in response to questions from EU regulators. Studies

responsive to this request were needed to sharpen estimates of worker-exposure risk, especially

in the case of formulated Roundup products containing POEA.

       588.    To address evolving worker-risk concerns among European regulators, Monsanto

commissioned a dermal penetration study in rats. It was conducted by a Denmark contract

laboratory, TNO. The results of the rat skin penetration study using a Roundup formulation

suggested that 5% to 10% of the glyphosate in this Roundup formulation was dermally absorbed,




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in contrast to the standard, 3% estimate relied on by EU and U.S. regulators.

        589.    Monsanto was worried about the potential that the study would “blow Roundup

risk evaluations. (getting a much higher dermal penetration than we've ever seen before.”

(MONGLY03738295) Therefore, they decided to stop any further work with TNO to generate

new rat skin dermal penetration data.

        590.    To my knowledge, the results of the TNO rat skin penetration study showing 5%

to 10% dermal penetration were not submitted by Monsanto to the U.S. EPA, as required under

the Section 6(a)(2) “adverse effects” reporting requirement in FIFRA.

        591.    Nor, to my knowledge and based on the records I have reviewed, was the TNO

data shared with any other regulatory agency. If the company did transmit a 6(a)(2) submission

to EPA with these data, or provide it to other regulators, Monsanto will surely correct the record

in deposition and/or at trial.

        592.    In addition, Monsanto continued for years to argue in all regulatory submissions,

peer-reviewed journal publications (some with an accurate listing of authorship, others ghost-

written), and in the media that the 3% estimate of glyphosate-dermal penetration in the case of

Roundup products formulated with POEA overstated actual penetration and risks, even after the

company knew that the opposite was almost certainly the case.

        593.    Accordingly, for many years, Monsanto consciously perpetuated possibly unsafe

uses of RangerPro, Roundup ProConcentrate, and other Roundup products in three ways.

        594.    First, the company knowingly mislead regulators, and users of RangerPro and

Roundup ProConcentrate, including Dewayne Johnson, by failing to disclose to regulators that

an erroneously low dermal absorption estimate was included in worker-safety risk assessments.

        595.    Second, Monsanto knew that people applying Roundup products with backpack




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sprayers were subject to much higher dermal exposure levels when the person applying the

herbicide walks roughly in the same direction as the wind, or when the herbicide is applied in an

upward direction (e.g., when tall vegetation, like trees).

       596.    In light of such common knowledge about the risk of applicator exposure to spray

drift when various Roundup brands are applied by hand held or backpack sprayers, Monsanto

employees in Europe had considered the addition of a new label provision requiring applicators,

on windy days, to walk perpendicular to the direction of the wind. To my knowledge, this

simple, low-cost, worker-risk-mitigation measure has still not been included on Roundup product

labels in Europe or the U.S.

       597.    Third, Monsanto refused to add to its RangerPro and Roundup ProConcentrate

labels the more restrictive and cautious worker-safety provisions that EPA called for in the 1986

glyphosate Registration Standard, nor has the company added similar provisions designed to

bring about a comparable degree of risk reduction.

       598.    The failure of Monsanto to assist regulators in producing progressively more

accurate, real world worker-safety risk assessments is a clear and consequential breach of the

company’s pledge to adhere to the best science available in the manufacture and marketing of its

herbicides.

       599.    In addition, Monsanto’s failure to propose, and/or agree to incrementally more

restrictive worker-safety provisions, especially in known, high-exposure application scenarios,

enabled and perpetuated unsafe Roundup application episodes, including many of the legal

applications made by Dewayne Johnson in 2012-2014.

       600.    For these reasons, I conclude that Monsanto’s egregious lack of concern for

product stewardship and the safety of certain Roundup users substantially increased Mr.




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Johnson’s many exposures to the glyphosate and surfactants in the formulated herbicides he

applied, and hence Mr. Johnson’s risk of contracting NHL.

       B. Cultivate Relationships with “Friendly” Scientists and Officials in
       EPA

       601.    Monsanto invested considerable effort in establishing open channels of

communication with selected scientists and decision makers in EPA. Frequent interactions

helped Monsanto understand how receptive a given person in EPA would likely be, if asked to

move toward Monsanto’s view of a given study or issue, or at least give Monsanto a “head’s up”

about forthcoming agency decisions or actions.

       602.    My review of the record convinces me that Monsanto had established unusually

close relationships with some key officials and scientists in the EPA’s Office of Pesticide

Programs (OPP) who were involved in either the science reviews or decisions impacting

glyphosate-based herbicides. Two examples are discussed herein.

       1. Jess Rowland

       603.    Jess Rowland was the Deputy Director of the OPP Health Effects Division. He

was directly involved in managing the EPA’s internal assessment of glyphosate’s oncogenicity,

as well as the EPA’s interactions with and response to the IARC review of glyphosate. He also

served as a point of contact between EPA and other federal agencies, and managed CARC

(Cancer Assessment Review Committee), a key, internal OPP committee that rendered

judgement of whether a given pesticide poses cancer risk.

       604.    In a 2/20/15 email as Monsanto was preparing for the release of the IARC report

on glyphosate, William Heydens writes to Dan Jenkins, his Monsanto colleague that works most

closely with EPA on registration issues. The topic is “EPA Folks going to IARC” (i.e., attending



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the final IARC Working Group meeting in Lyons, France March 10-14, 2015).

       605.     Heydens reports on the two EPA scientists that “will actually participate in the

meeting,” and two other EPA representatives that will be attending as observers. He identifies

the two observers as “Catherine [Eiden] is a Special Assistant in the Pesticide Re-evaluation

Division, and we all know Jess.” (MONGLY00986901)

       606.     The phrase, “we all know Jess,” implies a high degree of familiarity among

several Monsanto people.

       607.     In an April 27, 2015 email exchange between Dan Jenkins (registration, EPA

interface) and William Heydens (toxicology, safety), Heydens asks Jenkins about approaching

EPA and asking them directly “about what area they see as most problematic [in the IARC

monograph] or just ask if there is anything that would help them [EPA] defend the situation?”

       608.     In effect, Heydens is asking Jenkins if there is anything Monsanto can do to

support EPA in sticking by the agency’s current position that glyphosate is not oncogenic,

despite the IARC determination. Jenkins responds: “I think you and I could get on the phone w

Jess Rowland and discuss this openly. He’ll give us straight talk.” (MONGLY03929023)

       609.     The next day (April 28th), Jess Rowland called Dan Jenkins “out of the blue” and

told Jenkins:

       “We have enough to sustain our conclusions [that glyphosate is not oncogenic]. Don’t
       need gene tox or epi. The only thing is the cheminova [another registrant of glyphosate
       herbicides] study with the sarcoma in mice – we have that study now and its conclusions
       are irrelevant…I am chair of the CARC and my folks are running this process for
       glyphosate in reg review.” (MONGLY00987756)

       610.     But Rowland had another message to pass on to Jenkins that day. The Agency for

Toxic Substances and Disease Registry (ATSDR), another U.S. government agency responsible

for assessing the toxicity of chemicals, was planning to undertake a review of glyphosate. It was




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well known in the toxicology community, and in Monsanto, that ATSDR historically reached

conclusions similar to IARC. Monsanto was deeply concerned that an ATSDR determination

similar to IARC’s would raise serious doubts about the EPA’s position that glyphosate does not

pose cancer risk.

       611.    In this email, Rowland then asks Jenkins for a contact name at ATSDR, and

reports that there is no coordination underway between EPA and ATSDR in terms of ATSDR’s

pending assessment of glyphosate. Then, according to Jenkins’s email, Rowland said: “If I can

kill this [the ATSDR review] I should get a medal.”

       612.    I am not aware of another instance in which a senior scientist in the Office of

Pesticide Programs made such a blatantly inappropriate statement to a pesticide registrant. In the

government agencies for which I have tracked similar regulator-company interactions over the

last few decades, an act so blatantly solicitous and inappropriate would have been grounds for

dismissal, or worse.

       613.    Monsanto recognized Rowland’s actions and eagerness to help in the company’s

efforts to downplay the risk of glyphosate-based herbicides. In a September 3, 2015 email to a

large group of colleagues, Dan Jenkins wrote that:

       ”No questions but Jess Rowland at EPA is quite proud of their recent endocrine
       conclusions and is also on point regarding their IARC response. Jess will be retiring from
       EPA in ~5-6 mos and could be useful as we move forward with ongoing glyphosate
       defense.” (MONGLY03351980)

       614.    Rowland was responsible for an October 2015 evaluation of glyphosate as head of

the Cancer Assessment Review Committee (CARC). In conducting this review Rowland

apparently violated EPA’s own cancer assessment guidelines in concluding that glyphosate was

“Not Likely to be Carcinogenic to Humans.” In a May 2, 2016 email, Jim Jones, an Assistant

Administrator at the EPA, informed Gina McCarthy, the Administrator of the EPA that the



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CARC “assessment was not consistent with Agency’s guidelines.” (EELI_0000037)

       615.    This Assessment was “inadvertently” released to the public despite its violation of

guidelines and “Monsanto saw it and put out a release saying EPA had confirmed glyphosate is

not carcinogenic.” (EELI_0000037)

       2. Jack Housenger

       616.    As events unfolded in 2015 after the release of the IARC classification,

Monsanto’s most commonly mentioned rebuttal was that the EPA’s Office of Pesticide Programs

still classified glyphosate as not likely to pose a human cancer risk. Moreover, EPA had been

working for years on its own re-registration of glyphosate. There was intense interest in whether

the IARC classification would alter EPA’s judgement regarding glyphosate herbicide cancer risk.

       617.    If EPA did change its position, that would be an extremely grave development,

almost sure to seriously curtail Monsanto’s “Freedom to Operate,” and it would also, in all

likelihood, impact the causality phase of ongoing or future litigation.

       618.    If EPA stuck by its existing determination, it would be helpful to Monsanto in

multiple venues, and likely reduce threats to the company’s FTO.

       619.    At the time, Jack Housenger was the Director of the Office of Pesticide Programs,

and had been a senior OPP manager for many years.

       620.    The record (including some text message exchanges) shows a close, deferential,

and supportive relationship in communications flowing from Housenger and Monsanto, as well

as from Monsanto and Housenger. In short, the communications give rise to the sense that

Housenger and Monsanto are on the same “team,” pursuing the same goals.

       621.    In one important sense, they did share a common goal – defending the EPA’s

scientific judgement that glyphosate herbicides do not pose a risk of cancer to humans, a




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judgement directly challenged by IARC’s March 2015 classification of glyphosate as a probable

human carcinogen. But this EPA-Monsanto comradery obviously depended on EPA sticking to

its current judgement regarding glyphosate cancer risk.

       622.    So, priority number one in Monsanto’s interactions with EPA was to assure they

did not change their classification of glyphosate herbicide cancer risk, and priority number two

was to encourage, if not compel via political pressure, the EPA to be vocal in defense of its

position and criticism of IARC.

       623.    One example of Housenger taking the initiative to help Monsanto occurred in

May, 2015, about two months after the release of the IARC report. Monsanto, Jess Rowland of

EPA, and apparently Housenger were concerned that a review of glyphosate toxicity by ATSDR

might align with IARC’s, and undermine EPA’s view of the science.

       624.    After asking Monsanto for help identifying contacts at ATSDR, and calling the

ATSDR staff member assigned to carry out the review, Housenger sent a May 20, 2015 email to

Patrick Breysse, head of the ATSDR program. Housenger introduced himself as the Director of

the EPA Office of Pesticide Programs (OPP), and updated him on the near-complete,

comprehensive OPP review. Then he wrote:

       “However, given that our reviews [OPP’s and ATSDR’s] would be basically done very
       close in time to one another, there is a question of whether this is a good use of
       government resources. I’s like to talk to you about this and can be reached at the number
       below.” (Public document).

       625.     Breysse responds nine minutes later: “Can we discuss today or tomorrow”.

       626.    Housenger’s email and call with Breysse, the ATSDR Director, was not the only

contact he made. In an email sent June 24, 2015 to Dan Jenkins, Monsanto’s top, D.C.-based

registration official, Housenger writes:

       “Dan, here is everyone I talked to



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       Henry [Abadin] was the one who ended up saying that they [ATSDR] would put
       glyphosate on hold holding the OPP risk assessment release [he actually meant “pending”
       rather than “holding” the OPP risk assessment release]

       Hope this helps

       Breysse, Patrick N…he’s the Director of HCEH/ATSDR
       Stephan, James W (aka Jimmy) he’s the acting director of the Division of Community
       Health Investigation
       Henry Abadin…..he’s the branch chief
       Hannah Pohl…..is the person doing the work on glyphosate” MONGLY04028722)


       627.    This Housenger email to Jenkins reads like a status report from a junior staff

person to his/her manager. It reflects a desire to be helpful to Monsanto that is fundamentally at

odds with Housenger’s role as the senior manager of the EPA’s Office of Pesticide Programs.

       628.    On October 13, 2016, Jay Vroom of CropLife America (Monsanto’s lobbying

organization) called and emailed Jack Housenger to discuss removing epidemiologist Peter

Infante from the glyphosate SAP panel and to invite him to a retreat with Monsanto and other

Industry executives at a West Virginia casino and resort. EPA-HQ-2017-000442-0000205.

       629.    On October 14, 2016, the OPP announces that it was postponing the SAP hearing

on glyphosate scheduled for October 18, 2016. On October 19, 2016, the OPP announced that

Peter Infante would no longer be on the SAP panel evaluating glyphosate.

       630.    Jack Housenger attended a CropLife retreat at a Casino and Resort with

executives of Monsanto and other pesticide companies in November of 2016, one month before a

key SAP Panel Hearing on glyphosate. These executives noted that, “[w]e had some quality

time with EPA OPP Office Director Jack Housenger to dig into key issues and operational

matters at that vital department of EPA.” MONGLY07063555.




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       C. Scientific Literature and Third Party Voices

       631.    The record in this case shows that Monsanto worked diligently, and with great

success, in influencing the scientific community. It did so by:

              Shaping the published record of science;
              Controlling, to the full extent possible, the information and scientific data
               accessible to regulators; and
              Influencing, if not controlling, the conclusions drawn by regulators on questions
               regarding the safety of glyphosate herbicide.

       632.    Monsanto uses the term “third party experts” or “third party network” to describe

scientists it is working with, or has worked with in the past, on glyphosate-science and

communication/outreach issues and challenges.

       633.    The following paragraph contains a partial list of scientists that were, at least at

one point of time, either a member of the company’s third party network of experts, or were

being vetted in anticipation of Monsanto inviting them to become a member.

       634.    Members, or individuals under consideration for membership, in Monsanto’s third

part network of experts include: Dr. Bruce Chassy, formerly University of Illinois, now editor of

Academic Reviews (runs industry-sponsored journal that publishes Monsanto-friendly pieces,

including several ghost-written ones); Dr. K. Chipman; Dr. John DeSesso; Dr. Stuart Dobson,

Institute of Terrestrial Ecology, UK (member “Roundup Scientific Committee”); Sir Richard

Doll; Dr. John Entine, Genetics Literacy Project (runs industry-funded organization attacking

scientists that raise questions over GE crops, pesticides, and glyphosate); Dr. Kevin Folta,

University of Florida (advocate of GE crops, active on social media); Dr. C. Harris; Dr. John

Geisy, Michigan State University (member RSC); Dr. Malcolm Harrington; Dr. Jack Mandel;

Dr. Nikolas Hodges, University of Birmingham, UK; Dr. Rich Irons; Dr. Larry Kier, consultant

and former Monsanto official; Dr. David Kirkland, Vrije Universsiteit Brussel, consultant to



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Monsanto and co-author of ghost-written papers; Dr. Ron Kleinman, help with IARC response;

Dr. Robert Kroes; Dr. James Lamb, former EPA official; Dr. Henry Miller, Hoover Institute,

former FDA official (writes pro-GE and pesticide op-eds for Forbes, the Wall Street Journal and

other publications); Dr. Pam Mink, Emory University (one paid review of cancer risk, one paid

review other risks); Dr. Richard Peterson, University of Wisconsin (member RSC); Dr. G.

Portal; Dr. Jerry Rice, former IARC official; Dr. Keith Solomon, Canadian Network of

Toxicology Centers and University of Guelph (member RSC); Dr. Tom Sorahan; Dr. Gary

Williams, New York Medical College (member RSC, co-author multiple ghost-written papers,

presented before regulatory bodies).

       635.                  is a Monsanto employee working on outreach/communications

efforts. She was asked by Monsanto management for her views in response to this question:

“What additional tools and resources would be helpful to your team in responding to issues and

communicating about glyphosate?” (MONGLY03398170)

       636.    In response to this question from headquarters,      wrote a clear, cogent

summary of the role that third party experts, aka third party voices, play in Monsanto’s outreach

and communication efforts:

       “Additional support in the area of recruitment of third party voices to ensure that we are
       not the only supporter of Glyphosate in the debate (ideally we should be a catalyst rather
       than the focal point for a campaign) – could be new academic resources or in some ways
       more importantly populist voices that recognize the practical benefits and can make a
       simple common sense case for the product; we need real media traction for positive
       messages and third parties are key in making this a reality.” (Emphasis added;
       MONGLY03398170)

       1. Response to a Key Epidemiological Study

       637.    Whenever a scientific paper, report from an organization, a piece in high-impact

media, or other widely publicized event occurred or appeared that challenged Monsanto’s view




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of glyphosate safety, the company called upon its third-party network to challenge the validity of

the new information, label it as poor science, biased or driven by activists, or just not relevant,

given “glyphosate’s 40+ history of safe use.”

        638.   Several examples of how Monsanto used third party voices to promote its PR and

science messaging are addressed in this section, and other examples are described elsewhere in

this report.

        639.   In 1999 Hardell and Eriksson published in the journal Cancer an epidemiological

study done in Sweden focused on the connection between pesticide use and Non-Hodgkin

lymphoma (NHL) (Hardell, L., Eriksson, M. (1999). A Case-Control Study of non-Hodgkin

Lymphoma and Exposure to Pesticides, Cancer 85:1353-1360).

        640.   These scientists reported statistically significant associations between exposure to

all pesticides and NHL (Odds Ratio [OR]=1.6), use of any fungicide (OR=3.7), and 4-chloro-2-

methyl phenoxyacetic acid [MCPA] (2.7). (Odds Ratios over 1.0 indicate heightened risk, and

any statistically significant value for a chemical over 2.0 typically raises considerable alarm.

Following commonly accepted conventions, an OR is regarded as “statistically significant” if the

95% confidence interval does not include a value less than or equal to 1.0).

        641.   The odds ratio for an association between use of glyphosate and NHL was 2.3,

with a 95% confidence interval of 0.4 to 13.0. Hence, this association is not regarded as

statistically significant because the lower-bound of the confidence interval is less than 1.0. This

wide confidence interval was caused by the low number of people with NHL in the study that

reported use of glyphosate (there were only 4 individuals who reported use of glyphosate among

the 404 individuals with NHL in the study, and 3 individuals among the 741 controls).

        642.   In an additional analysis, the authors attempted to correct for confounding




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between reported use of glyphosate and MCPA. The resulting OR for glyphosate was 5.8, with a

95% confidence interval of 0.6 to 54.0.

       643.    While the number of glyphosate-linked cases of NHL was small in this study,

leading to the wide confidence intervals noted above, the odds ratios were markedly elevated,

pointing to the need for a more powerful study with larger numbers of people exposed vs.

unexposed, with and without disease symptoms.

       644.    Two senior Monsanto scientists – John Acquavella and Donna Farmer – wrote a

detailed internal review of the Hardell study, dated April 14, 1999. (MONGLY00555372). It

included their estimation of an ~0.30 p-value for the reported association between use of

glyphosate and NHL. This means there is about a 30% chance the elevated odds ratio is brought

about by chance, and about a 70% probability it is real.

       645.    Aquavella, his Monsanto colleague Dr. Donna Farmer, and Mark Cullen, a

Monsanto consultant, co-authored a letter to the editor of the journal Cancer on the Hardell-

Eriksson study. The letter, along with a response from Hardell and Eriksson, was published in

the August 15, 1999 issue (Vol. 86, No. 4, pages 729-730).

       646.    The Aquavella-Farmer-Cullen letter made many of the same basic points, often

nearly word for word, as in the detailed review of the Hardel-Eriksson study done by Acquavelle

in April.

       647.    The Hardell-Eriksson response dismissed the basis of the letter’s major criticisms,

and added an important, new quantitative result.

       648.    Hardel and Eriksson wrote in their response that they had conducted a second

case-control study focused on a rare form of NHL called hairy cell leukemia. The results of the

hairy cell leukemia study were briefly mentioned in the original Hardell-Eriksson paper, and led




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to an odds ratio of 3.1, with a 95% confidence interval of 0.8-12.0. Hence, while suggestive, the

association was not statistically significant.

       649.    But in their Cancer response to the Aquavelle-Farmer-Cullen letter, Hardell and

Eriksson reported the results of a pooled assessment of the association between use of glyphosate

and both NHL and hairy cell leukemia. In this analysis, there were 8 exposed cases of NHL and

8 exposed controls, leading to an odds ratio of 3.04 and a now, statistically significant 95%

confidence interval of 1.08-8.52.

       650.    After the results of the Hardell-Eriksson study were published, Monsanto

convened an internal meeting on June 29, 1999 to discuss their scientific outreach goals. In

response to the Hardell-Eriksson study showing a link between glyphosate and NHL, the minutes

note “Network formation underway in Europe, the will do US. Raising awareness about “H”

study (claims about G and cancer, small scale, poor study, poor science.). Goal, be sure bad Epi

conclusions do not spread.” (MONGLY00904905)

       651.    In September 2003, another study was published showing an association between

glyphosate and NHL. In De Roos et al. (2005) the authors reported a statistically significant

odds ratio of 2.1 for glyphosate and NHL (“Cancer Incidence among Glyphosate-Exposed

Pesticide Applicators in the Agricultural Health Study,” Environmental Health Perspectives Vol

113(1): pages 49-54).

       652.    In a September 2, 2003 email John Acquavella of Monsanto writes to his

colleagues “Strangely, glyphosate looks to be one of the pesticides most associated with NHL in

this analysis.” MONGLY00896655. He further notes “I'm afraid this could add more fuel to the

fire for Hardell et al.” and states “[i]t looks like NHL and other lymphopoietic cancers continue

to be the main cancer epidemiology issues both for glyphosate and alachlor.”




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       653.    In October 2008, another study was published showing an association between

glyphosate and NHL. In Eriksson el al. (2008) the authors reported a significant odds ratio of

2.02 for exposure to glyphosate (“Pesticide exposure as a risk factor for non-Hodgkin lymphoma

including histopathologcal subgroup analysis,” Int. J. Cancer Vol 123: pages 1657-1663)

(MONGLY01179185. The authors conclude that their new study “considerably strengthened”

the association between Roundup and NHL reported in the earlier, Hardell-Eriksson study.

       654.    Donna Farmer of Monsanto was forwarded an email containing an article

reporting the study results and recommending that consumers “Avoid carcinogenic herbicides in

foods by supporting organic agriculture, and on lawns by using non-toxic land care strategies

that rely on soil health, not toxic herbicides.” MONGLY01179185. Farmer responds, by stating

“We have been aware of this paper for awhile and knew it would only be a matter of time before

the activists pick it up...” and asks “... how do we combat this?” (MONGLY01179185)

       655.    In all of the extensive back-and-forth among Monsanto scientists and corporate

officials over this series of epidemiological studies showing that use of Roundup heightens the

risk of NHL, there is not a single mention of steps Monsanto could take to improve product

safety (e.g., by phasing out the POEA surfactants) or reduce exposures by adding more complete

worker safety requirements on their product labels.

       656.    It is important to emphasize that it is Monsanto’s responsibility to take such steps,

and add new language on labels, when it recognizes a need to do so and ways to make their

products safer. Across the pesticide industry, the majority of proactive steps taken that increase

margins of safety in specific pesticide uses and products are initiated by companies, not the EPA.

       2. Monsanto Response to Positive Genotoxicity Studies

       657.    In the 1990s, it became increasingly clear to Monsanto that the current regulatory




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status of glyphosate was in jeopardy, worldwide, because of papers published in the peer-

reviewed journals reporting genotoxic impacts. Several such papers also explored or speculated

on the possible mechanisms leading to observed, adverse impacts on cell and organism viability.

       658.    Monsanto was deeply concerned by the growing focus in the scientific

community on the genotoxic impacts, and possible mechanisms, following exposures to

formulated, glyphosate-based herbicides. The company understood that solid evidence of

genotoxicity following exposure to glyphosate-based herbicides would be a “game changer” for

the regulatory treatment of glyphosate. (E.g., Heydens previously quoted statement that the

genotoxicity of Roundup formulations “are obviously another issue” compared to questions over

the genotoxicity of 100% pure glyphosate).

       659.    Moreover, during this same time period, Monsanto was aggressively pursuing

hundreds of new tolerances and labels around the world for use of Roundup as a pre-harvest

desiccant to accelerate harvest operations in dozens of crops, as well as post-emergence

applications of Roundup on genetically engineered (GE), so-called “Roundup Ready” corn,

soybeans, and cotton.

       660.    Monsanto knew that these newly sought and evolving desiccant and GE crop uses

of Roundup would create huge growth potential for Roundup sales in the agricultural sector, but

the company was also aware that these particular new uses, by their very nature, would lead to

sizable increases in estimates of dietary exposure by regulatory authorities. (In general for most

crops, the later a pesticide is applied in the growth cycle of a crop, the higher the residues likely

to remain in the crop at harvest. Post-emergent, GE-crop uses of glyphosate could be made

within ~two months of harvest, instead of before crop germination, and crop desiccation uses are

typically made just a few days to two weeks prior to harvest).




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        661.    Monsanto knew there would be major increases in glyphosate plus AMPA

residues in several major food crops, and that these residues would require much higher

tolerances, which in turn would force regulators to update dietary exposure and risk assessments,

and revisit past judgements that overall exposures to glyphosate and its major metabolite,

AMPA, do not pose unacceptable levels of risk to humans.

        662.    Any new, credible adverse human-health data on glyphosate-based herbicides

would have almost certainly made it more difficult, if not impossible, for Monsanto to gain

approval of the much-higher tolerances that had to be approved prior to the EPA, and other

regulators, granting new registrations for desiccant and GE-crop uses of Roundup.

        663.    This is why Monsanto worked so hard throughout the 1990s on two critical fronts:

(1) resisting any new regulatory requirements for genotoxicity testing of glyphosate-based

herbicides, and discounting or burying any published studies reporting genotoxic effects, and (2)

reversing EPA’s judgement that the 1983 Bio/dynamics mouse oncogenicity study was positive

in male mice for renal tubule adenomas.

        664.    As noted earlier, one of Monsanto’s core tactics to discount published evidence of

genotoxic impacts following exposure to glyphosate-based herbicides was to commission

independent, academic scientists to publish “glyphosate-friendly” reviews of existing genotox

literature on glyphosate. A “glyphosate-friendly” genotoxicity review is one that generally

strives to dismiss any positive evidence in the literature by focusing on study limitations, while

also highlighting the results in negative studies, with little or no attention to their limitations.

        665.    The two strategies, when deployed together, amount to cherry-picking science,

and is a tactic that Monsanto used routinely and with considerable success. Among other things,

it helped perpetuate the folklore that people, including Dewayne Johnson, don’t have to worry if




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they come into contact with it because Roundup is safe enough to drink.

       666.    Three reviews of genotoxicity studies were commissioned and paid for by

Monsanto: Williams et al. (2000); Williams et al. 2012; and, Kier and Kirkland, 2013. Each is

discussed in the section on ghost-written studies.

       667.    A review of Monsanto’s role in these company-commissioned reviews of the

genotoxicity of glyphosate and/or glyphosate-based herbicides demonstrates the remarkable

degree to which Monsanto’s strategy of engaging “friendly” scientists was successful.

       668.    Monsanto’s deployment of this strategy was “successful” in two ways vital to the

interests of the company.

       669.    First, the strategy delayed the solidification of consensus in the independent

scientific community that exposures to glyphosate-based herbicides was causing, and/or could be

causing adverse impacts on a wide variety of organisms, including people, through genotoxic

mechanisms.

       670.    It accomplished this goal, in part, by authoring scathing, negative reviews that

delayed or blocked the publication of several studies reporting positive genotoxicity studies that

had been submitted to peer reviewed journals.

       671.    Second, the strategy perpetuated the “glyphosate is not genotoxic” conclusion

reached by regulatory agencies worldwide, which in turn facilitated Monsanto efforts to

downplay glyphosate’s oncogenic potential.

       3. Monsanto Asks Dr. Parry to Assess Glyphosate Genotoxicity

       672.    In the 1990s several positive genotoxicity studies were published including:

              Lioi et al., (1998, Genotoxicity and oxidative stress induced by pesticide exposure
               in bovine lymphocyte cultures in vitro, Mutation Research 403: 13-20);
              Lioi et al., (1998, Cytogenic damage and induction of pro-oxidant sate in human
               lymphocytes exposed in vitro to glyphosate, vinclozolin, atrazine, and DPX-


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                 E9636, Environ. Mol. Mutagenesis 32: 39-46);
                Bolognesi et al (1997, Genotoxic activity of glyphosate and its technical
                 formulation Roundup, J. Agric Food Chem 45: 1957-1962); and
                Clements et al (1997).

       673.      These recently published studies conflicted with Monsanto’s testing and the long-

standing regulatory conclusion that glyphosate, and glyphosate-based herbicides are not

genotoxic.

       674.      In addition to several other efforts, the company decided to reach out to a well-

known and respected expert in genotoxicity, Dr. James Parry, a professor in the School of

Biological Sciences, University of Wales Swansea, in the UK.

       675.      To gauge how helpful Dr. Parry might be (i.e. whether he would be reliably

“glyphosate-friendly”) before committing to a more open-ended consulting agreement, Monsanto

decided to give him a short-term assignment that entailed reviewing a set of recently published

genotoxicity papers. A series of Monsanto emails were sent on May 16-18, 1999 discussing

Parry’s role and the hoped for outcome. (MONGLY01825649)

       676.      The emails discussed Parry’s fee (600 pounds a day), and estimated that the

requested review would take 10 days (total cost of 6,000 pounds).

       677.      In a letter dated August 18, 1999, Dr. Parry transmitted his evaluation report to

                 , a Monsanto toxicologist.

       678.      After reviewing a set of published, genotoxicity studies, along with the results of

several of Monsanto’s own studies, he offered 19 conclusions on the genotoxicity of glyphosate

and/or formulated glyphosate-based herbicides.

       679.      Based on Dr. Parry’s review of the studies: (1) six of his 19 conclusions were that

certain types of studies showed no evidence of genotoxicity; (2) 6.5 studies/types of studies were

positive for evidence of genotoxicity; and (3) 6.5 were equivocal and would need to be refined


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and/or repeated. (Parry’s conclusion number 5 notes one positive study, and three negative or

equivocal ones in a category of genotoxicity assays; hence, the split score).

       680.    Parry then states: “I conclude that glyphosate is a potential clastogenic in vitro.”

He was unable to draw a conclusion on the clastogenicity of formulated glyphosate-based

herbicides because of a lack of studies. And that “glyphosate mixtures may be capable of

inducing oxidative damage in vivo.”

       681.    It is important to note that Parry’s two conclusions, reached in 1999, were

basically the same as the primary reasons that the International Agency for Research on Cancer,

in its March 2015 monograph on glyphosate, classified the evidence on genotoxicity/Mode of

Action as “strong.”

       682.    In addition to his written report, Dr. Parry provided Monsanto with a detailed list

of recommended research activities to clear up lingering questions over the genotoxicity of

glyphosate herbicides, the mechanisms giving rise to genotoxicity, and relevance of these

mechanisms to the evaluation of glyphosate’s other health effects, and especially oncogenicity.

(MONGLY01314264)

       683.    In his final, summary statement in the research recommendations document, Parry

writes: “My overall view is that if the reported genotoxicity of glyphosate and glyphosate

formulations can be shown to be due to the production of oxidative damage then a case could be

made that any genetic damage would be thresholded. Such genetic damage would only be

biologically relevant under conditions of compromised antioxidant status.”

       684.    Clearly, in this final paragraph, Parry was delivering to Monsanto a “good news-

bad news” message. The “bad news” is glyphosate is likely genotoxic via induction of oxidation

damage in cells, and likely other modes of action. The “good news” is that Monsanto might be




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able to convince regulators that one or more of these mechanisms might be subject to threshold

effects, leading to the possibility that Monsanto could show that the effects are not likely under

real-world exposure scenarios.

        685.       But Parry’s added assertion that oxidative damage from exposure to glyphosate

herbicides would only be a problem for people “of compromised antioxidant status” is

significant.

        686.       Undoubtedly, Monsanto scientists should have known at the time that most people

in developed nations consume a diet seriously deficient in total antioxidant activity, and that

most countries and international scientific bodies were recommending about a doubling in the

daily servings of fresh or lightly cooked fruits and vegetables in order to increase total

antioxidant intake via the diet.

        687.       Two Monsanto scientists shared their reviews of the Parry report with colleagues.

Stephen Wratten wrote an email entitled “Comments on Parry write-up” to                        and

Donna Farmer. It starts by saying: “I was somewhat disappointed…The style and rather casual

lack of completeness and preciseness would make it hard to circulate this around to anyone as

supporting information.”

        688.       Wratten acknowledges that Parry’s conclusion -- glyphosate and formulated

glyphosate herbicides are likely genotoxic via an oxidative stress mechanism -- will be hard to

disseminate and characterize as “supporting information” for Monsanto’s long-held belief, and

contention, that glyphosate is not genotoxic.

        689.       In the next several days in early July 1999, Monsanto officials discuss internally

whether to:

                  Commission the new genotoxicity research studies Parry recommended;
                  Ask someone else to interface with Parry to rough out the edges of his


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               conclusions; or
              End the effort to cultivate Parry as a “glyphosate-friendly” expert.

       690.    The final decision came about two months later. In a September 16, 1999 email

from                (Monsanto person communicating with Parry) to Heydens and Farmer,

         asked for “your opinions and then have a discussion on the action to take?”

(MONGLY03734971)

           691.        Heydens responds to            and Farmer later the same day, and writes:

       “However, let’s step back and look at what we are really trying to achieve here. We want
       to find/develop someone who is comfortable with the genotox profile of
       glyphosate/Roundup and who can be influential with regulators and Scientific Outreach
       operations when gentox issues arise. My read is that Parry is not currently such a person,
       and it would take quite some time and $$$/studies to get him there. We simply aren’t
       going to do the studies Parry suggests.” (MONGLY03734971)

       692.    Then, in this same email, Heydens states that Monsanto should accelerate the

search for other genotoxicity experts who would be more “comfortable” with glyphosate’s

genotoxicity profile (and hence be glyphosate-friendly). The reason – “We have not made much

progress and are currently very vulnerable in this area. We have time to fix that, but only if we

make this a big priority now.” (Emphasis added)

       693.    In my judgement, this decision was predicated on three points of general

agreement among the Monsanto scientists exchanging emails on the purpose and process of

engaging Parry, and discussing among themselves the substance of Parry’s report: (1) Parry

would not change his mind regarding the genotoxicity of glyphosate herbicides until the studies

he recommended were done and assessed; (2) it would be costly to commission and tricky to

conduct the studies Parry recommended in a way that would assure all the bioassays were

negative for genotoxicity; and (3) if done, the studies would likely contribute further evidence in

support of the genotoxicity of at least some glyphosate-based herbicides via an oxidative stress




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mechanism, and possibly other mechanisms, and hence would, in the end, not change Parry’s

mind.

        694.   For years, Monsanto continued to discuss internally Parry’s recommendations for

more refined genotoxicity testing. There was a February 15, 2001 phone meeting in which Dr.

Parry and two Monsanto scientists participated (                                     ). Internal

reports and emails describe the meeting, which “started off in a tense atmosphere because Parry

was irritated by the language used in the mutagenicity section of the Williams et al. paper.”

(MONGLY02626553)

        695.   In this and other Monsanto-Parry communications, Parry bristled at over-the-top

criticisms of other scientists in papers published by teams convened and paid by Monsanto, like

the Williams et al. (2000) paper noted above.

        696.   In a February 12, 2001 email from                  , a Monsanto toxicologist, to his

colleagues Larry Kier, Donna Farmer, and William Heydens,               addresses Parry’s

recommendation to do additional in vitro micronucleus assays on Roundup surfactants. First, he

says “let’s include talk about laundry detergents, hand soap, dishwashing detergents…” that

contain similar surfactant chemicals, to shift attention away from “AG products.”

        697.   On the prospect of another company asking Monsanto for permission to test the

genotoxicity of Roundup formulations,              says: “I know how I would react – with serious

concern.”

        698.   In explaining why he would be concerned,              lists five reasons or arguments

that could be advanced to scientists or regulators. First, the surfactants in home cleaning products

pose greater risk that ag products. Second, a positive study on a Roundup formulation might

trigger the notion that glyphosate might be, or is also genotoxic. Third, pure glyphosate is not




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genotoxic, based on data generated mostly by Monsanto. Fourth, some tests on certain

formulations and surfactants have been negative (not, of course, mentioning those that have been

positive).

        699.    His fifth reason is identified as a “fall back position,” presumably if the above

four arguments fail to satisfy some individuals (e.g. Parry) or regulatory agencies.

        “…we can agree with some testing on either surfactant solutions (would suppliers agree
        with us?) or with glyphosate formulations which don’t exist anymore on the market
        (e.g. MON 35050) [Roundup “classic”].” [Emphasis added).

        700.    Why would             acquiesce to the testing of a Roundup formulation no longer

on the market, if the company’s goal was to understand and avoid exposing people now buying

and spraying Roundup herbicides from possible risk?

        701.    This 2/12/2001 email demonstrates that Monsanto was avoiding testing its current

Roundup formulations, because if they were adequately tested for genotoxicity, the studies

would likely confirm Dr. Parry’s core conclusion that at least some formulated Roundup

products are indeed genotoxic.

        702.    This email also shows that when pushed hard to conduct new studies to address

some lingering concern, Monsanto’s response is to tap into its considerable scientific experience

and talent to devise a seemingly responsive set of actions or studies that might, at worst, raise

risk concerns about a product no longer on the market. This strategy would help assure that

regulators will have little, or no interest in the findings. Such a “fall back” position will, at the

very least, protect the brand and Monsanto’s “Freedom to Operate” (FTO).

        703.    On December 23, 2008, the journal Chemical Research and Toxicology published

online a study by Benachour-Seralini entitled “Glyphosate Formulations Induce Apoptosis and

Necrosis in Human Umbilical, Embryonic, and Placental Cells” (Vol 22(1): 97-105;




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http://pubs.acs.org/doi/abs/10.1021/tx800218n).

        704.   On January 5, 2009,                   , a Monsanto information specialist, sent an

email to over a dozen senior Monsanto scientists alerting them to the online release of this study.

In her email to Monsanto colleagues, she writes: “As you know RU [Roundup] is under pressure

in France particularly and the team needs talking points very quickly. We would need an issue

alert and response to the paper.” (MONGLY00987424)

        705.   Two days later, one of the recipients of the          alert, Donna Farmer, replies to

several of her colleagues: “As usual, the main objective of Seralini in this type of study is to

force us (and the regulators) to set long term studies with formulations and not only the active...”

        706.   Monsanto failed to provide the Parry Report to the EPA as required under 40 CFR

§ 159.158. This section of FIFRA spells out the information that must be submitted by

registrants:

        (a) General. Information which is reportable under this part must be submitted if the
        registrant possesses or receives the information, and the information is relevant to the
        assessment of the risks or benefits of one or more specific pesticide registrations
        currently or formerly held by the registrant. Information relevant to the assessment of the
        risks or benefits also includes conclusion(s) or opinion(s) rendered by a person who
        meets any of the following:
        (1) Who was employed or retained (directly or indirectly) by the registrant, and was
        likely to receive such information.
        (2) From whom the registrant requested the opinion(s) or conclusion(s) in question.
        (3) Who is a qualified expert as described in § 159.153(b).

        D. Monsanto Reliance on Ghost-writing

        707.   As used in this report, the term “ghost-writing” refers to three types of

contributions to a written document by a person not listed as the author, or among the co-authors

of a document: (1) producing the first and original draft of a document, or section(s) of a

document; (2) revising a document, or its section(s), in a way that adds to or alters the

substantive content of the document; and (3) providing information and text, either as original


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writing or text derived from an existing document, that is used by a listed author or co-author, or

document editor, to alter the content of a document and/or respond to comments made during

peer review.

         708.   Each of the above three types of ghost-writing are unethical and unacceptable in

the scientific and regulatory communities.

         709.   As part of Monsanto’s effort to discredit the Seralini paper and force its retraction,

Monsanto and its network of third-party experts, including Dr. Bruce Chassy, referenced the

Committee on Publication Ethics (COPE) “Ethical Guidelines for Peer Reviewers (Irene Hames

on behalf of COPE Council, March 2013, v.1, www.publicationethics.org), and shared it with

Wally Hayes, editor of Food and Chemical Toxicology, the journal that published the Seralini

study.

         710.   The COPE guidelines include that authors and/or reviewers must “declare all

potential conflicts of interest” and “recognize that impersonation of another individual during the

review process is considered serious misconduct.”

         711.   In multiple instances, Monsanto authors and reviewers failed to disclose obvious,

serious conflicts of interest in their interactions with journal editors. Multiple reviews were

submitted by one Monsanto scientist that were ghost-written, in whole or part, by others

“impersonating” the reviewer-of-record.

         712.   A 2005 editorial entitled “Ghost Writing Initiated by Commercial Interests”

appeared in the Journal of General Internal Medicine (Vol. 20:549). It begins by saying:

         “The integrity of the published record of scientific research depends not only on the
         validity of the science but also on honesty in authorship…The scientific record is
         distorted if the primary purpose of an article is to persuade readers in favor a special
         interest, rather than to inform and educate, and this purpose is concealed.”

         713.   Monsanto routinely and regularly ghost-wrote scientific papers published in peer-



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reviewed journals, reports, statements submitted to regulatory bodies, op-eds, letters to the

editor, promotional material, testimonials, and many other forms of written communications.

       714.    Ghost-writing, especially of the sort regularly conducted by Monsanto, is grounds

for immediate rejection of a submitted manuscript in accord with the disclosure policies of nearly

all reputable, peer reviewed journals.

       715.    If ghost-writing were discovered and proven after a paper passes peer-review and

is published, all reputable journals will demand a full, published explanation and disclosure of

the role of those who provided ghost-written material, and most reputable journals would retract

the paper.

       716.    The record in this case involves dozens of examples of ghost-writing by

Monsanto employees. Only a sampling of significant cases are addressed herein.

       1. Acquavella Calls Monsanto Out for Unethical Behavior

       717.    A clear example arose in the wake of the efforts by Monsanto to produce peer-

reviewed papers and make presentations at scientific meetings critical of the IARC Working

Group’s classification of glyphosate as a Group 2A “probable human carcinogen.”

       718.    William Heydens was organizing a group of Monsanto third-part experts and

consultants for the “Expert Panel Review of the Carcinogenic Potential of the Herbicide

Glyphosate,” to be held at the 2015 SRA Annual Meeting. (MONGLY01030787)

       719.    Via a November 3, 2015 email, he circulated the panel makeup to John

Acquavella and Larry Kier, individuals who had been involved in writing, and/or ghost-writing

the papers published in the special glyphosate issue of Critical Reviews of Toxicology published

in 2016.

       720.    John Acquavella replied about an hour later that his name should be in the author




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list, to which Heydens replies: “I thought we discussed previously that…we would not be able to

use you or Larry as Panelists/authors because of your prior employment at Monsanto.”

       721.    Just over an hour later, Acquavella responds to Heydens: “I didn’t realize that

Bill. Also, I don’t think that will be okay with my panelists. We call that ghost writing and it is

unethical.” (MONGLY01030787)

       722.    Heydens replied to Acquavella, writing: “We will have to pick this up tomorrow.”

The next day at 9:25 a.m., Heyden emails Acquavella, copying Donna Farmer, the Monsanto

scientist managing Acquavella’s consulting work. Heydens proposed a call later in the day.

Acquavella responds and sets 11:30 a.m. Arizona time for the call. And then he adds:

       “You guys know me. I can’t be a part of deceptive authorship on a presentation or
       publication. Please note the ICME guidelines below [which he attached to his email] that
       everyone goes by to determine what is honest/ethical regarding authorship.”
       (MONGLY01030787)

        2. Gary Williams et al 2000 Paper

       723.    In 2000, the peer-reviewed journal Regulatory Toxicology and Pharmacology

published a paper entitled “Safety Evaluation and Risk Assessment of the Herbicide Roundup

and Its Active Ingredient Glyphosate, for Humans” (Williams, GM, Kroes, R, Munroe, AC,

Volume 3, pages 117-165).

       724.    In a Powerpoint presentation done on December 10, 2010 by David Saltmiras, a

Monsanto toxicologist, this Williams et al (2000) paper was called “an invaluable asset” for

“Monsanto responses to agencies…Scientific affairs rebuttals…Regulatory reviews.” Later in the

same slide, Saltmiras states that “More current external expert publications are now needed to

support our FTO and Registration Reviews,” and poses a question that had come up before in

Gingerich’s speculation about an EPA Scientific Advisory Panel meeting (see paragraphs x-y):

“Will weight of evidence be measured by number of publications or quality of the science??”



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(emphasis in original, MONGLY02067858)

       725.    The paper emerged from a Monsanto commissioned and paid for project

undertaken by the consulting firm then known as Intertek Cantox

(http://www.intertek.com/scientific-regulatory-consultancy/).

       726.    Cantox commissioned and paid for Dr. Williams and Dr. Kroes to write a review

of the human safety of glyphosate and Roundup herbicides, and a Cantox employee Dr. Ian

Monroe served as a third, listed co-author.

       727.    Dr. Gary Williams was a professor in the Department of Pathology, New York

medical Center, Valhalla, New York. He had been a consultant to Monsanto in the past and was

well-known and trusted within the company.

       728.    Dr. Robert Kroes worked for ROTOX, University of Utrecht, The Netherlands,

and had worked with several Monsanto scientists stationed in Europe.

       729.    Dr. Ian Munro was an employee of Cantox Health Sciences International, the

consulting firm hired by Monsanto to produce several peer-reviewed journal articles on

glyphosate-based herbicides, in addition to Williams et al..

       730.    The Williams et al. (2000) paper is unusual in its breathe and detail. It covers 48

pages in the journal and strives to accomplish two goals.

       731.    First, it provides a summary of a significant, but strategically selective, portion of

the toxicology test results from Monsanto-commissioned studies done to fulfill regulatory data

requirements. In short, it restates Monsanto’s findings and conclusions, and spin, from company-

commissioned studies as submitted to regulatory authorities worldwide.

       732.    Second, the paper discusses scientific findings relevant to the risk characterization

and risk assessment of exposures to glyphosate and glyphosate-based herbicides. It directs




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special focus on papers in the peer-reviewed literature that the company regarded as inconsistent

with its conclusions with respect to glyphosate oncogenicity and the genotoxicity of formulated

glyphosate-based herbicides.

        733.    The paper’s “Purpose and Scope” section states:

        “Certain sectors of the scientific and nonscientific communities have commented on the
        safety and benefits of pesticide use. With this in mind, parts of this assessment address
        specific concerns that have been raised by special interest groups. This review will focus
        on technical glyphosate acid; its major breakdown product aminomethylphisphonic acid
        (AMPA); its Roundup formulations; and the polyethoxylated tallow amine surfactant
        (POEA).”

        734.    There is no financial disclosure statement in the paper.

        735.    To determine if a financial disclosure statement had been added, the journal’s

website was visited November 25, 2017, and a search was conducted for the Williams et al

paper. The search results were to this link:

http://www.sciencedirect.com/science/article/pii/S0273230099913715

        736.    The paper is now available for online purchase via the url in paragraph 361. The

abstract is available for no charge, and lists the three authors and their affiliations, but no

information is offered on who paid for the study, or the substantial role of Monsanto in writing

the paper.

        737.    The paper’s Acknowledgement statement reads in full:

        “The authors acknowledge the assistance of individuals who participated in the
        preparation of this document. First, we are grateful to those who gathered and made
        available the large amount of information used to write the manuscript for this document.
        Second, we thank the toxicologists and other scientists at Monsanto who made significant
        contributions to the development of exposure assessments and through many other
        discussions. The authors were given complete access to toxicological information
        contained in the great number of laboratory studies and archival material at Monsanto in
        St. Louis, Missouri, and elsewhere. Key personnel at Monsanto who provided scientific
        support were William F. Heydens, Donna R. Farmer, Marian S. Bleeke, Stephen J.
        Wratten, and Katherine H. Carr. We also acknowledge the participation and assistance of
        Douglass W. Bryant and Cantox Health Sciences International for scientific and logistical



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       support in the preparation of the final manuscript.”

       738.      The second point in the Acknowledgment statement credits “toxicologists and

other scientists at Monsanto who made significant contributions to the development of exposure

assessments and through many other discussions.”

       739.      “Significant contributions to the development of exposure assessments” refers to

methodological and/or data and statistical work done by Monsanto on exposure assessment, but

clearly does not encompass ghost-writing of the sections of the paper on exposure assessment.

       740.      The acknowledgement that Monsanto toxicologists and other scientists “made

significant contributions through…many other discussions” does not disclose, or even hint at

ghost-writing.

       741.      On the role of five “key personnel” at Monsanto, the authors state that their

participation and assistance entailed “scientific support,” a phrase that most scientists would

interpret to mean Monsanto provided access to data and other scientific information generated by

Monsanto.

       742.      Accordingly, this Acknowledgement statement is false, incomplete, and

misleading, because it fails to disclose the multiple, substantial instances of ghost-writing in the

paper as published.

       743.      William Heydens admitted in a 2015 email that Monsanto ghostwrote Williams

(2000) when discussing plans to ghostwrite an updated publication stating “...we ghost-write the

Exposure Tox & Genetox sections...we would be keeping the cost down by us doing the writing

and they would just edit & sign their names so to speak. Recall that is how we handled Williams

Kroes & Munro, 2000.” (MONGLY00977264)

       744.      In addition to Dr. Heydens admitting that he ghostwrote the article, Monsanto also




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documented the writing process for the Williams article showing that Heydens was responsible

for drafting the manuscript. (MONGLY02598454)




       745.      Heydens efforts were extensive, as he noted “I have sprouted several new gray

hairs during the writing of this thing...” (MONGLY0186926)

       746.      On June 18, 1999 at 3:18 pm, Douglas Bryant, a Cantox employee, sent a

“progress report” on “Roundup documents [papers in preparation by Cantox]” in an email to his

client and principle Monsanto contact, Lisa Drake. He copied two people: (1) William Heydens,

the senior Monsanto corporate official overseeing the Cantox project and similar “science

outreach” efforts, and (2) Cantox colleague and paper co-author Ian Munro.

       747.      On the subject of the Williams et al. paper on glyphosate health effects, Bryant

reports on the status of various reviews, including by co-author Kroes and Dick Peterson. He

writes: “Bill Heydens, Donna Farmer, Kathy Carr and all those at Monsanto have been helping

get the document through QA.”

       748.      If doing so simply entailed catching and fixing errors, such input would be

consistent with the acknowledged role in the paper played by Monsanto scientists and

toxicologists.

       749.      Bryant then outlines the final steps in the process prior to submission of the paper

to the journal: Bill Heydens completes the QA changes; sends edited and corrected version back

to Cantox to incorporate final comments by the internal-to-Monsanto and Cantox reviewers (e.g.

Peterson), and then the paper will be sent to the journal.

       750.      Twenty-seven minutes after the Bryant email was sent, Heydens sent this reply to


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Bryant and the other recipients of the original email. It was addressed to “All,” and states:

       “A clarification – there is one step missing – I will review the final manuscript with the
       reviewers comments incorporated (in revision mode so I can find them easily) before it is
       sent to the publisher. I will commit to conducting this review very quickly. Assuming the
       reviewers don’t throw any surprises (I’m especially thinking of Peterson), I can turn this
       back around with a very minimal investment of time.”

       751.    Three days later, on June 21, 1999, Heydens sends a two-line email to his

colleague Donna Farmer. The first line simply says “FYI,” and is obviously referring to his

forward of the Bryant email exchange of June 18th discussed above. The second line of his short

email to Donna Farmer states: “And Dougie [referring clearly to Bryant] thinks I would actually

leave the final editing to him unsupervised…”

       752.    This short quip to Farmer speaks volumes about the degree to which Monsanto

controlled the content of the Williams et al (2000) paper, and no doubt many other glyphosate-

related papers and communications that Monsanto has ghost-written to one degree or another

over the past 40 years.

       753.    The degree of Monsanto control over the content of the Williams et al. paper is

clear in a September 15, 1999 email from Heydens to his Monsanto colleagues Donna Farmer

and Stephen Wratten.

       754.    By September 15th, nearly-three months after the June 18, 1999 Bryant email

exchange, there had been multiple calls, exchanges of written material, and meetings between

Bryant and Cantox, and Monsanto regarding the content and finalization of the Williams et al

paper. (MONGLY00905085)

       755.    The September 15th email from Bryant to Heydens copies Lisa Drake and

Katherine Carr of Monsanto, but not any of the co-authors. It states that: (1) Bryant is sending a

revised draft of the paper to the three co-authors Williams, Kroes, and Munro today; (2) the draft




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manuscript includes “all the changes that were discussed today and during calls last week. Please

check it over to be sure that I have been thorough”; each co-author is asked “to complete his

review and respond so journal submission (Food and Chemical Toxicology) can be finalized for

September 30, 1999”; and, thanks everyone “for all your effort (undoubtedly there will be

more)…”

       756.    Later that same day, September 15, 1999, Heydens sends another short, cryptic

email to Donna Farmer and Stephen Wratten. This time he writes (exactly as in email): “FYI – in

case you want to see how it ended up (hopefully, that is! – I’ll strangle Kroes or Williams if they

ask for any re-writes!!) Bill”

       757.    By “it,” Heydens is referring to the pre-submission, near-final draft of the

Williams et al paper.

       758.    An honest submission of this paper to a peer-reviewed journal would have listed

several senior Monsanto scientists as the co-authors.

       759.    It is not clear in the record whether Munro made any substantive contributions to

the paper. In a July 30, 1999 email from Heydens to Munro, Heydens writes: “Everyone at

Monsanto has agreed with adding you as an author – please do so.” (MONGLY01869261)

       3. Williams et al 2012

       760.    In 2012, Monsanto commissioned another team to produce an updated review of

recent studies assessing the differential cellular toxicity of glyphosate and formulated Roundup

herbicides. This paper appeared in the Journal of Toxicology and Environmental Health, Part B

Critical Reviews (15(1): pages 39-96). The lead author was AL Williams (not Gary Williams),

and RE Watson and JM DeSesso were listed as co-authors.

       761.    Monsanto employee Donna Farmer made significant contributions to the




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manuscript, but was not listed as an author. In an email sending her workup of the manuscript to

DeSesso, Farmer states, “[a]ttached is the first 46 pages. I added a section in genotox from the

Gasnier study ...see a attached a critique we did that I took that from. Am working on a section

for Gasiner in the mechanistic section. Also we cut and pasted in summaries of the POEA

surfactant studies. Attached are more detailed summaries - see Knapp.” MONGLY00919381

       762.    In the draft manuscript attached to the email Donna Farmer’s name is edited out

as an author. (MONGLY00919400)




       763.    The co-authors conducted a detailed review of dozens of studies, and concluded:

       “An evaluation of this database found no consistent effects of glyphosate exposure on
       reproductive health or the developing offspring. Furthermore, no plausible mechanisms
       of action for such effects were elucidated. Although toxicity was observed in studies that
       used glyphosate-based formulations, the data strongly suggest that such effects were due
       to surfactants present in the formulations and not the direct result of glyphosate
       exposure.”

       764.    The 2012 review was critical of a set of five genotoxicity studies carried out by a

team of French scientist led by Dr. R. Belle.

       765.    In an effort to explain the substantial difference in the conclusions expressed by

Williams et al. (2012), in contrast to several published studies, a Letter to the Editor by Belle et

al. (2012, Toxicity of Roundup and Glyphosate, Vol 15: pages 233-237) states:

       “The authors [of Williams et al (2012] do not take into account in their interpretation of
       our results the very poor cell membrane permeability of pure glyphosate.”

       766.    In concluding their hard-hitting letter, Belle et al. write:



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        “Although we notice that Monsanto, the manufacturer of Roundup, financed their work,
        we would have expected strong scientific arguments against our results or alternative
        findings that would evidence the contrary. This is not the case, and, to our knowledge,
        our experiments, first published in 2002 and brought to Monsanto’s knowledge as early
        as 1999, have not been demonstrated to be incorrect or biased.”

        4. Kier and Kirkland 2013 Paper

        767.    In 2013, the journal Critical Reviews in Toxicology published a peer-reviewed

paper entitled “Review of genotoxicity studies of glyphosate and glyphosate-based formulations”

(Vol 43(4)). Two authors were listed -- Monsanto consultant and former employee, Larry Kier,

and Dr. David Kirkland, a professor and Monsanto consultant.

        768.    The abstract of the 2013 paper reports that it updates an earlier review of studies

on the genotoxicity of glyphosate and formulated glyphosate-based herbicides. This earlier

review was the Monsanto commissioned and ghost-written paper Williams et al. (2000)

discussed earlier.

        769.    The “Monsanto Manuscript Clearance Form” for the 2013 Kier-Kirkland

publication is dated 2/29/2012, and lists two authors: “David Saltmiras, Larry Kier (consultant).”

Under “Lead Author’s Comments,” Saltmiras (presumably) writes: “This work falls under the

scope of the EU Glyphosate Task Force and will be a valuable resource in future product defense

against claims that glyphosate is mutagenic or genotoxic.” (MONGLY02117600)

        770.    When published, the authors are listed as Kier and Kirkland. Saltmiras’s name is

deleted. Accordingly, the 2013 genotoxicity review paper is a partially ghost-written update of a

partially ghost-written 2000 review.

        771.    In the published version of the Lier-Kirkland 2013 paper, the “Declaration of

Interest” states:

        “Larry Kier and David Kirkland were paid consultants of the
        Glyphosate Task Force for the preparation of this review. The



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       Glyphosate Task Force is a consortium of 25 European
       glyphosate registrants, listed on http://www.glyphosatetask-
       force.org/. Larry Kier is also a past employee of Monsanto
       Company. Monsanto Company was the original producer and
       marketer of glyphosate formulations. The authors had sole
       responsibility for the writing and content of the paper and the
       interpretations and opinions expressed in the paper are those
       of the authors and may not necessarily be those of the member
       companies of the Glyphosate Task Force.”

       772.    Clearly, this “Declaration of Interest” is only partially truthful. Kier and Kirkland

did not write the paper; a third author, David Saltmiras, had contributed substantially to the

paper, but is not listed as a co-author (but his help is noted in the Acknowledgements).

       773.    The authors did not have sole responsibility for the content, and Monsanto,

through its consultants Kier and Kirkland, and employee Saltmiras, was largely responsible for

the content, not the Glyphosate Task Force. (MONGLY02145924-30)

       5. Critical Reviews of Toxicology Special Issue on Glyphosate Risks

       774.    One of the most egregious examples of ghost-writing in the record of this case is

the special issue put out by Critical Reviews of Toxicology (CRT). This special issue was

conceived and commissioned by Monsanto when the company learned that the International

Agency for Research on Cancer (IARC) would soon issue a monograph discussing the potential

of glyphosate-based herbicides to cause cancer.

       775.    In short, the contents of this entire special issue of CRT was a Monsanto-

controlled, and largely Monsanto-written rebuttal of the evidence cited by IARC in support of its

“probable human carcinogen” classification.

       776.    There are dozens of emails and other documents in the case record memorializing

the role Monsanto played in the conceptualization, writing, and publication of the papers in the

special issue of CRT.




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       777.    Many of the communications are between Monsanto scientists and individuals

working for the Canadian consulting firm Intertek. This firm was hired by Monsanto to put

together the papers that would appear in the special issue of CRT.

       778.    It is important to note that the consulting firm Intertek is basically the same

company that Monsanto hired in 1998 to manage the process of putting together the also-ghost-

written Williams et al (2000) review of glyphosate toxicity. Back then, the consulting firm’s

name was CanTox Intertek.

       779.    Intertek served as the primary mechanism through which ghost-written material

from Monsanto was incorporated in the drafts of the papers that were subsequently reviewed,

edited, augmented, and approved by the listed, non-Monsanto co-authors.

       780.     In addition, Intertek also served as the primary point of contact with the editor of

the journal CRT. This arrangement shielded the journal from evidence of Monsanto’s direct role,

not just an occasional ghost-writer of parts of some of the papers, but as the primary author of

several of them, and an important contributor to all of them.

       781.    MONGLY00998684 and other documents record how Monsanto drove the

selection of the papers to be included in the special issue.

       782.    MONGLY00998682 transmits William Heydens edits on the “Summary Report”

paper for the CRT special issue back to Ashley Roberts, Senior VP of the Food and Nutrition

Group at Intertek. Roberts served as the principle point of contact between Monsanto and

Intertek, and between Intertek and paper co-authors.

       783.    Throughout the review process, Roberts also was the primary point of contact

between the paper co-authors and the journal CRT.

       6. The Many Forms of Ghost-Writing – Monsanto Style




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       784.    The above cited examples of ghost-writing involve unattributed contributions to

papers in peer-reviewed scientific journals with explicit, usually clear conflict of interest and

disclosure rules that clearly prohibit ghost-writing.

       785.    But Monsanto deployed the same basic ghost-writing tactics in several other types

of written communication. A few of many examples in the record are briefly described below.

       786.    On August 19, 2008, Dr. Charles Healy, a senior Monsanto scientist, received an

email request from the Editor of the journal Cell Biology and Toxicology to review a glyphosate

genotoxicity paper entitled “Cytotoxicity of herbicide Roundup and its active ingredient,

glyphosate in rats.” (MONGLY02286842)

       787.    He accepted the assignment, and contacted his Monsanto colleagues David

Saltmiras and Donna Farmer later in the same day. He asked them to conduct the review,

explaining:

       “You two would be the reviewers in fact and I would then collate your comments and be
       the reviewer of record.”

       788.    In such a circumstance, it would have been entirely routine for Healy to write

back to the Editor and ask for permission to conduct the review with assistance from two

Monsanto colleagues who have deep expertise on the subject matter of the paper.

       789.    The Editor would have almost certainly approved Healy’s request, and thanked

him in advance for taking on the assignment.

       790.    But Healy’s decision to rely on ghost-writing in the case of this review is

evidence of a deep-set cultural inclination within the company to rely on ghost-written material,

even when there was no real reason to do so, nor anything to gain as a result.

       791.    The ghost-written Healy et al. review of the paper is nearly five pages, single-

spaced, and is about the same length of the paper when it was published about a year later. The



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Healy et al. review is brutal, rating the paper a 5 on a scale of 1 to 100 (100 top rating) and

unacceptable for publication.

       792.    On September 9, 2008, an email from the journal is sent to Healy stating: “I have

had completely opposite reviews on this paper. I would be very grateful for your comments

before giving the authors a decision.” Later the same day, Healy forwarded this message to

Saltmiras and Farmer, and adds: “Looks like ours will be the deciding vote as to whether the

glyphosate paper is published.”

       793.    A little over a year later, a revised version of the paper reviewed by Healy et al.

appeared in the journal Environmental Toxicology and Pharmacology (Vol 28:379-385). The

author is Nahla S. El-Shenawy.

       794.    Rising concerns over Roundup herbicide human health effects in Latin America

led to a Toxicology Expert Panel meeting in October 2012. David Saltmiras was charged with

putting together an invited, expert panel for the meeting. A seminar on the history and activities

of the EU Glyphosate Expert Advisory Panel was among the presentations Saltmiras was

organizing.

       795.    In an August 13, 2012 email, Saltmiras shares with colleagues that he will invite

Sir Colin Berry or Jack Mandel to do the seminar, and adds that “I will likely prepare the

presentation and send to him to change/adapt as he sees fit.”

       796.    David Saltmiras engaged in an email discussion on January 26, 2013 with

Monsanto-consultant and former employee Larry Kier over whether Saltmiras should be added

as a co-author of Kier and Kirkland (2013), since he wrote a significant portion of the paper.

Saltmiras tells Kier that he had been strongly encouraged by “Senior Monsanto management” to

author some peer reviewed publications, and that this Kier and Kirkland paper “is the fifth such




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Glyphosate related manuscript I have been involved with over the past few years without co-

authorship.”

       797.




       798.    As part of his 2015 performance evaluation, Saltmiras summarized his

glyphosate-related activities, which included “ghost wrote cancer review paper Greim et al.

(2015), coord Kier (2015) update to K&K, pushed for Sorahan (2015).” (MONGLY017223742)


       D. Attacks on Scientists or Organizations Producing Adverse Data on
       Glyphosate

       1. Intimidation of IARC Working Group Members

       799.    Dr. Consolato Maria Segi, a professor at the University of Alberta, Canada, was a

member of the IARC Working Group that carried out the assessment of the oncogenicity of

glyphosate.

       800.    After the release of IARC Monograph 112 and announcement of the 2A

classification, Dr. Sergi received a letter dated October 31, 2016 from a U.S. based law firm,

Hollingsworth LLP. This firm had been hired by Monsanto to carry out various activities in

response to the IARC decision. Apparently, several other, if not all of the other IARC Working

Group members received a similar letter.

       801.    According to Dr. Sergi’s response dated November 4, 2016, the law firm’s letter



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requested “disclosure of files used in connection with the preparation of the IARC Monograph

Volume 112.” Prior to responding, she consulted with colleagues on the Working Group and

IRAC.

         802.   She replied that the files belonged to IARC, and the result of their deliberations

were explained in detail in the monograph. She then wrote:

         “I found your letter intimidating and noxious even though transparency is important…It
         is impolitic to mention possible consequences without identifying the correct
         background. I find your approach reprehensive and lacking of common courtesy even by
         today’s standards. As a graduate of a British educational system, I consider your letter
         pernicious, because it maliciously seeks to instill some anxiety and apprehension in an
         independent group of experts…Please avoid contacting me or any of my colleagues in the
         future regarding this issue.” (Emphasis in original; Heydens Exhibit 3-54)

         2. Seralini Team

         803.   On September 19, 2012, a team of French scientists led by Gilles-Eric Seralini

published a paper entitled “Long term toxicity of a Roundup herbicide and a Roundup-tolerant

genetically modified maize” in the journal Food and Chemical Toxicology (Vol 50: 4221-4231).

         804.   The paper reported the results of a two-year rat study. Both formulated Roundup

herbicide and GE-corn, fed separately and together, were found to trigger a variety of

pathologies including cancer, damage to the pituitary gland, liver, and kidneys, and premature

death.

         805.   The kidney emerged as a particularly vulnerable organ, given that 76% of the

impacted parameters were associated with kidney deficiencies.

         806.   The abstract ends with this statement:

         “These results can be explained by the non-linear endocrine-disrupting effects of
         Roundup, but also by the overexpression of the transgene in the GMO and its metabolic
         consequences.”

         807.   The Seralini study was the first, independent two-year rat feeding study designed




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to sort out the individual and combined impacts of long-term exposure to a GE corn (NK603)

and formulated Roundup herbicide. Previously, Seralini and colleagues had conducted several

genotoxicity experiments comparing the toxicity of glyphosate and formulated Roundup in cell

assay systems.

        808.     The paper’s findings received extensive media coverage in the U.S. and Europe,

and posed a significant threat to Monsanto’s commercial interests, as well as a major challenge

for regulators who had approved both Roundup and GE corn.

        809.     The next day, September 20th, David Saltmiras sent an email to Sir Colin Barry

and Andrew Cockburn, a consultant working for Monsanto. It marks the beginning of a

campaign that would last years, with the goal of discrediting the Seralini paper and team.

        810.     In the email, Saltmiras calls the paper “junk science,” questions what happened

with the journal’s peer review process, and states: “I also suspect this paper may be in our own

best interests – the last rites for Seralini’s few remaining shreds of scientific credibility.”

(MONGLY01096620)

        811.     Regardless of the merits and faults of the paper, the rapidity and scope of negative

commentary, beginning on the day the paper was released, was virtually unprecedented.

        812.     A week after the paper’s release, a Monsanto-funded, retired academic in the

U.S., Dr. Bruce Chassy, emailed the journal editor Wallace Hayes calling for the paper to be

retracted, in order to save the reputation of the journal. (MONGLY00900629)

        813.     After Hayes responds and says he will process Chassy’s email as a letter to the

editor, and give the Seralini team an opportunity to reply in accord with standard journal policy,

Chassy quickly replies and writes that his initial email “was a heartfelt expression by a caring

colleague who is deeply concerned…My intent was to urge you to roll back the clock, retract the




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paper, and restart the review process.” Then, Chassy alleges that “The paper in question has not

been peer reviewed,” a claim which he no doubt knew was false.

       814.    In the coming weeks and months, Monsanto encourages and helps orchestrate a

series of progressively more critical commentaries, that soon include allegations of scientific

fraud by the Seralini team.

       815.    A remarkable exchange of emails between senior Monsanto officials and

scientists occurs on September 26, 2012. Saltmiras starts the email chain at 11:50 a.m., which is

sent to seven colleagues, including Eric Sachs, Bill Heydens, Bruce Hammond, and Daniel

Goldstein.

       816.    In the email, he reports on a call he had earlier that morning with the journal

editor, Wallace (Wally) Hayes. Saltmiras writes:

       “He [Hayes] expressed concern that to date he has only received links to blogs, web
       postings, media releases, etc. and no formal letters to the Editor…Therefore, he urgently
       needs rational, objective and authoritative formal letters to the Editor….I believe he
       would like such letters TODAY!” (Emphasis in original, MONGLY02063095-96)
       817. Among “Actions” Saltmiras lists in his email, he reports that he has emailed the

EU Glyphosate Task Force (GTF) Toxicology Working Group about the GTF submitting a

letter; that Eric Sachs (Monsanto’s head of Regulatory Policy & Scientific Affairs) will follow-

up with “his third party scientific experts…and request they consider formal letters to the

Editor.” Last, Saltmiras asks for his colleague’s “thoughts on promptly moving forward.”

       818.    Eric Sachs responds 13 minutes later, reporting that Bruce Chassy will soon

submit his letter to the journal, and “notify other scientists that have sent letters [to media outlets

or Monsanto] to do the same. He understands the urgency.”

       819.    Fifteen minutes later, Heydens replies to the group: “And I very strongly believe

we must go ahead and put together a Monsanto letter to the editor…”




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        820.     At 12:22 p.m., four minutes after Heydens email, Eric Sachs writes to the group:

“I remain adamant that Monsanto must not be put in the position of providing the critical

analysis that leads the editors to retract the paper.” (MONGLY02063096)

        821.     Heydens replies privately to just Sachs 10 minutes later:

        “This [Sachs’ recommended role for Monsanto] makes no sense to me at all. We have
        defended our science every step of the way since our 1st encounter with him [Seralini].
        That fact remains that the external sector has not given us what we need, and the editor is
        telling us it is the 11th hour…”

        822.     Then Sachs replies just to Heydens 16 minutes later:

        “I am not challenging that Monsanto should defend our science – we absolutely should
        and have. There is a difference between defending science and participating in a formal
        process to retract a publication that challenges the safety of our products. We should not
        provide ammunition for Seralini, GM critics and the media to charge that Monsanto used
        its might to get this paper retracted. The information we provided clearly establishes the
        deficiencies in the study as reported and makes a strong case that the paper should not
        have passed peer review. We have done our part. It is time now for the public sector and
        especially our network of experts to do theirs.” (MONGLY02063095-96)

        823.     In this exchange, Sachs argues that Monsanto must not be perceived as

orchestrating and supporting a campaign that is designed to force the journal to retract the

Seralini paper, but that is essentially what they did, beginning with the sharing of Monsanto-

written criticisms of the Seralini study, before its public release, to a number of its third-party

experts who were quoted in various media stories, and/or wrote blogs, commentaries, and letters

to the editor.

        824.     Two days later, in an email from Daniel Goldstein to Sachs on the effort to

encourage letters to the editor, Goldstein writes to Sachs: “We are being asked to keep internal

correspondence down on this subject.” (MONGLY00936725)

        825.     In early October, Goldstein shared notes from conference calls with Monsanto

scientists and registration specialists in Asia/Pacific the Americas/Europe/Africa with dozens of




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colleagues regarding the fallout from the Seralini study. It includes “A list of pending actions in

St. Louis is provided below.” (MOMGLY00978885-90)

        826.    These actions and “Key Points” cover Monsanto efforts to support the retraction

campaign; studies that Monsanto should consider undertaking to have a basis to challenge the

findings in the Seralini paper; and, rebuttal arguments and related talking points to share with

regulators trying to determine whether and/or how to react to the Seralini paper’s explosive

findings.

        827.    Then Goldstein writes: “c. And finally – the one [new study that Monsanto should

consider doing] you have all been waiting for: 2 year rat/chronic studies of pesticide

formulations on crop.”

        828.    The Monsanto letter to the Editor of Food and Chemical Toxicology appeared

[date]. It spanned six pages of text in the journal; the original Seralini paper was 11 pages, of

which about 4.5 pages were tables, figures, and photos. The Monsanto letter was signed by three

Monsanto scientists: Bruce Hammond, Daniel Goldstein, and David Saltmiras.

        829.    Remarkably, the authors of the letter write “The authors declare that there are no

conflicts of interest” in the section of the letter labeled “Conflict of Interest,” when in fact it is

hard to imagine how three authors could be more directly conflicted.

        830.    On November 19, 2013, Food and Chemical Toxicology Editor Wallace Hayes

wrote Seralini a letter informing him his paper would be retracted. The letter included the

retraction statement that Hayes was going to publish. It recounts the controversy, the letters to

the editor, “and even allegations of fraud.”

        831.    Then, Hayes writes:

        “Unequivocally, the Editor-in-Chief found no evidence of fraud or intentional
        misrepresentation of the data…Ultimately, the results presented (while not incorrect) are



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       inconclusive, and therefore do not reach the threshold of publication in Food and
       Chemical Toxicology.”

       832.    The retraction of a scientific paper for reporting inconclusive results is extremely

rare, and if such a test for conclusiveness of results were adhered to consistently, the number of

published papers would be dramatically reduced.

       833.    The real reasons for the retraction of the Seralini paper, in my opinion, were the

economic threat the paper’s findings posed to two of Monsanto’s most profitable products (GE

corn, Roundup), and the orchestrated retraction campaign carried out by Monsanto’s network of

third party experts. “Inconclusive results” was, in short, a lame excuse, but apparently the best

that Wally Hayes could come up with.

       E. The IARC Bombshell
       834.    The International Agency for Research on Cancer (IARC) released a summary of

its Working Group report on glyphosate and glyphosate-based herbicides via a short report

published in the May 2015 issue of The Lancet Oncology, a highly regarded medical journal. The

full Working Group monograph was published on January 26, 2917

(http://monographs.iarc.fr/ENG/Monographs/vol112/mono112.pdf).

       835.    The key, concluding section of the full monograph discussing the basis for the

Working Group’s classification decision states:


       “6.3 Overall evaluation

       Glyphosate is probably carcinogenic to humans (Group 2A).

       6.4 Rationale

       In making this overall evaluation, the Working Group noted that the mechanistic and
       other relevant data support the classification of glyphosate in Group 2A.




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       In addition to limited evidence for the carcinogenicity of glyphosate in humans and
       sufficient evidence for the carcinogenicity of glyphosate in experimental animals, there is
       strong evidence that glyphosate can operate through two key characteristics of known
       human carcinogens, and that these can be operative in humans. Specifically:

       • There is strong evidence that exposure to glyphosate or glyphosate-based formulations
       is genotoxic based on studies in humans in vitro and studies in experimental animals.

       One study in several communities in individuals exposed to glyphosate-based
       formulations also found chromosomal damage in blood cells; in this study, markers of
       chromosomal damage (micronucleus formation) were significantly greater after exposure
       than before exposure in the same individuals.

       • There is strong evidence that glyphosate, glyphosate-based formulations, and
       aminomethylphosphonic acid can act to induce oxidative stress based on studies in
       experimental animals, and in studies in humans in vitro. This mechanism has been
       challenged experimentally by administering antioxidants, which abrogated the effects of
       glyphosate on oxidative stress. Studies in aquatic species provide additional evidence for
       glyphosate-induced oxidative stress.”

       1. Placing the IARC Classification in Perspective

       836.    Monsanto had hoped that the IARC Working Group would classify glyphosate

and glyphosate-based herbicides in Group 4 (“The agent is probably not carcinogenic to

humans”), or at least in Group 3 (“The agent is not classifiable as to its carcinogenicity to

humans”).

       837.    But since Monsanto scientist Tom Sorahan had been among the invited, industry

observers at the public meetings of the Working Group, the company was aware of the Working

Group’s likely judgements in the key areas that drive IARC determinations – animal testing,

human epidemiology, and genotoxicity/possible mechanism(s) of action.

       838.    Given that the IARC classification system is clearly explained and is driven by

the strength of evidence these three areas, Monsanto had a reasonably firm basis for projecting



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that the ultimate Working Group classification decision, would be either a 2B classification

(“possible human carcinogen”) or a 2A classification (“probable human carcinogen”) was

possible, if not the most likely outcome. A memo prepared in advance of the meeting stated

“We should assume and prepare for the outcome of a 2B rating (possible human carcinogen); a

2A rating (probable human carcinogen) is possible but less likely.” MONGLY02913526

        839.      In the spring of 2015, I was among many scientists awaiting the IARC decision

on glyphosate and the Working Group’s report. When I learned of the Group 2A, “probable

human carcinogen” classification, I was very surprised, since I had expected a Group 2B

classification.

        840.      I read with interest the membership of the Working Group, which was chaired by

Dr. Aaron Blair. I had met Dr. Blair in 1982 or 1983, when he was invited to give Congressional

testimony on behalf of the National Cancer Institute (Blair’s employer) on cancer-causing

pesticides to the Department Operations, Research, and Foreign Agriculture Subcommittee

(DORFA), of the House Committee on Agriculture. From 1981-1983, I served as the staff

director of the DORFA Subcommittee.

        841.      Over the years, I remained in touch with Dr. Blair, sought his advice on scientific

matters, and considered him a professional colleague. To me, the Working Group’s 2A

classification decision was unexpected, and bound to trigger a strong response from Monsanto,

other glyphosate-based herbicide registrants, and farmers choosing to grow GE crops reliant on

Roundup herbicides. It would also have significant regulatory ramifications.

        842.      To better understand the thinking of the Working Group, I called Dr. Blair and

had a phone conversation with him on or about March 22, 2015. He outlined the factors leading

to the Working Group’s decision, and said both the Working Group and IARC had anticipated




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the strong reactions that had already started to appear in media stories and various blogs.

        843.    In response to a question I asked about how strong the support was in the

Working Group for the 2A classification, Dr. Blair told me that as the Working Group

approached a final decision, the most extended debate was not between a 2A (“probable”) or 2B

(“possible”) human carcinogen classification, but actually between a Group 1, “The agent is

carcinogenic to humans” and a Group 2A classification (“The agent is probably carcinogenic to

humans”).

        844.    Again, this was shocking information.

        845.    I suspected that the focus of the internal debate within the Working Group would

eventually become public knowledge, and when it did, it would place the Working Group’s 2A

decision in a substantially different light.

        846.    The fact that the Working Group almost classified glyphosate as a Group 1

carcinogen did become public knowledge as a result of an Andrew Cockburn story in the

September 2015 issue of Harpers Magazine. The story was entitled “Weed Whackers –

Monsanto, glyphosate, and the war on invasive species”

(https://harpers.org/archive/2015/09/weed-whackers/).

        847.    Cockburn’s story labels the IARC classification “a massive speed bump”

undercutting Monsanto’s ‘mantra…all labeled uses of glyphosate are safe for human health’…”

        848.    To gain perspective on the IARC Working Group’s assessment of the science,

Cockburn interviewed Aaron Blair. The germane passage in Cockburn’s story reads:

        “According to Blair, there were good grounds to declare that glyphosate definitely causes
        cancer [i.e., to classify it as a Group 1, proven human carcinogen]. This did not happen,
        he said, because ‘the epidemiologic data was a little noisy.’ In other words, while several
        studies suggested a link, another study, of farmers in Iowa and North Carolina, did not.
        Blair pointed out that there had been a similar inconsistency in human studies of benzene,
        now universally acknowledged as a carcinogen. In any case, this solitary glitch in the data



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       caused the group to list glyphosate as a probable (instead of a definite) cause of cancer.”

       2. Monsanto’s Preparation for the IARC Report and Classification

       849.    In mid-September 2014, Donna Farmer, a senior Monsanto toxicologist, learned

of the forthcoming IARC review of the oncogenicity of glyphosate and glyphosate-based

herbicide, and began developing a plan to respond to the forthcoming report.

(MONGLY01207339)

       850.    A month later, William Heydens sent an email to Monsanto colleagues including

       , Farmer,        , Koch, and Saltmiras, in which he asked: “…wouldn’t an adverse IARC

evaluation have the real potential to impact the results of the Annex 1 renewal [re-registration of

glyphosate in the EU].” Then, he also notes:

       “And while we have vulnerability in the area of epidemiology, we also have potential
       vulnerabilities in the other areas that IARC will consider, namely, exposure, genotox, and
       mode of action.” (MONGLY00989918)

       851.    In November 2014, a consulting agreement was completed between former

Monsanto epidemiologist John Acquavella and Monsanto at $400 per hour, with Donna Farmer

as the principle point of contact. (MONGLY01224009)

       852.    A December 17, 2014 email from Kimberley Link in Monsanto’s

communications division to Daniel Goldstein discusses the need to identify third-part voices. It

reports that Monsanto has hired Potomac Communications to place favorable op-eds, targeting

the Washington Post and USA Today, and a potential plan to approach officials in the American

Academy of Pediatrics to find someone to serve as “high profile author.” (MONGLY01021656)

       853.    A document dated 2/15/15 describes “Glyphosate Key Points Following IARC

Decision,” and was developed by a Heydens-Farmer-Saltmiras led team preparing for the release

of the IARC decision. In the event that IARC assigns glyphosate-based herbicides “an




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unfavorable 2B classification,” the company set forth a plan that would hopefully generate an

“orchestrated outcry” after the March 3-10, 2015 IARC working group meeting when,

presumably, the final classification decision would be made.

       854.    The plan set forth seven “Key Industry Points” critical of the feared, 2B

classification. (MONGLY01021709-11) Seven more talking points for “Academics” are

outlined, and include:

              “IARC has done a disservice by creating baseless fears with a cancer rating for
               glyphosate, and the confusing classification is certainly open to distortion by
               alarmists”;
              The IARC decision “was predictable and political”; and
              “Government regulators remain reassuring about the potential risks.”

       855.    On February 19, 2015 William Heydens sent an email to Donna Farmer, copied to

Koch, Saltmiras, and Hodge-Bell, on the subject “RE: IARC Planning.” The email describes “the

next two most important things that we need to do…” These were a meta-analysis of

epidemiology studies, and a re-assessment of Agricultural Health Study data that established a

weak link between use of a glyphosate-based herbicide and multiple myeloma.

(MONGLY00977267)

       856.    Heydens goes on to describe possible approaches to generate peer-reviewed

journal articles counteracting the IARC classification. He writes that:

       “If we went full-bore, involving experts in all major areas (Epi, Tox, Genotox, MOA
       [Mechanism of Action], Exposure – not sure who we’d get), we could be pushing $250k
       or maybe even more. A less expensive/more palatable approach might be to involve
       experts only for areas of contention, epidemiology and possibly MOA…and we ghost-
       write the Exposure Tox & Genotox sections. An option would be to add Greim and Kier
       or Kirkland to have their names on the publication, but we would be keeping the cost
       down by us doing the writing and they would just edit & sign their names so to speak.
       Recall that is how we handled Williams Kroes & Munro, 2000.” (MONGLY00977267

       857.    The “option” laid out in Heydens email is essentially what Monsanto did in the

course of developing the papers that were published September 28, 2016 in a special, glyphosate-


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safety issue of the journal Critical Reviews of Toxicology.

       858.    In a detailed, internal document dated February 23, 2015, Monsanto describes its

multi-faceted plan for responding to the IARC decision due to be announced in about two weeks.

It provides background on IARC, and states, for example,

       “IARC has a history of questionable and politically charged rulings on the carcinogenic
       properties of products such as cell phones, coffee and caffeine. We should assume and
       prepare for the outcome of a 2B rating (possible human carcinogen); a 2A rating
       (probable human carcinogen) is possible but less likely.” (MONGLY02913526)

       859.    Attachment A to this document sets forth the “Objectives for Preparedness &

Engagement” in Monsanto’s response to the IARC decision. The two-bulleted items read:

              “Protect the reputation and FTO of Roundup by communicating the safety of
               glyphosate”; and
              “Provide cover for regulatory agencies to continue making re-registration
               decisions based on science.”

       860.    Under “Strategies/Tactics” to achieve the above stated objectives, the Attachment

A document states, under the heading “Post-IARC”: “4. Orchestrate Outcry with IARC Decision

~ March 10, 2015.” (MONGLY02913530)

       861.    The introductory section of the full, 2/13/15 document states that: “Regulatory is

not aware of a situation where a regulatory body took a different position than IARC.”

(MONGLY02913526)

       862.    The “Key Deliverables” section outlines 24 items and actions, organized by

milestone date (pre-IARC decision; week of Feb. 23-27; Post-Decision/Posting, etc). These

include:

              Engage Henry Miller, “Inoculate/establish public perspective on IARC reviews”
               (Miller produced a hard-hitting Forbes piece the day of the release of the IARC
               decision);
              Blog posts;
              Outreach to EPA/IARC participants;
              Contact journals to inquire about press releases, for “amplification of scientific


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               studies (a Saltmiras task, which went badly awry);
              “Inform/Engage Industry Associations”, with the objective “Lead voice in ‘who is
               IARC’ plus 2B outrage”; and
              Post-release of decision, “Outreach to key stakeholders,” including grower
               groups, in order to “Neutralize impact of decision/gain support.

       863.    A March 17, 2015 email is sent from Eric Sachs, head of Monsanto’s public

affairs and outreach efforts, to Henry Miller, a long-term, glyphosate-friendly member of

Monsanto’s third-party network. In it, Sachs forwards to Miller a Monsanto/Potomac

Communications-written draft of Miller’s op-ed for Forbes.

       864.    Five days earlier, Sachs had emailed Miller to ask him if he would be willing to

write more on the IARC decision, to which Miller replied: “I would be if I could start from a

high-quality draft.” (MONGLY02063615)

       3. Monsanto Selects Donna Farmer to be a Key IARC-Response Spokesperson

       865.    On February 25, 2015, Donna Farmer received an email from Kimberley Link

informing her that “you have been selected as one of the primary spokespersons for the company

to defend glyphosate.” (MONGLY01210309)

       866.    Michael Koch, a senior official and part of Monsanto’s communications team,

emails Farmer seven minutes later to “discuss” this new role for Farmer in the IARC response,

and writes that “In the short term I think you are the right ‘fix’.”

       867.    A flurry of emails then address how to rapidly gear up the third-party expert

response, in support of Monsanto’s critical reaction to the expected IARC 2B classification of

glyphosate (MONGLY01021648)

       868.    The communications team asks Dan Goldstein several times to identify experts

that are vetted, and prepared to say and write messages aligned with Monsanto’s position. Such

third-party experts would work with Farmer, and are needed so that the communications team




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and Potomac Communications can move ahead with writing and placement of favorably, largely

ghost-written op-eds.

       869.    Goldstein replies in a remarkable email sent 2/23/15:

       “I realize that a non-paid individual would be preferred – but I do not know anyone who
       has kept up with this in their ‘spare time’ as a toxicologist and one needs to be mighty
       prepared if one wishes to feel comfortable arguing with IARC.” (Emphasis added)

       870.    Goldstein estimates that a new expert would need “a good 10 hours of work in

this, at $200 per hour” to accomplish the task.

       871.    On February 23, 2015, Kelly Clauss, another person working on Monsanto’s

IARC outreach and media response, emails Goldstein with a list of experts to engage in the

response effort, and for work with Potomac Communications. Five epidemiologists are

identified, and were listed in the email in order of “most to least familiar with published studies

and data [the focus of IARC’s work].” The scientists identified in her ordered list are:

                            , University of Birmingham (was an invited observer at the IARC
               meeting);
              Pam Mink, Emory University (did one review on glyphosate-cancer studies, one
               on non-cancer issues, both paid for by Monsanto);
              John Acquavella, former Monsanto employee, now retired and consulting with
               Monsanto;
              Elizabeth Delzell, University of Alabama-Birmingham; and
              Nalini Sathiakumar, University of Alabama-Birmingham (works with Delzell).

       872.                     replies to the list, and writes that “               knows

glyphosate but his contract, FCPA etc have expired so that would take 6 weeks to sort out.”

       873.    A few days later, on February 26th, Donna Farmer responds to the now lengthy

email chain on the Subject “RE: URGENT: Draft email for experts to help with IARC.” She

begins her response to Goldstein and the communications team (Carlo Lord, Kelly Clauss and

Kimberley Link) with this sentence: “Help me understand why these folks were selected and

who is Potomac?”


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       874.    On February 27, 2015, now less than two weeks before the IARC decision, Carla

Lord responds to Farmer and others on the email chain, with a remarkably clear explanation of

the plan outlined earlier in the IARC response document:

       “Donna,

       Thanks and I’m sorry. I didn’t realize until now that you were not on the original email
       string (included below). Potomac is a media house that is writing op-eds and letters to
       editors in response to negative press surrounding glyphosate. These would be ‘authored’
       by those on the list then placed by Potomac in media where needed. Potomac writers
       would do the heavy lift with the expert authors as final editor. We know these items in
       the media need to be from those outside the industry.” (MONGLY01021648)

       875.    On March 14, 2015, four says after the end of the Working Group meeting and six

days before the March 20th release of the embargo on the decision and publication of the results

of the IARC review in The Lancet Oncology, Donna Farmer reported that a Monsanto colleague

was on a CropLife Americas (CLA) call (pesticide industry trade association), and that an EPA

representative, Jess Rowlands, announced the IARC decision to classify glyphosate as a Group

2A carcinogen. (MONGLY00977253)

       876.    Farmer’s 3/14/2015 email was sent to                , Monsanto’s invited observer

at the meeting, and other Monsanto colleagues including                   ,                , and

William Heydens. These individuals were most directly involved with the IARC meeting. In the

email, Farmer restates several of the plans and talking points in the IARC response plan

document. She closes it by writing: “We know it must have been a challenging week for all of

you to try to keep the assessments based on sound science…”

       877.            , the invited observer at the IARC Working Group meeting that

represented Monsanto, replies to Farmer and others on the email chain:

       “I do know of instances where observers at IARC felt they had been treated rudely or
       brusquely at Monograph meetings. That was not the case for me at Vol. 122 [the one
       containing the glyphosate review and classification]. I found the Chair, sub-chairs and



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       invited experts to be very friendly and prepared to respond to all comments I made…In
       my opinion the meeting followed the IARC guidelines.                   , the Director of
       the Monographs programme, has an intimate knowledge of the IARC rules and insists
       they were followed.”

       4. “Why Do More?”

       878.    In the weeks and months after the release of the IARC decision, the nature and

scope of Monsanto’s “response” activities expand. There is a discernable sense of urgency.

       879.    Another Monsanto internal document circulated in April 2015 with the title

“IARC Follow Up.” Unlike all pre-decision planning documents, Monsanto is now dealing with

the very serious Group 2A “probable human carcinogen” classification. The goals, activities,

and work products is this document include:

              “Invalidate relevance of IARC”;
              “Protect regulatory FTO [Freedom to Operate]”;
              “Litigation prevention/defense”;
              “Protect Sales Globally”; and
              “Compilation of 3rd Party Statements in defense of glyphosate.”
               (MONGLY03316369-71)

       880.    About the same time, John Acquavella sends an email to Donna Farmer. In it, he

discusses IARCs assessment and final judgements on the epidemiology data. He writes:

       “IARC’s classification of the epidemiology evidence follows directly from their
       definition of ‘limited’ [evidence]. There is not really much to quarrel about with respect
       to the epidemiology classification.” (AcquavellaPROD00010215)

       881.    A draft Powerpoint entitled “Proposal for Post-IARC Meeting Scientific Projects”

dated May 11, 2015, is circulated internally in preparation for a meeting. It begins by asking

“Why do more?” in large letters, and then lists these reasons:

              “Severe stigma attached to Group 2A Classification”;
              Aaron Blair continues to defend work & exaggerate number of studies
               w/association while ignoring AHS”;
              “In response to our critique, can expect IARC to beef-up monograph as much as
               possible”;
              ASTDR;


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              Prop 65 [California State law requiring labeling of oncogenic products]; and
              Litigation support. (MONGLY01228577)

       882.    Several new projects and scientific papers are outlined, nearly all to be authored

by third-party experts. But in order to increase credibility and lower costs, “Majority of writing

can be done by Monsanto.”

       5. Producing the CRT Special Issue on Glyphosate Toxicity

       883.    Most of the internal documents and emails setting forth possible post-IARC

actions include discussion of the need for new, Monsanto-commissioned and controlled peer-

reviewed papers providing Monsanto’s critique of the basis of IARC’s decision, and/or critical

reviews of the findings and conclusions advanced by other scientists not adequately aligned with

Monsanto’s positions and messaging.

       884.    From the fall of 2014, about six-months before the release of the IARC decision,

to mid-2015 (about 4 months after the release of the decision), these discussions led to a plan to

convene a “Glyphosate Expert Panel Review” of the scientific basis for IARC’s classification of

glyphosate as a probable human carcinogen (Group 2A).

       885.    The “Expert Panel” idea was eventually adopted, funds were committed, and the

plan implemented, starting in late-June 2015. The panel would meet, discuss the issues, and

produce a set of papers suitable for publication.

       886.    A detailed proposal describing several options for moving forward was presented

to the “Glyphosate Strategy Team Meeting” on June 18, 2015. (Acquavella Exhibit 10-27;

MONGLY03500777)

       887.    “Approach A” would entail an Expert Panel that “consists primarily of people we

have worked with already…they have some/much knowledge…[and this approach would have]

Lowest cost (est. $200-250k), but also lowest credibility/impact.”


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       888.    “Approach B” would be to add “a few ‘big name’ scientists & possibly some

who have not worked for Monsanto before (more credibility)… hire a firm (Intertek, formerly

CanTox) to manage the meeting…Cost estimate - $350-400k.”

       889.    “Approach C” takes another step toward “credibility/impact” and would include

hiring a well-respected risk assessment firm (presumably Intertek did not fall in this category

based on Monsanto’s assessment), in order to:

        “set up a totally independent review: they choose scientists, conduct meeting, write the
       report…Most credibility/impact but we have virtually no control…Cost estimate - $375-
       450k.”

       890.    Approach B was the recommended path forward advanced during the meeting,

and the one adopted. In fleshing out the plan, the document states: “Monsanto provides draft

report which Experts edit & then publish…Use journal with quick review time…Negotiate for

expedited review with journal editor.”

       891.    A “Backup Slide” provides an even more detailed “Summary of Overall Process”

and individual actions/steps include:

              “Review IARC Monograph to identify all areas that need to be addressed”;
              “Prepare initial draft document”;
              “Edit draft manuscript to capture meeting discussion/conclusions”;
              “Send draft manuscript to Experts for their review”;
              “Send manuscript to journal for review”;
              “Revise manuscript per comments from journal”; and
              “Re-submit [papers] & get final approval from journal.”

       892.    In other words, in Approach B, Monsanto would control every step of the process,

from producing an initial draft of the report/papers, to managing the revision of the draft in

response to the meeting of the experts, making and/or approving final edits prior to submission to

a journal, and managing/approving any changes made in response to peer-review comments.

       893.    This “Backup” slide failed to include two other key responsibilities Monsanto



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clearly reserved to itself – (1) deciding which names would appear on each published paper, and

(2) deciding on what information would be provided to the expert panel and teams of co-authors.

       894.    The first task – deciding the list of co-authors on various papers -- ended up

creating many problems and challenges for Monsanto and its scientific staff, its hired third-party

experts/co-authors, and the journal to which Monsanto-controlled papers were submitted for

publication.

       895.    A February 8, 2016 exchange between Monsanto consultant and CRT paper co-

author John Acquavella and Intertek’s Ashley Roberts focuses on the difficulty Intertek,

Monsanto, and the third-party expert co-authors were having in reaching a consensus on who

would be the listed as the author or co-authors on summary paper in the CRT special issue.

       896.    Both Acquavella and Roberts wanted the entire expert panel to sign the summary

report. But Acquavella tells Roberts that:

       “I’ve had some initial correspondence from the panelists about the summary article and
       the consensus is that they will not be authors on an article that has inflammatory
       comments about IARC. Assuming those inflammatory comments were carried over from
       the animal carcinogenicity and genotoxicity articles, I’m sure the epi panelists would not
       want to be associated with those articles either. To achieve the complete authorship goal,
       an extensive revision of the summary article is necessary.”

       897.    Roberts forwards Acquavella’s email to Heydens, and writes: “Hi Bill, Please

take a look at the latest from the epi group!!!! Can you call me once you have digested this.”

       898.    Heydens replies the next day:

       “Ashley,

       OK, I have gone through the entire document and indicated what I think should stay,
       what can go, and in a couple of spots did a little editing.” (Heydens Exhibit 3-20)

       899.    The second responsibility generally reserved to Monsanto, and specifically

claimed in the case of the Intertek/CRT paper-preparation process was deciding what scientific




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materials to provide to the experts and co-authors. While Monsanto could not control access to

published studies by its expert panel members, it had total control over what parts of its

proprietary testing results would be supplied to expert panel members.

        900.      This is evident in an August 6, 2015 email from Ashley Roberts to Donna Farmer

in which he asks: “Please could you let me know in a sentence what we will be providing to the

Animal Bioassay Expert group.” (MONGLY01183933)

        901.      By the “we” in the phrase above, “what we will be providing,” he really means

what information will Donna Farmer/Monsanto provide to her/Intertek, so she/Intertek can then

provide the information to the expert panel.

        902.      The discovery record in this case shows clearly that violation of widely accepted

ethical norms in scientific publishing was a routine, accepted part of the culture at Monsanto.

Over several decades, such actions were conceived and implemented in the interest of

heightening the “credibility/impact” of scientific papers the company commissioned and

controlled.

        6. Content of the CRT Special Issue on Glyphosate Safety

        903.      The 2015-2016 Intertek expert panel review of the IARC decision and monograph

resulted in the publication of five papers, and a Foreword by the journal editor, Roger McClellan

(all open access, i.e. accessible for free at

http://www.tandfonline.com/toc/itxc20/46/sup1?nav=tocList). The papers included:

                 Gary Williams et al., overview paper on the carcinogenic potential of glyphosate
                  and the IARC assessment;
                 Keith Solomon, assessment of exposure studies;
                 Acquavella et al. on epidemiological studies;
                 Gary Williams et al. on rodent bioassays; and
                 Brusick et al. on weight of evidence evaluation of glyphosate, formulated
                  glyphosate herbicides, and AMPA (major glyphosate metabolite).



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       904.    Roger McClellan was acutely aware of the scrutiny his journal’s special issue on

glyphosate safety would receive. On multiple occasions, he stressed in exchanges with Ashley

Roberts, the employee of Intertek that managed the process of developing the papers, the

importance of clarity and full transparency in the Acknowledgements and Declaration of interest

sections of the papers.

       905.    In a June 19, 2016 email to Roberts, McClellan writes:

       “I am still concerned about the tone in some places. Why antagonize the reader? I am still
       not clear as to the process used by all of the Panels. These reports are essentially a
       rebuttal of the IARC process and conclusions. There appears to be a reluctance to be
       absolutely clear in presenting exactly what IARC concluded, the panels conclusions and
       how they differ. Am I missing something?” (MONGLY02360733-34)

       906.    Six days later, Roberts replies from vacation. He states that “I am getting a lot of

pressure to publish the papers for a lot of reasons as you can imagine.” He then asks for the

specific changes McClellan wants in the Acknowledgements and Declaration of interest (DOI)

statements.

       907.    Just 90 minutes later, McClellan responds to Roberts. He spells out the changes

he wants in the Acknowledgements (thank the reviewers for extensive comments received). He

also says that “The Acknowledgements section should also identify any other reviewers of the

paper and any editorial assistance.” (MONGLY02360732)

       908.    In reference to the DOI, McClellan writes that it should:

        “…make clear how individuals were engaged, i.e. by Intertek. If you can say without
       consultation with Monsanto that would be great. If there was any review of the reports by
       Monsanto or their legal representatives that needs to be disclosed.”

       909.    Each of the papers has a similar “Declaration of Interest” statement. The

“Declaration of interest” statement in the Brusick et al paper is quoted below:

       “The employment affiliation of the authors is as shown on the cover page. However, it
       should be recognized that each individual participated in the review process and



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       preparation of this paper as an independent professional and not as a representative of
       their employer….[Past and current relationship of each co-author to Monsanto is then
       listed]”

       “The Expert Panel Members recruitment and evaluation of the data were organized and
       conducted by Intertek Scientific & Regulatory Consultancy…”

       “Funding for this evaluation was provided by Monsanto Company which is a primary
       producer of glyphosate and products containing this active ingredient. Neither any
       Monsanto company employees nor any attorney reviewed any of the Expert Panel’s
       manuscripts prior to submission to the journal.”

       910.    The major differences across the DOI statements arise from differences in the

current and past affiliations of each co-author with Monsanto. The Acquavella et al. paper

contains a different version of the statement regarding Monsanto’s role in the review of the

papers; the Acquavella et al. DOI states “The authors had sole responsibility for the content of

the paper, and the interpretations and opinions expressed in the paper are those of the authors.”

       911.    The first paragraph in the above quoted DOI is presumably truthful, the second

paragraph is not truthful, and the second sentence in the third paragraph is not truthful.

       912.    Via direct interactions with Roberts of Intertek, it is clear that Monsanto

reviewed, and approved of the content of the papers prior to submission, and again after the

papers were revised in response to peer review comments.

       913.    The expert panel evaluation, and the composition of the panel itself, was

controlled by Monsanto. Indeed, a July 1, 2015 email from William Heydens (Monsanto’s lead

in the scientific response to IARC) to Ashley Roberts, the man running the Monsanto project for

Intertek, Heydens tells Roberts “we” (Monsanto) are adding two additional scientists, and that:

“We just learned this morning that we can’t have you send out ‘invitations’ until the names have

been approved by our legal group.” (MONGLY00992949-51)

       914.    Heydens places the word “invitation” in quotes because the Intertek contact/invite

is not really the invitation, since the scientists had all previously been contacted by Monsanto


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and had all agreed to serve.

        915.      The record shows clearly that Monsanto was heavily involved in most stages of

paper preparation, from deciding on the information that would be provided to the co-author

teams by Intertek; producing drafts of the papers, or sections of papers provided to the teams;

deciding on whose name(s) would appear on the papers; interacting with the teams on how to

address tricky, key issues, and especially clear-cut evidence of risk from glyphosate exposures in

well-designed, published studies; responding to review comments; and, the final stages of

editing.

        916.      Heydens, in particular, played a direct, hands-on role in all stages of the process.

        917.      An August 28, 2015 email to Donna Famer and other Monsanto colleagues from

Heydens circulates for comment his first draft of the Intertek Expert Panel report on the

carcinogenic potential of glyphosate (Acquavella Exhibit 10-30; MONGLY02844211)

        918.      In the draft Heydens circulated, “William Heydens” does not appear as a co-

author, nor does his name appear on any of the papers as published. In failing to truthfully

acknowledge authorship, and declaring in the conflict of interest disclosures that Monsanto

employees played no role in the review of the papers, Monsanto violated well known ethical

norms governing scientific publishing, including the policies of the journal Critical Reviews in

Toxicology.

        919.      Heydens was influential, if not responsible for many critical decisions about how

strongly to make positive statements regarding the safety of glyphosate and Roundup herbicides,

and how sharply to criticize the IARC report and the studies in the peer-reviewed scientific

literature that the IARC working group relied upon in reaching its “probable human carcinogen”

classification.




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       920.    For example, Heydens sharply disagreed with some panel-members, and ex-

employee Acquavella over how sharply to be critical of IARC and its classification decision.

Examples of such disagreements are evident throughout Heydens’ track-changes comments and

editing of Acquavella’s edits to the draft of the summary panel report. (MONGLY01000680-

01000709)

       7. Political and Other Activities Post-IARC

       921.    The breadth of Monsanto’s activities in response to the IARC classification of

glyphosate herbicide as a probable human carcinogen is striking. A June 5, 2015 update on “US

Government Outreach – WHO IARC Classification on Glyphosate” outlines dozens of ongoing

and proposed actions and goals. Under “THE STRATEGY”, the document states:

       “One strategy for addressing widespread confusion in the wake of the IARC
       classification has been to seek clarification from the World Health Organization (WHO)
       which would provide the proper context of the classification for governments and
       regulators around the world to have greater confidence defending their science based
       regulatory decisions.” (MONGLY02953363)

       922.    The document reports on multiple briefings given to U.S. government agencies,

including a Donna Farmer briefing of Dr. Mitchell Wolfe, the Deputy Assistant Secretary for

Global Heath, in the of Department of Health and Human Services (HHS), to which “we came

prepared with a robust set of technical materials for the Secretary’s background…”.

       923.    In the briefing for the HHS Deputy Secretary Dr. Wolfe, he was told about

ATSDR (Agency for Toxic Substances and Disease Registry), an agency under HHS of which he

was reportedly unaware. Monsanto then told Wolfe about the ongoing ATSDR review of

glyphosate, and made the case that such a review was unnecessary and that the EPA bears the

primary responsibility for “determination of pesticide safety.”

       924.    Then Monsanto briefed Wolfe on “A common element between IARC and




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ATSDR…Christopher Portier Ph.D…[who] was Director of ATSDR and co-chair of the IARC

Advisory Group.”

         925.   Dr. Portier’s views on glyphosate oncogenicity were no doubt discussed, as was

the fact that Dr. Portier “was an invited specialist representing the Environmental Defense

Fund.”

         926.   According to Monsanto’s recounting of the meeting “Dr. Wolfe said he would

follow up on what was going on with ATSDR and he was encouraged to have discussions with

the EPA staff, as well.”

         927.   Last, Monsanto asked for Wolfe’s and HHS’s “assistance in securing a WHO

clarification. We emphasized that we were not seeking changes to IARC, the classification or the

IARC process.”

         928.   In fact, Monsanto had already initiated, and is still carrying out campaigns to

punish IARC for its classification through, among other things (details below):

               Lobbying members of Congress to challenge U.S. government funding for IARC,
                via U.S. government support for the WHO;
               Calling for Congress to hold hearings;
               Mounting a campaign to force IARC to release drafts of its glyphosate review
                document and notes from Working Group deliberations;
               Working with a Washington Post reporter purportedly doing a hit piece; and
               Mounting multi-faceted outreach and third-party expert criticisms of the IARC
                process, the people who participated in it, the conclusion it reached, and its
                accountability.

         929.   Accordingly, the statement in Monsanto’s account of the Wolfe-HHS briefing that

“…we were not seeking changes to IARC, the classification or the IARC process” was clearly

not truthful.

         Blocking the ATSDR Review of Glyphosate

         930.   Another important Monsanto action-item, post-IARC, was stopping an ongoing



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ATSRD review of glyphosate safety. Monsanto regarded the ATSDR review as a clear threat

because the agency is “IARC-like,” very conservative, and has often disagreed with EPA in the

past.

        931.   An ATSDR review that supported IARC’s conclusions and classifications was to

be avoided. (MONGLY03342947)

        932.   Since Monsanto suspected that ATSDR would agree with IARC on the science,

the only way to avoid a huge setback in Monsanto’s ongoing campaign to isolate and

marginalize IARC would be to stop ATSDR from issuing the results of its review.

        933.   In pursuit of their ATSDR goal, Monsanto:

              Sought and carried out meetings, briefings, and webinars with ATSDR to
               communicate its assessment of the issues, explain why it felt the ATSDR review
               was unneeded, and the scientific flaws in the IARC review;
              Received significant help from two senior OPP/EPA officials – Jess Rowland and
               the OPP Director, Jack Housenger;
              Sought assistance and support from the Deputy Assistant Secretary for Global
               Health in HHS (the agency home of ATSDR);
              Asked Monsanto’s home-state Senators to contact HHS and reinforce the urgency
               of quick HHS action to intercede with ATSDR, given information Monsanto had
               obtained suggesting the ATSDR report might be released in only a few weeks;
              Lobbied Congresswoman Lynn Jenkins to submit questions regarding the ASTDR
               glyphosate review to the Secretary of HHS at the conclusion of a hearing before
               the House Ways and Means Committee on health care reform
               (MONGLY03064699); and
              Recruited individuals to write letters to Congressmen complaining that the
               ATSDR review was duplicative and a waste of taxpayer money, so that the
               letter(s) could be used to trigger media coverage of the campaign to stop the
               ATSDR study. (MONGLY03342947)


        E. Allied Organizations, Front Groups, and the Media

        934.   Monsanto engages with a wide diversity of organizations in the course of

promoting its business and industry objectives. These include pesticide industry trade

associations, the most important of which is CropLife America, which is part of CropLife



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International. (CropLife America was formerly called the National Agricultural Chemicals

Association, or NACA).

       935.    Monsanto and other pesticide manufacturers use CropLife to align the industry on

issues, organize and carry out initiatives that are responsive to industry-wide issues, lobby the

U.S. Congress and federal agencies, and conduct a wide array of media and PR activities.

       936.    Monsanto also works with all major farm commodity groups (corn growers,

cotton growers etc), and general farm organizations like the Farm Bureau and Future Farmers of

America. It provides financial and content support to most agriculture and food-relevant

scientific and professional society meetings.

       937.    The company is working simultaneously with several PR, communications, and

issue management companies on specific projects.

       938.    In some cases, Monsanto’s financial support is welcomed and acknowledged,

while in other cases it is not. In the later case, Monsanto works out a scheme to route its funding

through one or a few organizations, in order to hide the source of the funding (Monsanto) from

the person or entity receiving the funding, as well as from the general public.

       939.    While comprehensive statistics are not publically available, I suspect that a

substantial portion of Monsanto’s funding for scientific organizations, science-related activities,

and individual scientists is provided through circuitous channels that avoid the need for

recipients to openly acknowledge the company’s funding support.

       940.    Such practices are not unique to Monsanto, but I am not aware of another

company in the pesticide industry that invests so heavily, creatively, and aggressively in its third-

party network of scientists and the activities of scientific organizations.

       1. CropLife America and CropLife International




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        941.   CropLife America routinely carries out special projects and activities, with

funding provided by member companies, or sometimes one or a few company members. In some

cases, such funding comes from routine membership dues, in other cases, CropLife requests

and/or is offered targeted support for a special project. Many such projects are done under

contract by consulting firms or academics with ties to the industry.

        942.   Such arrangements often assure that funding from a given company passes

through at least two entities before reaching the person or entity carrying out an activity. As a

result, it becomes difficult, if not impossible for members of the public to know exactly who

actually paid for a given activity or project, nor the basic motivation leading to the project or

activity.

        943.   A good example unfolded in the fall of 2015. Several pesticide manufacturers

were concerned by the way OPP/EPA was using epidemiological studies done by scientists not

working for, or representing the pesticide industry. Several such studies had been published in

peer-reviewed journals, and had become a part of the science-base reviewed by EPA in the

pesticide risk assessment process.

        944.   Three companies were acutely aware of the risk posed to one of their major

products: Dow AgroSciences over epidemiological studies showing a link between chlorpyrifos

insecticide use and neurodevelopment in infants and children; Syngenta over the link between

atrazine exposures via drinking water and breast cancer; and, Monsanto over the cancer risks

posed by glyphosate.

        945.   A decision was made by the companies to commission a scientific critique of how

OPP/EPA had utilized the results of epidemiology studies. On behalf of the companies, CropLife

America requested a proposal from a closely aligned consulting firm, Exponent. Exponent




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provided a detailed proposal to CropLife outlining such a study, at a projected cost across three

major tasks of $70,000-$100,000. (MONGLY02134326)

       946.       Task 1a in the proposal describes four case studies focused on glyphosate,

organophosphate insecticides (and especially Dow’s chlorpyrifos), and Syngenta’s atrazine.

       947.       On January 4, 2016 Exponent released the 89-page report commissioned via the

September contract. It was entitled “Human Epidemiology Data Incorporated Into Regulatory

Risk Assessment: Retrospective Analysis.” (MONGLY03409329-03409423)

       948.       After the release of the IARC classification, CropLife International developed and

implemented a multi-prong response on behalf of the industry. Key activities included:

                 “Generating influencer commentary on IARC…to challenge the credibility of
                  IARC…working with the issue management consultancy v-Fluence to generate
                  proactive news/commentary articles…all articles have been pushed widely on
                  social media channels through a wide network of industry commentators”;
                 “High level outreach to WHO”;
                 “Building credible 3rd part support…(in particular toxicologists and academics)”;
                  and
                 “Coordinating industry alignment.”

       2. Engaging PR Firms

       949.       Over the years, Monsanto used a variety of PR and communication firms to assist

in the defense of glyphosate herbicides. These firms were typically tasked with actions that

would be difficult and/or tainted if undertaken by Monsanto staff.

       950.       There is nothing unusual about pesticide manufacturers or other companies

engaging such firms in support of outreach, policy, regulatory, and political goals. But the scope

and nature of the activities pursued by Monsanto via such firms stands out as uniquely broad and

aggressive.

       951.       Monsanto commissioned Potomac Communications to place not just one or a few

supportive op-eds and letters to the editor in response to the IARC decision, but dozens.


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        952.   In May 2015, Monsanto received a detailed document from the PR firm

FleishmanHillard (FH). This firm had conducted multiple projects for Monsanto in the past. The

current proposal focused on triggering expressions of support for the EPA’s re-registration of

glyphosate in the political, farm, academic, and gardening communities. (MONGLY03550020-

24)

        953.   FH recommended targeting two audiences: “those who live and work in

congressional districts with significant agricultural glyphosate use and whose elected

representative sit on committees relevant to EPA”; and second, “those who live in suburbs that

lean conservative politically.” FH then adds:

        “Please note that this general consumer approach is intended as a supplement to a
        stakeholder outreach campaign targeting farmers, agricultural trade associations and other
        agricultural audiences…Finally, please note that the below campaign elements represent
        efforts that FH would conduct above and beyond the scope of ongoing support for the
        [Monsanto-funded] Cultivating Trust campaign.”

        954.   The scope of the newly proposed “Re-registration Campaign” is impressive.

Seven “markets” would be included (suburban Dallas and/or Houston, Atlanta, Davenport/Iowa

City; Detroit, Indianapolis, Memphis Minneapolis/St. Paul; St. Louis); a table describes each

area, noting key politicians or reasons why the area was selected.

        955.   Within each area, a set of FH-paid “community organizers” (COs) would be

assigned a specific set of tasks and goals. Each “would target 750-1,000 consumer

signatures/comments or letters and 15-25 ‘high quality’ letters …per month of the [glyphosate

re-registration] comment period (either 60-90 days).”

        956.   The proposal then spells out what FH would do to prepare/support the COs in

achieving their target goals. In addition, FH “would manage a paid digital campaign on

Facebook, using sponsored content targeted at a relevant audience…with the aim of driving them




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to Monsanto’s comment generation website.”

       957.    The estimated budget for the proposed 3-4 months of activity was $355,000-

$400,000.

       3. Shaping the Agenda and Supporting Scientific Meetings

       958.    There are several instances in the record of this case documenting why and how

Monsanto played a role in shaping the focus of a scientific meeting to include discussion of

glyphosate risk issues, as well as some instances where Monsanto also provided the funding

needed for a meeting to occur.

       959.    In a March 10, 2016 email, Dan Goldstein, Monsanto’s “Lead, Medical Sciences

and Outreach,” contacts a colleague, Allister Vale, a consulting clinical pharmacologists and

Director of the National Poisons Information System (Birmingham Unit), in the U.K.

       960.    Dr. Vale is active in several organizations that convene meetings of medical

toxicologists, a group that Monsanto is striving to engage in the ongoing reaction to IARC and

debate over glyphosate safety.

       961.    In his “preliminary inquiry,” Goldstein asks Vale if she would work with Sir

Colin Berry to “reincarnate” an expert panel, this time composed of European medical

toxicologists. (MONGLY0256574-75) He writes that: “Cost (including Honoria) will be picked

up by Monsanto via an appropriate granting mechanism which allows for a proper degree of

academic independence.”

       962.    Vale and Goldstein meet briefly later in the month at a meeting of the Society of

Toxicology (SOT). They discuss the idea raised by Goldstein in the March 10 email, and agree to

get back in touch after the meeting.

       963.    Vale sends Goldstein a March 24, 2016 email apologizing for her limited time




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during the SOT meeting and stating:

        “The issues you raise in regard to glyphosate are of course of considerable professional
       interest to me…we have proposed a symposium for next year’s SOT which will include a
       discussion of the carcinogenicity of glyphosate.”

       964.    Goldstein responds the next day, and provides much more detail, and points out

that “the situation around glyphosate continues to be, frankly, bizarre.” He goes on to note

“serious process issues surrounding this IARC assessment. Then he writes:

       “Our only goal at this point is to create a large number of medical toxicologists who
       know about glyphosate products. You have hit on the key problem of course – direct
       involvement of Monsanto is not going to be acceptable to experts in the EU.”

       965.    Goldstein then returns to the issue of funding for a meeting. He writes:

       “I assume that the cost will be considerable….Funding can perhaps come from the
       Glyphosate Consortium which is conducting the EU re-registration or via ECETOX or
       CEFIC, for example, and be routed via SOT or one or more academic institutions. At that
       point, we can be ‘hands off’ altogether.”

       966.    So, under the Goldstein proposal, Monsanto would provide funding to the

Glyphosate Consortium, the Consortium would contract with one or more academic institutions,

and/or route funding to the SOT, which would then make invitations and cover the costs of

participants and presenters. As Goldstein notes in his email, there would be an “appropriate

degree” of separation between Monsanto funds and the people receiving them.

       967.    Vale responds two weeks later, in general agreeing that an indirect funding

mechanism could be found. But she then reminds Goldstein, “However, to make this work,

neither I nor they could be in receipt of direct funding from Monsanto or the [industry-funded]

Glyphosate Consortium.”

       968.    This correspondence is important not because of the impact of one meeting, or

even whether the meeting took place. It is important because it documents clearly the techniques

Monsanto deploys to engineer meetings, papers, events, and other activities where the company



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will have a well-controlled forum, or a mechanism to communicate its view of some set of issues

to a possibly influential audience.

       969.    Goldstein ends his March 25th email to Vale with a statement referring to the

government-employed medical toxicologists that Monsanto is trying to reach out to: “As

important resources for their respective national agencies, we are of course hopeful that they can

support a balanced and scientific approach in the EU.” (Emphasis added).

       970.    Of course, such an approach would have to be aligned with Monsanto’s positions

on issues, and certainly not IARC’s on the issue of glyphosate oncogenicity.




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VII. Protecting “Freedom to Operate” and Scientific Deceit
Characterize Monsanto’s Assessments of and Response to
Glyphosate-Related Risks
       971.    Pesticide companies bear an obligation vested in various laws and regulations,

and common corporate decency, to assure that the products they bring to market are safe and will

reliably produce the benefits for which they are registered, i.e. control of weeds as in the case of

glyphosate.

       972.    The term “product stewardship” is used within the industry and regulatory

agencies to describe and encompass the actions pesticide manufacturers should take on an

ongoing basis in the interest of product stewardship, before and after a new use of a pesticide is

approved.

       973.    In the pesticide arena, the sciences supporting both human-health risk assessments

and environmental-impact assessments are dynamics and imperfect, and heavily dependent on

location- and even application-specific data, which is almost never available. So, in companies

and regulatory agencies alike, many assumptions and a considerable degree of judgement is

essential in deciding upon the science that must be conducted prior to seeking, and approving a

new use of a pesticides.

       974.    Where to draw the line between presumably safe and possibly risky pesticide uses

is also fraught with scientific, social, and political challenges, uncertainty and tension.

       975.    The same is true after approval, as companies and regulators strive to refine and

agree on the nature and magnitude of risks after a pesticide is approved and has been applied for

a period of time.

       976.    But in general, Monsanto claims that they base all their product development,

testing, commercialization, and regulatory actions on the best available science. Such science is


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often produced and communicated by pesticide registrants in the hope of altering the outcome of

risk assessments conducted by regulators, especially when existing estimates of risk point to

potential problems (e.g., a risk that exceeds the EPA’s “level of concern”).

       977.    The crux of most protracted and contested regulatory confrontations over the last

half-century has been debate over what the “best” or “soundest” science shows relative to the

balance of pesticide risks and benefits.

       978.    This is surely the case with glyphosate and Roundup herbicides.

       A. Mission One – Protect Freedom to Operate (FTO)
       979.    Tensions often arise between the commercial interests of a pesticide manufacturer

and what the latest and best science suggests is the most responsible way to manufacture and sell

a given pesticide.

       980.    In Monsanto, protecting the Freedom to Operate in the manufacture and sale of

glyphosate-brand herbicide was the dominate objective across the whole company. Science was

valuable, and supported, only when and to the extent it was expected to support glyphosate FTO.

       981.    Monsanto’s John Acquavelle makes the case for one such investment in science

as part of a proposal for a new, industry-funded, multi-pesticide non-Hodgkin lymphoma

epidemiology study.

       982.    The goal of the study, among other things, would be to respond to the positive

glyphosate-NHL results in the Hardell-Eriksson, and the forthcoming epidemiological study

results from the National Cancer Institute’s “Agricultural Health Study:

       “There are a number of reasons why industry should consider this proposal seriously.
       First, allegations that pesticides cause cancer are important to the business and regulatory
       climate for pesticide manufacturers and, indeed, companies have a product stewardship
       obligation to ensure that their products can be used safely.” (MONGLY00894005)

       983.    Monsanto did not follow Acquavella’s advise and has never conducted an


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epidemiological study to evaluate the relationship between NHL and Roundup formulations.


       1. Section 6(a)(2) of FIFRA

       984.    Section 6(a) (2) of FIFRA, discussed earlier, is a provision in federal law intended

to vest clear responsibility on pesticide registrants to report to the EPA any information, data, or

new insights regarding pesticide risks that are gained by the registrant, regardless of the source of

the information.

       985.    The June 1986 Registration Standard for glyphosate contains this passage:

“Registrants [at this time for glyphosate, only Monsanto] are reminded that FIFRA sec. 6(a)(2)

requires them to submit factual information concerning possible unreasonable adverse effects of

a pesticide at any time that they become aware of such information…including interim or

preliminary results of studies, if those results suggest a possible adverse effect on man or the

environment. This requirement continues as long as your products are registered by the Agency.”

(page 3)

       986.    Dozens of instances arise in the 40+ year record of glyphosate in which Monsanto

chose not to disclose information that might suggest a new or heightened risk from use of

glyphosate-based herbicide. Some information not disclosed under Section 6(a)(2) arose from the

company’s inhouse research or commissioned studies, while other information was learned from

the experience of users of the company’s products.

       2. Responding to FQPA Challenges

       987.    Passage of the Food Quality Protection Act (FQPA) in 1996 changed the basic

standard and rules governing the setting of food-additive tolerances for pesticide known to be

oncogenic, including glyphosate beginning in 1983. Implementation of the FQPA required EPA

to deal with dozens of science and risk assessment policy issues over several years, some of



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which had potential impacts on a number of Monsanto products, including glyphosate.

       988.    Monsanto established an “FQPA Core Team to engage with EPA as it developed

FQPA policies and procedures, and to alert colleagues of possible implications for the labels and

tolerances sanctioning use of specific Monsanto pesticide products.” (MONGLY03750989)

       989.    Abby Li [FND/1735] was a member of this FQPA Core Team. She sent a

November 20, 1999 email to several Monsanto management team and senior officials regarding

the activities of the FQPA Core Team. After listing the six members of the FQPA Core Team,

the email stated:

       “This [membership] is a good mix of people that allows us to have external influence as
       well as ensure that we have practical understanding of the full impact to our products. I’d
       like to make sure we push hardest on those issues that are threatening our business.”
       (MONGLY03750989)

       990.    Two days earlier, on November 18, 1999, Abby Li sent an email to 10 Monsanto

colleagues regarding a scoping session on the evolving OPP policies governing aggregate risk

assessment under the FQPA. (The FQPA directed the EPA to take account of exposures to a

given pesticide from water, food, occupational, atmospheric, and any other routes of exposure;

such total estimates of exposure from all routes are called “aggregate exposure” in the context of

FQPA implementation).

       991.    The email begins: “Dear people who might be interested in the FQPA,…” The

last paragraph addresses the membership of the FQPA Core Team and key areas of expertise that

need to be represented. Then, Abby Li writes: “A key goal is to understand how our products are

impacted so we know what issues Monsanto should fight the hardest on.” (MONGLY03750990)

       992.    The implication is clear. The number one goal driving Monsanto’s assessment of

evolving EPA science policies and regulatory procedures is minimizing the impact on FTO and

sale of Monsanto products.



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       993.    In the records I have reviewed, I have not encountered a single example of a

person working for Monsanto who reacted to a new pesticide law or regulatory requirement by

assessing where and how compliance might make the company’s products inherently safer, or

reduce the frequency of high-exposures application scenarios, like some of those experienced by

Dewayne Johnson.

       B. Overstating Roundup Benefits and Understating Possible Risks
       994.    In the portion of the discovery record in this case that I have reviewed, there are

dozens of examples where Monsanto employees, consultants, third party network scientists, and

PR firms prepare and share written materials that overstate the certainty of some things (e.g., get

up and shout glyphosate is non-toxic”), and downplay the significance of other known facts (e.g.,

glyphosate-based herbicides are genotoxic in some tests).

       995.    No doubt the total number of such episodes that could be identified after a

comprehensive review of the whole record would be in the hundreds.

       996.    In an episode described in detail earlier, Monsanto officials substantially

mischaracterized statements made by third-party experts that Monsanto had brought to an EPA

Scientific Advisory Panel meeting.

       997.    The inaccurate statements were contained in a letter from Monsanto’s senior U.S.

registration specialist, to EPA after the SAP meeting. The letter asserted that Monsanto’s invited

guests testified at the SAP meeting that a repeat of the controversial Bio/dynamics mouse study

was not warranted, when none of the invited experts made such a statement.

       998.    Only a small group of other examples are discussed below.

       1. Attempts to Influence the IARC Review

       999.    Monsanto knew that the IARC review of glyphosate herbicide carcinogenicity




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was coming in the spring of 2015. In 2014, they initiated a number of activities in the hope of

influencing the decision reached by the IARC Working Group assessing glyphosate

carcinogenicity.

       1000. IARC procedures and policies are clearly stated and well known. For example,

see the 2015 published paper “IARC Monographs: 40 Years of Evaluating Carcinogenic Hazards

to Humans” (Donna Farmer Exhibit I-44; or access online https://ehp.niehs.nih.gov/wp-

content/uploads/123/6/ehp.1409149.alt.pdf).

       1001. IARC Working Groups review and rely only on the results, insights, and

information in scientific papers published in peer-reviewed journals. Unpublished studies

conducted by companies, or papers in the publication process, but not accepted, are not

considered.

       1002. This is why Monsanto wanted two papers published before the end of the IARC

review process, so that both would be among those in the peer-reviewed literature, and hence

eligible for consideration by the IARC Working Group.

       1003. Both papers had been in preparation for some time, and included a paper by Kier

on genotoxicity and one by Greim et al. on the results of rodent bioassays.

       2. Kier (2015) Sets a Record for Speedy Publication

       1004. Monsanto commissioned and paid for a review article focused on genotoxicity

biomonitoring studies.

       1005. The goals for the paper were to first, influence the outcome of the IARC

assessment, assuming the timing of the paper’s publication allowed, and second, to have a

current, peer-reviewed paper offering Monsanto’s assessment of positive, genotoxicity studies

available for use as Monsanto worked to discredit the legitimacy and science-base of the IARC




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classification decision.

       1006. Larry Kier, then a consultant to Monsanto and a former, long-term employee,

wrote the paper, which was submitted to Roger McClellan, Editor of the journal Critical Reviews

in Toxicology (CRT). This journal had been used several times by Monsanto to, in effect, spin

and/or recycle in a peer-reviewed science journal the company’s proprietary, internal studies,

findings, and assessments of glyphosate risk issues, including those that had been previously

submitted to regulators.

       1007. The 2015 CRT paper by Kier was entitled “Review of genotoxicity biomonitoring

studies of glyphosate-based formulations” (Vol 45(3): pages 209-218; accessed 12/10/17 at

http://www.tandfonline.com/doi/pdf/10.3109/10408444.2015.1010194?needAccess=true).

       1008. The paper’s “History” declaration states that the initial paper was submitted to

CRT on January 7, 2015, and was revised by the author and submitted back to CRT on January

17, 2015. It was accepted for publication by the journal the next day, January 18th, and published

online February 16, 2015, or about one month before the March 3-10, 2015 final meeting of the

IARC Working Group conducting the glyphosate assessment.

       1009. Accordingly, 11 days transpired from the date of the original submission to the

receipt and acceptance of the Kier paper. This meant that the peer review process, the editor’s

assessment of the reviewer comments, the author’s revisions in response to peer-review

comments, submission back to the journal, the editor’s consideration of the author’s response to

reviewer comments, and decision to accept and publish all occurred in 11 days!

       1010. I have published about three-dozen peer-reviewed papers. Between several

months to over a year transpired between initial submission and acceptance of each of them, a

time-frame that is typical of most papers, and most peer-reviewed science journals.




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       1011. Over the last 30+ years at the request of journals, I have served over 100 times as

a peer-reviewer of papers submitted for possible publication. It generally takes a few weeks to

two months for me to free up sufficient time to complete and submit such reviews.

       1012. Not a single paper of mine, or paper that I reviewed, progressed through the

publishing process in 11 days. Indeed, I doubt that many, if any, papers in the history of

scientific publishing in a well-respected journal have matched this record for “timely”

publication.

       1013. Clearly, there had to have been an extraordinary set of circumstances driving the

pace of the publication process for the Kier (2015) CRT paper. Based on the record, the two most

important special circumstances were the close and long-term relationship between this journal

and Monsanto, and second, Monsanto’s openly-stated need for the paper to be published before

the final meeting in March of the IARC, glyphosate Working Group.

       1014. But for this to happen, the company had to find a friendly journal willing to

conduct the peer-review process in world-record time. They did in CRT.

       3. “Inappropriate Absolutes” Used to Promote Kier (2015)

       1015. On February 19th, a few days after the Kier (2015) CRT paper was published

online, an email exchange occurred between the paper author, Larry Kier, the journal editor

Roger McClellan, and Monsanto’s David Saltmiras.

       1016. This exchange focused on the content of promotion material on the Kier paper

that Saltmiras had sent to the journal editor, along with a request that McClellan and the

publisher take steps to raise the visibility of the paper. (MONGLY01087311-17)

       1017. This email chain starts on 2/19/17 with an email from David Saltmiras to CRT

editor McClellan that begins “Roger – FYI on press releases.” This email was not cc’d to the




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lead authors of the papers (Greim and Kier).

          1018. The Saltmiras email to McClellan then lists the full citation to the papers by

Greim et al. (2015) and Kier (2015) that are being published at the same time in CRT, a summary

of each paper, the paper abstracts, and “Sound bytes for social media.”

          1019. A few hours later in response to the suggestion from Saltmiras, McClellan sent an

email to Charles Whalley, a senior manager at the publishing company Taylor and Francis (T

and F). This is the publishing company that puts out McClellan’s journal, CRT. The email

begins:

          “I spoke with David Saltmiras today concerning the two Glyphosate papers that will be
          the lead papers in the next issue of Critical Reviews in Toxicology with regard to F and F
          [referring to T and F, the first “F” in the original text is a typo] putting out any publicity
          on these two papers. The email below includes complete citations for the papers,
          abstracts and some information developed by Monsanto Company on the papers.”

          1020. The McClellan email goes on to state the relevance of the Kier (2015) paper to the

ongoing IARC glyphosate review, and then writes:

          “As a bottom line the two papers [Greim et al. and Kier] published on line in CRT are
          likely to attract some attention in the scientific and regulatory community and, possibly,
          by lay media.”

          1021. McClellan then asks about Taylor and Francis policies regarding the publisher’s

promotion of just-released papers, and asserts that the two papers “would be excellent

candidates” for such a promotional effort by the publisher.

          1022. As a courtesy, McClellan had also sent a copy of his seemingly innocuous,

2/19/17 email to David Saltmiras and Larry Kier. Just under a half-hour later, Kier responded by

email to CRT Editor McClellan. He begins: “I’m a little cautious about high levels of publicity

for the biomonitoring review and have concerns about some of the suggested publicity material.”

(MONGLY01087312)




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        1023. Kier then writes: “I don’t know who wrote the ‘Summary’ for my paper and

certainly don’t want to offend them but it is not the way I would have worded it and I would

personally not want this used to characterize my paper.”

        1024. The differences between the “Summary” of Kier’s paper sent to McClellan by

Saltmiras, and presumably written by him, and the revised “Summary” Kier wrote and included

in his email to McClellan are subtle, but significant.

        1025. The key passages from the Saltmiras-submitted “Summary” of Kier’s paper read:

“The author concluded that there are no direct risks to human DNA under normal exposure

conditions” and “these results confirm previous conclusions that glyphosate-based herbicides do

not damage DNA in humans following real world exposures.”

        1026. The comparable passages that Kier wrote for a revised “Summary” of his paper

read: (1) “The author concluded that these studies [on genotoxicity] do not indicate significant

genotoxic risks to humans from glyphosate-based herbicides under normal exposure conditions”;

and (2) “These findings are consistent with an earlier review of an extensive number of

laboratory studies that indicated little likelihood of significant genotoxic risk or reaction with

DNA under normal exposure conditions.”

        1027. The Saltmiras version of sentence (1) is unequivocal – “there are no direct risks to

human DNA.” Kier’s rewrite of (1) includes an important change. Instead of “no risk,” Kier

writes that there is an absence of “significant genotoxic risks,” implying there might be some

risk.

        1028. In key passage (2) quoted above, the Saltmiras version states that glyphosate-

based herbicides “do not damage DNA in humans.” Kier’s rewrite says that there is “little

likelihood of significant genotoxic risk or reaction with DNA under normal exposure




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conditions.”

          1029. This version contains two, and perhaps three caveats. First, there is “little

likelihood,” but hence some chance of “significant genotoxic risk or reaction.” Second, Kier

again leaves the door open for less than “significant” genotoxic risk or reaction.

          1030. In the same email to McClellan, Kier then turns his attention to the “Sound bytes

for social media” in the Saltmiras email to McClellan sent earlier the same day. The sound bytes

state that glyphosate-based herbicides “do not damage cellular DNA…” and are “not associated

with DNA damage in human cells.” About these statements, Kier writes:

          “I also don’t think the ‘Sound bytes for social media’ are accurately worded. They are
          way too absolute for my taste and place undue emphasis on the strength of the
          biomonitoring data. Unfortunately, I can’t readily suggest alternatives that fit nicely into
          the ‘sound byte’ format.”

          1031. Nine minutes later at 5:12 p.m., after receiving the above described and unusual

email from Kier, CRT Editor McClellan responds to Kier, sending a copy to Saltmiras. He

writes:

          “Larry:

          What I forwarded to T and F (Charles Whalley) is what I received from David Saltmiras.
          I assumed you were in the loop on what had been developed at Monsanto. I suggest you
          get in touch ASAP with David.”

          1032. Around noon the next day, Larry Kier does email David Saltmiras. His message is

terse and to the point, and quoted in full below:

          “David,

          I think I might have misunderstood something in our earlier conversation today but
          apparently the Summary and Sound bytes were from Monsanto.

          Please consider the bcc: comments I sent earlier to Roger. While I definitely support
          glyphosate and GBF’s [glyphosate-based formulations] I really don’t want to have
          inappropriate absolutes representing this [Kier, 2015] review.” (Emphasis added;
          MONGLY01087311)



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       4. Advertising

       1033. In June 1988, a member of the medical school faculty at the University of Iowa

saw an advertisement for Roundup herbicide on TV, depicting a bean bar application of the

herbicide. The person in the advertisement was wearing gym shoes, a short sleeve shirt, and long

pants. He called the EPA to raise concern over the safety of such a method of application under

the conditions depicted in the advertisement.

       1034. Edwin Tinsworth, then Director of the OPP Registration Division, wrote a July

26, 1988 letter to Dr. Timothy Long, then Roundup’s Registration Manager, stating that: “We are

concerned that advertisements for Roundup (running through July in Iowa and perhaps other

soybean growing areas) show the product being applied in a manner inconsistent with protective

clothing requirements…and we request that you cease running these spots.”

       1035. In a certified letter dated April 7, 1992 to Monsanto, Leo Alderman of the Toxics

and Pesticides Branch in EPA Region VII challenges misleading claims made in Monsanto

advertising literature promoting Roundup sales. These statements included “Roundup doesn’t

stay in the soil, won’t leach to nearby plants and breaks down into natural substances…Nothing

kills weeds better, or easier, than Roundup…Biodegrable.”

       1036. He instructs Monsanto that “such statements should be removed from all literature

advertising the product…” Alderman directs Monsanto to cease distributing all advertising

material with such claims and that the Monsanto send him/EPA copies of the revised advertising

material within 30 days.

       C. Tactics Used to Bury or Obscure Issues Perceived to Raise Risk and
       Regulatory Threats to Future Sales

       1. Positive Evidence of Carcinogenicity



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       1037. Given the facts of this case, one of the most compelling and germane statements

by a senior Monsanto scientist on the topic of glyphosate’s carcinogenicity comes from Donna

Farmer.

       1038. In alerting an overseas spokesperson for Monsanto about what can be said to the

media on the question of glyphosate health risks, she writes “…you cannot say that Roundup is

not a carcinogen…we have not done the necessary testing on the formulation to make that

statement.” She goes on to acknowledge that “The testing on the formulations are not anywhere

near the level of the active ingredient.” (MONGLY00922457-8)

       1039. Instead, she advises the spokesperson to respond to questions about glyphosate

safety by saying: “When Roundup herbicides are used according to label directions, no

unreasonable adverse effects to people, wildlife, and the environment are expected.”

(MONGLY092259)

       2. Counteracting Positive Epidemiology Study Findings

       1040. In 2000, Dr. John Acquavella, a Monsanto epidemiologist, attended a meeting of

the International Society for Environmental Epidemiology (ISEE) in Buffalo New York.

(MONGLY02628625). Two papers focusing on pesticide-cancer linkages were presented by

scientists working for Health Canada.

       1041. Dr. Helen Mcduffee was the lead scientist at the Center for Agricultural Medicine

at the University of Saskatchewan, and carried out the Health Canada-funded case-control study

of 517 individuals with non-Hodgkin lymphoma (NHL) and 1,506 controls. The paper presented

at the ISSE reported a statistically significant odds ratio of 2.1 (95% CI 1.2-3.6) for individuals

with NHL who sprayed Roundup more than 2 days per year.

       1042. Following Dr. McDuffee’s presentation, Acquavella sought her out for further




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discussion of her work, and in the hope of establishing a dialogue. He characterized her as “a

reasonable person” who does not have “preconceived notions about glyphosate.”

       1043. In Acquavella’s memo to senior colleagues responsible for health assessments of

Roundup, the following agreements and next steps were outlined:

              McDuffee would share her paper on these results when it is ready for submission;
              She was asked, and agreed to attend a meeting where her work would be
               presented to an industry audience; and
              She was given a copy of the Monsanto-commissioned CANTOC review of
               glyphosate and Roundup toxicity, and told about the ongoing Monsanto Farm
               Family Exposure Study (FFES).

       1044. A second study by a member of Dr. McDuffee’s team, Pahwa Punam, was

presented via a poster at the ISEE meeting. This presentation focused on regional differences in

the association between Roundup use and NHL, and Hodgkin’s disease (HD).

       1045. “Of interest to us,” according to Acquavella, was the significant association

between glyphosate/Roundup and HD in the Canadian province British Columbia. In that

province, there was a markedly elevated, statistically significant odds ratio of 4.0 (CI 1.4-11.3),

in contrast to no such association in the other Canadian provinces.

       1046. Acquavella asked Punam if she had any explanations for the very different, and

worrisome result in British Columbia. According to Acquavella, “she speculated that the

variation might be explained by the heavier use or the tendency to use higher exposure

application equipment in specific provinces.”

       1047. Acquavella then reports that if “we [Monsanto] get inquiries” regarding the

Roundup-HD association, “we can point out that the variation [across provinces] in the findings

is inconsistent with a causal relationship with glyphosate.”

       1048. Then, Acquavella addresses “Follow-up Plans,” which include:

              Developing a “collegial relationship” with Dr. McDuffee;


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              Sharing information on the FFES;
              Adding McDuffee “in our plans to develop a scientific outreach network in
               Canada; and
              Inviting McDuffee to present her data at a Monsanto-sponsored scientific
               outreach meeting in Canada later in the year.

       1049. Such follow-up actions, according to Acquavella, could be important strategically

in light of Health Canada’s continued investment in agricultural epidemiology and the ongoing

networking between Health Canada and the [U.S.] NCI [National Cancer Institute].” In addition,

the above meetings “would allow her to consider her findings in light of the available glyphosate

toxicology/exposure information…”

       1050. Clearly, Acquavella was concerned that a positive epidemiological study

sponsored by the Canadian government linking glyphosate/Roundup to NHL and HD would

carry weight, and possibly reinforce similar associations identified in other studies, including,

perhaps, those emerging from the ongoing NCI Agricultural Health Study.

       1051. His follow-up actions included providing McDuffee with the Cantox review, and

likely the Williams et al (2000) review of glyphosate/Roundup toxicity, both of which were

commissioned by Monsanto, co-authored by proven, glyphosate-friendly members of the

company’s Scientific Outreach team, and substantially ghost-written by Monsanto scientists.

       1052. He does not mention providing her with any of the published, positive

genotoxicity studies, nor Dr. Parry’s report.

       1053. These follow-up actions are a good example of the way Monsanto establishes a

relationship with independent scientists in order to discover, first, whether a scientist is already

glyphosate-friendly, and if so, whether he/she would be willing to be a public spokesperson in

defense of glyphosate/Roundup safety.

       1054. In cases where a scientist has reported, and/or appears ready to publish and




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discuss in public findings that are not favorable to glyphosate-based herbicides, Monsanto strives

to alter the scientist’s interpretation and/or explanation of a study’s findings in a way that

minimizes the potential damage to Monsanto’s unequivocal claim that “Roundup is safe,” a

message Monsanto wants people to get up and shout.

        1055. Via this sort of follow-up actions, the company also makes it clear that the work

of a scientist like McDuffee will be examined closely and any limitation or possible confounding

factor will, in all likelihood, be used to discredit the study’s design, methodologies, and findings,

if and when the study is published, discussed publicly, or especially, if it becomes available to

regulators.

        1056. There is no universally accepted way to distinguish between legitimate give-and-

take between scientists, and intimidation. However, Monsanto has a well-deserved reputation for

engaging in aggressive and systematic defense of its products, and especially

glyphosate/Roundup. Such actions have undoubtedly discouraged some scientists from

publishing results from studies that have limitations, like small sample sizes or potential recall

bias.

        1057. In other cases, scientists may state their findings and conclusions in a more

equivocal way than they otherwise would, in the hope of not triggering overt and covert actions

by Monsanto to discredit the research, or the researcher.

        3. Dermal Absorption

        1058. The rate of dermal absorption when a person’s skin is exposed to a glyphosate-

based herbicide like Roundup is a key variable in estimating applicator exposure and risk.

        1059. In the hope of maximizing Roundup sales and minimizing regulatory warnings

and/or restrictions, Monsanto has worked to convince regulators that the dermal absorption rate




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for glyphosate and Roundup herbicide is very low, as a percentage of the amount of glyphosate

or Roundup that initially comes into contact with a person’s skin.

          1060. Low dermal-absorption rates for any pesticide, other things being equal, will

result in less worrisome warning symbols on labels, less strict limits on the conditions of use,

and/or fewer and less onerous requirements for personal protective clothing and equipment for

those mixing and loading Roundup, or applying the herbicide.

          1061. In EPA’s 1986 glyphosate Registration Standard and the 1993 Re-registration

Eligibility Document (RED), the agency incorporated an estimated 3% dermal absorption rate

for glyphosate in its estimates of applicator exposures and risk. This estimate, in turn, was based

on studies conducted by Monsanto and submitted to the agency in the past.

          1062. As the diversity of Roundup uses expanded in the consumer market in the U.S.

and worldwide, regulators became more concerned about the dermal route of exposure,

especially in the case of people engaged professionally in weed control on a farm, in an

horticultural or industrial setting, or in parks, around schools, or golf courses, among other

places.

          1063. To prevent the EPA from imposing additional restrictions, or requiring higher-

level warnings on Roundup labels, Monsanto continued to conduct dermal absorption studies

periodically, in the hope of eventually convincing the EPA, and/or other regulators, to lower the

standard estimate of dermal absorption to below 3%.

          1064. Glyphosate-based herbicides were going through the European re-registration

process in the late 1990s into the 2000s. The German regulatory authority had been assigned the

task of serving as the rapporteur through the process on behalf of the EU. German regulators had

asked registrants of glyphosate-based herbicides to repeat some old dermal absorption studies




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that did not meet current European regulatory standards, a request that Monsanto agreed to carry

out. (MONGLY03737015)

          1065. An email exchange occurred in April 2002 between Monsanto employees in

Europe working on the new data required by German regulators, and senior Monsanto personnel

in St. Louis (Heydens, Healy, Farmer,           , Wratten, among others).

          1066.                    , a Brussels-based Monsanto employee, reported that

Monsanto had agreed to conduct a new in vitro dermal penetration study with rat skin, work that

had begun with a contract laboratory called TNO.

          1067. An email chain was started on March 29, 2002 by                on the topic of the

newly requested dermal absorption study. It described preliminary findings reported to Monsanto

by TNO, steps taken in response, and addressed the need for a conference call to agree on “next

steps.”

          1068. In an April 2, 2002 email from William Heydens to his colleague Charles Healy

about the “new issues and topics for the conf call of Tuesday, 2 April,” Heydens wrote: “My

primary concern is with glyphosate in terms of the potential for this work to blow Roundup risk

evaluations (getting a much higher dermal penetration than we’ve ever seen before.” (Text as it

appears in email). (MONGLY03738295)

          1069. By “this work,” Heydens was clearly referring to the new rat skin dermal

penetration study. His concern that such a study might “blow Roundup risk evaluations” arose

from the fact that a higher dermal absorption rate would invariably increase estimated risks, and

possibly by enough to raise serious new concerns among regulators and restrict glyphosate’s

FTO.

          1070. In an April 4, 2002, email,           reports to the group that, as a result of the




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preliminary TNO results reported to Monsanto, “we came to the conclusion that the penetration

of glyphosate would have been [probably] greater than the 3% already imposed by the German

authorities. We decided thus to STOP the study (effective today).” (Emphasis in original;

MONGLY03737015)

       1071. Donna Farmer replied to this email later the same day, asking for clarification,

leading to an email the next day from                 , a Monsanto scientist more directly

involved with the scope and focus of recent and ongoing work on dermal absorption.

       1072.           wrote in his April 5, 2002 email response to Farmer, and all others on the

April 2 email chain, “We dropped the programme for glyphosate because a further study was not

likely to help us meet the project objective...”, which was to make the case for reducing below

3% the glyphosate dermal absorption rate used by regulators.

       1073. This decision was triggered by preliminary results from TNO showing that the

dermal absorption rate for the glyphosate in formulated Roundup herbicide (MON 35012)

through rat skin is 5% to 10%, compared to less than 1.5% for pure glyphosate.

(MONGLY03738296)

       1074. According to           , this surprisingly large difference between the dermal

absorption rate of pure glyphosate (~1.5%), compared to formulated Roundup (5% to 10%),

“confirm our expectation that surfactant concentration affects dermal absorption.”

       1075. So, the early data from TNO suggested that a properly conducted set of dermal

absorption studies on Roundup herbicides would actually lead to a substantial increase in the

then-current 3% estimate of dermal absorption.

       1076. This new data was obviously not helpful, given Monsanto’s stated objective in

conducting new, improved dermal absorption studies (reducing the 3% estimate of dermal




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absorption used by regulators).

        1077. Moreover, the sharp contrast between the absorption rate for pure glyphosate, as

opposed to the absorption data for the glyphosate in formulated Roundup with surfactants,

highlighted a critical risk assessment and regulatory issue that Monsanto had worked diligently

since the late 1970s to suppress and ignore – the very different risk profile stemming from

exposure to the glyphosate in formulated Roundup products, in contrast to studies quantify the

risk of exposure to pure glyphosate.

        1078. This episode is one of dozens in the record showing that Monsanto’s primary

interest in conducting tests on glyphosate and/or Roundup was to defend current registrations

and/or convince regulators to approve new uses, rather than to understand more accurately actual

risk levels.

        1079. Monsanto was simply not interested in providing regulators new data that would

provide a sounder base of information to quantify risk levels, so that high-risk application

scenarios can be identified and addressed.

        1080. Nor was Monsanto willing to use better information on worker risk levels to

devise label instructions that warn applicators about high-risk application methods and

circumstances, like using a backpack sprayer on a windy day, and commonsense measures to

reduce exposures, like walking perpendicular to the wind when spraying on windy days.

        1081. In all likelihood, this episode involving the TNO study of dermal penetration is an

example of Monsanto’s many failures to comply with the so-called adverse effects reporting

requirement in federal pesticide law (FIFRA Section 6(a)(2)).

        1082. This provision in FIFRA places a clear obligation on pesticide registrants to report

to the EPA on a timely basis any information the company comes into the possession of that




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suggests the existence of new risks, or higher risks than previously recognized and addressed by

the EPA.

       1083. The TNO data suggesting that the actual dermal absorption rate for glyphosate in

formulated Roundup should be 5% to 10%, instead of 3%, is exactly the type of important, new

information that Section 6(a)(2) in FIFRA requires registrants submit to the EPA.

       1084. I conclude that the failure to share the results of the preliminary TNO rat skin

dermal penetration study was a likely violation of Section 6(a)(2), recognizing that Monsanto

may have submitted the data in compliance with Section 6(a)(2).

       1085. If Monsanto did make such a disclosure to the EPA of the TNO glyphosate

dermal absorption data, the company will surely challenge my opinion and correct the record, by

sharing with the court the documents confirming that such a transmission of data was made in

accord with Section 6(a)(2) requirements.

       4. Nitrosamine Contaminants in Roundup Herbicide

       1086. In a July 14, 1977 “Recommendation” in response to a Monsanto request for an

extension of an existing Experimental Use Permit (EUP) that would sanction use of 705 gallons

of Roundup in 1978, EPA notes that the Toxicology Branch has previously raised concern over

the 0.2 to 0.4 ppm of N-nitrosoglyphosate (NNG) in formulated, Roundup herbicide

(MONGLY00223253).

       1087. The “Recommendation” was to not approve the EUP extension because the

petitioner, Monsanto, “…has made no assessment of possible hazards…” to applicators and

those handling the herbicide.

       1088. Accordingly, since 1977, EPA concerns over the NNG content of Roundup

herbicides were among the health and safety issues in play between EPA and Monsanto.




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       1089. Several new toxicology studies were submitted by Monsanto to EPA in the 1977-

1980 period in support of pending temporary tolerance petitions and EUPs, including some

specifically in response to the agency’s concern over NNG.

       1090. An October 4, 1977 memo from the Toxicology and Residue Chemistry Branch

evaluated four new studies, only one of which was judged “satisfactory” (an oral LD-50 study

using rats) (MONGLY00223244).

       1091. The October 7, 1977 memo ends with the statement “However, we have not

recommended, and do not intend to recommend, for either permanent tolerances or registrations,

based on these data.” This is one of several EPA memos raising concerns with the quality and

completeness of the data submitted by Monsanto in support of both tolerances and registrations.

       1092. In 1978, Monsanto submitted to EPA an internal study assessing the metabolism

of NNG in rats. This report discusses the possibility that glyphosate can interact with nitrite in

the diet to form cancer-causing nitrosamines. (MONGLY00922461)

       1093. Several years later in 2004, a Canadian agricultural scientist wrote Monsanto

about this concern, and asked if the company had any new data or insights they could share on

this possible source of cancer risk.

       1094. The response from Monsanto was that such a concern is unwarranted because

“…glyphosate has been carefully monitored for years by regulatory agencies around the world,

and, consistently it is not detected in drinking water sources.”

       1095. While there were limited reports of glyphosate in drinking water in 2004, just a

few years later there would be several.




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